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                                NO. 23-2611
                                         In The


United States Court Of Appeals
                  For The Third Circuit
                            ERIC DAIMLER,
                                                                   Appellant,

                                           v.

   CHRIS MOEHLE; ROBOTICS HUB FUND 1, LLC;
          COAL HILL VENTURES LLC.
                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA
               CASE NO. 2-18-CV-00165 - MARILYN J. HORAN, DISTRICT JUDGE

                          ________________________

                           BRIEF OF APPELLANT
                          ________________________




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                                                                                  09/20/2023




                    United States Court of Appeals for the Third Circuit


                              Corporate Disclosure Statement and
                                Statement of Financial Interest

                                                   23-2611
                                             No. _________
                 ERIC DAIMLER



                                                           v.
                 CHRIS MOEHLE, ET AL.



                                                 Instructions

                 Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental
corporate party to a proceeding before this Court must file a statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of the party’s stock.

                  Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the outcome of
the litigation and the nature of that interest. This information need be provided only if a party has
something to report under that section of the LAR.

                  In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party to the
proceedings before this Court, the appellant must file this list. LAR 26.1(c).

                The purpose of collecting the information in the Corporate Disclosure and Financial
Interest Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.

                  The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court, or
upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must also be
included in the party’s principal brief before the table of contents regardless of whether the statement has
previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.

                 If additional space is needed, please attach a new page.


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Pursuant to Rule 26.1 and Third Circuit LAR 26.1,        Eric Daimler
makes the following disclosure:                                     (Name of Party)

              1) For non-governmental corporate parties please list all parent
corporations: N/A


            2) For non-governmental corporate parties please list all publicly held
companies that hold 10% or more of the party’s stock:
N/A




               3) If there is a publicly held corporation which is not a party to the
proceeding before this Court but which has as a financial interest in the outcome of the
proceeding, please identify all such parties and specify the nature of the financial
interest or interests:
N/A




               4) In all bankruptcy appeals counsel for the debtor or trustee of the
bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the
members of the creditors’ committee or the top 20 unsecured creditors; and, 3) any
entity not named in the caption which is active participant in the bankruptcy proceeding.
If the debtor or trustee is not participating in the appeal, this information must be
provided by appellant.
N/A




/s/ Mitchell G. Mandell                                  Dated:   9/20/60
(Signature of Counsel or Party)


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   I.     STATEMENT OF JURISDICTION OF THE DISTRICT COURT

         The District Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332

because the matter in controversy exceeds the sum of $75,000, exclusive of costs

and interest, and there is complete diversity of citizenship between the parties.

        The District Court also had subject matter jurisdiction pursuant to 15 U.S.C.

§ 1121 and 28 U.S.C. §§ 1331 and § 1338.

             II.   STATEMENT OF APPELLATE JURISDICTION

         This Court has jurisdiction over this appeal of the orders of the District Court

that were rendered final by virtue of the District Court’s Order and Judgment entered

August 2, 2023 [JA3-13], denying Eric Daimler’s (“Daimler”) Motion for a New

Trial or Remittitur and granting the motion of Defendants Robotics Hub Fund 1,

LLC (“Robotics Hub”, “RH” or “the Fund”) and Coal Hill Ventures LLC (“Coal

Hill” or “CH”, and together, the “Companies”) for Attorneys’ Fees, upon which the

District Court marked the case closed.

         On September 1, 2023, Daimler timely filed a notice of appeal. JA1. This

Court has jurisdiction over the final orders of the District Court pursuant to 28 U.S.C.

§ 1291.




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                III.   STATEMENT OF ISSUES FOR REVIEW

         1.    Did the lower court improperly dismiss Daimler’s Breach of the

Implied Covenant of Good Faith and Fair Dealing claim1 against Robotics Hub

despite the pleading clearly alleging an abuse of Robotic Hub’s discretion, which is

not covered by the contract and is expressly recognized as a cause of action apart from

the contract under Delaware law?

         This issue was raised, objected to, and ruled on by (i) the parties underlying

motion practice [JA324-328] 2 and (ii) the lower court in its Memorandum Opinion

and Order, entered July 30, 2018. JA75-98.

         2.   Did the lower court improperly grant Defendants’ motion for summary

judgment and dismiss Daimler’s fraudulent inducement and breach of contract

claims?

         This issue was raised, objected to, and ruled upon by (i) the parties underlying

motion practice [JA619-624] 3; and (ii) the lower court in its Order and Opinion,

entered July 18, 2022. JA20-55.




1
    Dkt. 1 at 25, “Breach of the Implied Covenant of Good Faith and Fair Dealing.”
2
 Motion to Dismiss, March 30, 2018, (Dkt. No. 16) (JA237-323)); (Def Br.) (Dkt.
No. 17); (Daimler Opp.) (Dkt. No. 19); (Def. R.) (Dkt. No. 20).
3
 Motion for Summary Judgment, November 23, 2021 (Dkt. No. 107) (JA541-566)):
(Def. Br.) (Dkt. Nos. 108-111); (Daimler Opp.) (Dkt. Nos. 115-117); (Def. R.) (Dkt.
No. 122-123).

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        3.    Did the lower court improperly dismiss Daimler’s unjust enrichment

claims4 against Defendants, especially since the lower court ultimately dismissed

Daimler’s breach of contract claim?

        These issues were raised, objected to, and ruled upon by (i) the parties

underlying motion practice [JA324-328, JA389-394 5, JA619-624]; and (ii) the lower

court in its Memorandum Opinion and Order, entered July 30, 2018. JA75-98.

        4.     Did the lower court err in refusing to grant a new trial on damages or in

the alternative remittitur to Daimler in the face of a jury award to the Companies in

the amount of $225,000 – nearly five times the amount of the Companies’ specific

request to the jury for a total damage award of $51,467?

        This issue was raised, objected to, and ruled upon by (i) the parties underlying

motion practice [JA3852-3854]6; and (ii) the lower court in its Order and Judgment,

entered August 2, 2023. JA3-13

        5.     Did the lower court err in awarding attorneys’ fees to the Companies

where the court erred as a matter of law in its determination that the case met the

“exceptional” threshold for attorneys’ fees under the Lanham Act and the

Companies’ billing records did not support their request?


4
    Dkt. No. 1 at 21 and 27 (“Unjust Enrichment”).
5
 Motion to Dismiss, October 30, 2018 (Dkt. No. 34) (JA330-353)) (Dkt. No. 24));
(Def. Br.) (Dkt. Nos. 35-36); (Daimler Opp.) (Dkt. No. 39); (Def. R.) (Dkt. No. 41).
6
 Motion for Relief, May 25, 2023 (Dkt. No. 181); (Daimler Br.) (Dkt. No. 182);
(Def. Opp.) (Dkt. No. 192) (Daimler R.) (Dkt. No. 193).

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      This issue was raised, objected to, and ruled upon by (i) the parties underlying

motion practice [JA3813-3815]7; and (ii) the lower court in its Order and Judgment,

entered August 2, 2023. JA3-13.

                IV.     STATEMENT OF RELATED CASES

      To counsel’s knowledge, there are no related cases in this Court, as defined

by L.A.R. 28.1(a)(2).

      On August 11, 2022, Daimler filed a Notice of Appeal as to two Orders on

motions to dismiss for failure to state a claim and the Order for summary judgment

on the remaining claims asserted by Daimler against the Defendants. Upon the

unopposed motion of Defendants, the lower court reopened the case given that

Defendants’ counterclaims remained unresolved, upon which Daimler withdrew the

aforesaid Notice of Appeal.

                 V.     CONCISE STATEMENT OF THE CASE

                           PROCEDURAL HISTORY

      On February 5, 2018, Daimler commenced this action against Chris Moehle

("Moehle”), Robotics Hub Fund 1 LLC ("Robotics Hub") and Coal Hill Ventures

LLC ("Coal Hill") (Robotics Hub and Coal Hill, together, the “Companies”);

(Moehle and the Companies, together, “Defendants”) for, inter alia, fraud in the



7
 Motion for Attorneys’ Fees, May 11, 2023 (Def Br.) (Dkt. No. 178); (Daimler Opp.)
(Dkt. No. 191); (Def. R.) (Dkt. No. 194).

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inducement, breach of contract, and unjust enrichment, seeking at least $10,000,000

in damages. JA131-167.

      Daimler filed a First Amended Complaint (“FAC”) on February 14, 2018,

addressing the lower court’s sua sponte concern about subject matter jurisdiction.

JA287-322.

      By Memorandum Opinion and Order entered July 30, 2018, the lower court

granted Defendants’ motion to dismiss a number of the claims in Daimler’s First

Amended Complaint, including, specifically, Daimler’s unjust enrichment claims.

JA75-98.

      After the parties met and conferred about a Second Amended Complaint,

Daimler filed a Third Amended Complaint on October 16, 2018. JA361-388.

      By Opinion and Order entered June 10, 2019 the lower court granted

Defendants’ motion to dismiss as to Count 4 of Daimler’s Third Amended

Complaint. JA56-74.

      Thereafter, on June 28, 2019, Daimler filed his Fourth Amended Complaint,

and on October 19, 2020, upon his unopposed motion to amend his prayer for relief,

Daimler filed his Fifth Amended Complaint. JA395-421, JA541-566.

      On July 12, 2019, Respondents filed their Answer and Counterclaims, seeking

over $1,000,000 in damages for fraudulent inducement; and unspecified damages



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for violations of 15 U.S.C. § 1125(a), 18 U.S.C. § 1030, and 15 U.S.C. § 1125(d)

(the statutory counterclaims, collectively, the “Intellectual Property Claims”).

JA422-473.

      By Opinion and Order entered July 18, 2022, the lower court granted

Defendants’ motion for summary judgment as to all counts of Daimler’s Fifth

Amended Complaint, including, at issue in the present appeal, his fraudulent

inducement and breach of contract claims. JA20-55.

      At the conclusion of a three-day jury trial, a verdict was returned on April 26,

2023, finding Daimler liable to the Companies on their crossclaims alleging

violations of the Lanham Act, Computer Fraud and Abuse Act (“CFAA”), and Anti-

Cybersquatting Consumer Protection Act (collectively, the “Intellectual Property

Claims”). JA3856-3859 (Verdict Slip). The jury found no liability on the

Companies’ fraudulent misrepresentation crossclaim. JA3856-3859.

      On April 25-26, 2023 the parties conducted a jury trial before the lower court

and on April 27, 2023 the jury returned a verdict in favor of the Companies on their

Intellectual Property Claims for $225,000. The jury found in favor of Daimler on the

Companies’ fraudulent inducement counterclaim. JA14-15.

      By Opinion and Judgment entered on August 2, 2023, the lower court (a)

denied Daimler’s motion for a new trial on damages or remittitur and (b) granted the

Companies attorneys’ fees against Daimler in the amount of $129,183. JA3-13.

      On September 1, 2023 Daimler filed a timely Notice of Appeal. JA1.

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                   VI.    STATEMENT OF THE FACTS

      This case arises from intentional misrepresentations made by Moehle to

mislead and induce Daimler to enter into: (i) a business partnership with Moehle, in

connection with which Daimler made significant financial contributions to the

Companies without which they would have not survived; and (ii) certain related

common unit award agreements that contained different and less favorable vesting

schedules than those of Moehle, Daimler’s equal partner.

      In late-2015, Daimler and Moehle agreed to enter into a partnership to invest

in early-stage robotics companies. JA541-566.

      Prior to meeting Moehle, Daimler had formed and had been negotiating with

investors for his robotics investment venture called Skilled Science. JA3112, JA710-

15, JA725. From late-2014 through mid-2015, Daimler was in the process of

finalizing the terms of investments from at least two investors, totaling a combined

$10,000,000. JA3136 (CSMF) 8, JA1106-1108, JA1120, JA1122. Then, in late-

August 2015, Daimler’s close friend and Carnegie Mellon Computer Science

Advisory Board member, Dave Mawhinney, introduced Daimler to his former

Carnegie Mellon colleague, Moehle. JA3134 (¶148), JA713, JA655. Upon meeting,

Daimler learned that Moehle had recently formed two robotics investment funds:



8
  See JA3109-3165 (Combined Concise Statement of Material Facts) (“CSMF”),
(Dkt. No. 123)).

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Coal Hill and Robotics Hub Fund. JA3110 (¶3), JA657, JA705-707. Aside from their

shared passion in robotics, Moehle was interested in Daimler’s experience with

robotics investments and the two scheduled a phone call. JA3138 (¶160), JA1106,

JA713, JA735, JA561.

         On or about August 18, 2015, Moehle and Daimler spoke on the phone for the

first time, and it was during this call that Moehle first informed Daimler that General

Electric (“GE”) had committed to invest $20 million in the Fund (the “GE

Representation” 9). JA3138 (¶160), JA1106, JA713, JA736-737, JA561.

         Between August and December 2015, Daimler and Moehle had several phone

calls, during which Moehle repeatedly reinforced the GE Representation. JA3130

(¶62), JA545. Further, to the extent Daimler had any doubts about the GE

Representation, Moehle reassured Daimler that he expected to have the GE funds in

hand following the completion of a particular regulatory process related to the spin

out of GE's financial arm which was “imminent.” JA3118-3119 (¶54-¶56), JA3143

(¶165), JA736, JA738. Daimler was further assured of the truth of the GE

Representation when, throughout 2015 and 2016, Daimler witnessed Moehle

repeatedly inform potential investors about the $20 million GE investment. JA3144

(¶¶ 168-170), JA739-740, 690, JA1106 (¶52), JA545-546 (¶¶23-25).




9
    See, generally, JA32-JA34 (“Opinion, MSJ”).

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      As a result of Moehle’s repeated assurances of the GE investment to Daimler

and third-party investors, as well as Daimler’s understandable reliance on Moehle

for information about GE (considering that Moehle had the relationship with GE and

would naturally be the one to communicate with GE about the investment), Daimler

had no basis for suspecting the GE Representation was false. JA3146-3150.

      Thus, in late-2015, because of, and in reliance on, the GE Representation,

Daimler elected to walk away from Skilled Science and the $10,000,000 investment

in the venture, and, in March of 2016, partner with Moehle in the Companies.10

JA3150 (¶ 183), JA544 (¶17), JA690, JA699-702. Although Daimler was dedicated to

Skilled Science when he met Moehle, Moehle’s repeated GE Representation

convinced Daimler that joining the Companies – which would not only be funded

with twice the capital as Skilled Science but had the credibility and potential of an

investor like GE – was a strategic business move. It was not until Daimler was ousted

from the Companies in March 2017 that he came to realize that Moehle had

purposefully lied to him about the GE investment all along. JA3164 (¶222).

      In January 2016, Daimler was appointed as a Presidential Innovation Fellow

for the Barack Obama White House (the “Fellowship”). JA3156 (¶199), JA292.

Moehle encouraged Daimler to accept the 12-month Fellowship because of the value

10
  The $10 Million was not yet transferred to Skilled Science when Daimler opted to
partner with Moehle, but Daimler was in the process of ironing out the final details
of certain investments which, combined, totaled $10 million. JA1120.

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that the Companies would derive from it. JA3157 (¶202). Daimler served as a

Presidential Innovation Fellow from January 2016 to early 2017, during which time

Daimler advised the White House on, among other things, issues relating to robotics

and artificial intelligence. JA1093-1094 (¶203). Daimler and Robotics Hub received

positive press coverage with respect to the Fellowship, and the Companies promoted

Daimler’s White House position in their marketing and fundraising efforts. JA3157

(¶204).

      On or about March 10, 2016, shortly after Daimler’s Fellowship began, the

Companies retained the law firm Reed Smith LLP (“Reed Smith”) to, among other

things, prepare various corporate formation and governance documents, including

certain Common Unit Award Agreements, as well as the Companies’ Amended and

Restated Operating Agreements. JA293 (FAC). Reed Smith interacted almost

exclusively with Moehle in connection with this engagement. JA79 (Opinion,

MTD 11).

      Pursuant to the Companies’ respective Amended and Restated Operating

Agreements, both dated March 23, 2016 (the “Operating Agreements”), Daimler and

Moehle were the only Board Members. JA79-80, JA203-283, JA290-291.




 Memorandum Opinion, Defendants’ Motion to Dismiss (Dkt. No. 22), July 30,
11


2018 (“Opinion, MTD”).

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         Further, both Daimler and Moehle were named “Key Persons” in the Fund’s

Limited Partnership Agreement. JA79, JA301. Moehle and Companies promoted

Daimler and Moehle as equal partners, including in private placement materials

provided to potential investors. JA3143, JA3154-3155.

         Daimler and Moehle entered into Common Unit Award Agreements, all dated

March 23, 2016, with each of the Companies. JA81, JA168-202, JA551. Moehle

was awarded 42 common units in both Robotics Hub and Coal Hill (collectively the

“Moehle Awards”), which vested as follows:

         20% vests on the first anniversary of Date of Award [March 23, 2017];

1.6666% vests ratably on the last day of each month thereafter until the fifth

anniversary of the Date of Award [March 23, 2021].12

         Daimler was also awarded 42 common units in both Robotics Hub (the

“Robotics Hub Daimler Award”) and Coal Hill (the “Coal Hill Daimler Award”,

collectively, the “Daimler Awards”). Unlike Moehle’s common units, however,

Daimler’s units vested as follows:

         20% vests on the date when [Daimler] has provided 12 consecutive and
         uninterrupted months of Full Time Services to the Company Group,
         provided that [Daimler] must begin providing such Full Time Services
         to the Company Group no later than the first anniversary of the Date of
         Award [March 23, 2017]; and
         provided the above conditions are met, the remaining 80% vests on a
         pro-rata basis on the last day of each month thereafter until the fifth
         anniversary of the Date of Award [March 23, 2021].
12
     JA81, JA168-202, JA551

                                           11
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         The disparate vesting schedules were contrary to representations Moehle

repeatedly made to Daimler. In multiple conversations during 2015 and 2016,

Moehle misrepresented to Daimler that: (i) Moehle and Daimler would be treated as

equals; (ii) the terms of the Daimler Awards were identical to those of the Moehle

Awards; and (iii) the Daimler Awards and Moehle Awards both contained vesting

schedules pursuant to which a portion of the common units would vest automatically

while the remaining units would vest over time.13

         At no time did Moehle or the Companies inform Daimler that only the Daimler

Awards, not the Moehle Awards, contained vesting schedules requiring 12

consecutive and uninterrupted months of “[f]ull-Time Services to the Company

Group” beginning on or before March 23, 2017, before any common units would

vest. JA82, JA526. Thus, it was never Daimler’s understanding that there could be

any circumstance under which his equity in the Companies would be forfeited

against his will or without his failing to begin working full-time at the companies

prior to the first anniversary of the award (JA549-550); Daimler certainly would not

have voluntarily entered into an agreement with these terms. JA560.

         When Daimler and Moehle began their partnership, each initially devoted

equal time to the Companies. JA3158, JA551. Although Daimler worked for the

Companies only part-time during the Fellowship, both Moehle and Daimler


13
     JA3127, JA3143, JA81-82, JA168-202, JA551.

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understood that Daimler would return to his full-time position with the Companies

when his 12-month Fellowship ended in early 2017. Indeed, as of January 2016,

when Daimler began the Fellowship, the partnership had budgeted matching salaries

for Moehle and Daimler. JA3158.

      Despite Moehle’s and Daimler’s equal partnership, however, Daimler loaned

or advanced an excess of $400,000 to Coal Hill, without which the Companies would

not have had a chance of survival, whereas Moehle made an initial capital

contribution of only $1,000. J A3155.14

      From early to mid-2016, the relationship between Daimler and Moehle began

to deteriorate. JA554. As Daimler testified, the attention and publicity Daimler

received in connection with the Fellowship became a point of contention, and

Moehle became highly critical of Daimler. JA554-557. Moehle prevented Daimler

from accessing company information, and unilaterally assigned “deliverables” to

Daimler without first consulting him. JA557. Only after Daimler was ousted from

the Companies did he realize that these mounting tensions were evidence of

Moehle’s true intention – to takeover the Companies – but because the Companies

desperately needed Daimler’s financial contributions, and Daimler remained




14
   On or about November 2, 2017, Coal Hill paid the promissory note in the amount
of $125,000 in full, together with interest, and subsequently repaid Daimler $35,000,
representing a small portion of the additional expenses he advanced to Coal Hill.

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engaged throughout 2016, Moehle promoted the partnership and encouraged

Daimler’s Fellowship. JA560.

      As Moehle had hoped, Daimler remained committed to the Companies’ success,

making repeated financial contributions to the Companies throughout 2016 (the

“Financial Contributions”). JA3159-3161. At Moehle’s request, Daimler made the

Financial Contributions with the expectation that they would be treated as capital

contributions; Moehle agreed that they would be treated as such. JA3129, JA3161,

JA556. Although the Financial Contributions were intended by Daimler to cover

corporate expenses, Moehle used some of the funds to pay for personal expenses, such

as mortgage payments and family trips. JA3159-3161, JA555. Although Daimler made

such contributions at Moehle’s request, he did not receive common units in exchange

for them, as required by Section 7.2 of the Operating Agreements. JA3136, JA552-553.

      During the second half of 2016, Moehle began taking steps to gain sole control

of the Companies. Moehle refused Daimler’s requests to meet in Pittsburgh, where

the Companies are based, and on several occasions in mid-to-late 2016, Moehle

obstructed Daimler’s efforts to communicate with the Fund’s investors and portfolio

companies. JA3132-3133. At the same time, Moehle continued telling investors that

Daimler was his equal partner. JA3132-3133.

      Daimler continued providing part-time services to the Companies in 2016

during the term of the Fellowship, for which he was not compensated. Instead,


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Daimler and Moehle agreed that compensation for Daimler’s services would accrue

and be paid at a later date. JA3159, JA548. In late 2016, Moehle began discouraging

Daimler from ending the Fellowship, claiming the Companies had no funds with

which to pay him. In response, Daimler suggested that his salary could continue to

accrue and be paid to him at a later date. Moehle opposed this idea, despite having

previously agreed to it. JA554 (¶ 76).

      Daimler and Moehle met in person on January 5-6, 2017, to discuss

whether Daimler could return to his full-time role with the Companies. JA3133,

JA558. On or about January 5, 2017, just before Daimler’s Fellowship ended,

Moehle recommended to the Companies’ Boards (which constituted only

Daimler and Moehle) that Daimler not be permitted to return to a full-time role

with the Companies. JA3122-3133, JA558. Although Moehle and the Companies

had contemplated Daimler’s return to full-time employment from the outset and

budgeted a full-time salary for him, Moehle purportedly made his

recommendation to the Boards because the Companies allegedly lacked

sufficient funds to pay Daimler a full-time salary. JA3122-3133, JA558. In

response, Daimler offered to allow salary to continue to accrue and be paid at a

later date, as it had in the past, but Moehle inexplicably refused the offer,

ensuring Daimler not be able to return to his full-time work at the Companies.

JA3122-3133, JA558.


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      At the Companies’ respective Board meetings on or about January 5, 2017,

Moehle voted against, and Daimler for, resuming Daimler’s full-time role with the

Companies. JA3122-3133, JA558. Because the Board members were deadlocked,

the matter was referred to the Deadlock Advisor, David Mawhinney, in accordance

with Section 5.5(c) of the Operating Agreements. JA3122-3133, JA221, JA558. On

or about March 22, 2017, just before the first anniversary of the date of the Daimler

Awards, Mawhinney broke the deadlock by voting against Daimler returning to a

full-time, fully compensated role with the Companies at that time, for the sole reason

that the Companies’ lacked the financial capacity to pay Daimler at the time.

JA3122-313, JA559.       Critically, however, Mawhinney did not foreclose the

possibility that Daimler could, if he so elected, return to work on a full-time basis

with some portion of his compensation accrued, but not paid, as had occurred in the

past. JA559. Moehle, however, ignored Daimler’s solution, and continued to insist

that Daimler not be permitted to return to the Companies on a full-time basis, citing

the Deadlock Advisor’s conclusion as binding and final.

      Because Defendants wrongfully prevented Daimler from returning to his full-

time role within a year after executing the Daimler Awards (i.e., by March 23, 2017),

the Companies deemed all 42 of his common units to be forfeited. JA3122-3133,

JA559. As a result of the purported forfeiture, Defendants took the position that

Daimler has no membership or ownership interest in the Companies, thereby


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rendering Moehle the majority member of both Companies. JA3122-3133, JA559.

After obtaining a majority membership interest, Moehle directed the Companies to

remove Daimler from their respective Boards and to amend and restate the Fund’s

Limited Partnership Agreement to remove Daimler as a “Key Person”. JA3122-

3133, JA559-560.

                   VII.    SUMMARY OF ARGUMENTS

      Dismissal of Daimler’s claim for breach of the covenant of good faith and fair

dealing was improper since it was properly pled in Daimler’s Complaint.

      Summary judgment on Daimler’s fraudulent inducement and breach of

contract claims was inappropriate because, inter alia,: (1) genuine issues of material

fact existed for each dismissed claim; (2) the lower court made improper

determinations regarding truth and credibility, including, but not limited to,

regarding the testimony of Daimler and Jamie Fee; and (3) Daimler has shown the

existence of a contract, its material terms, and a breach thereof.

      In dismissing the Daimler’s unjust enrichment claim, the lower court ignored

Fed. R. Civ. P. 8(d)(3), which provides that “[a] party may state as many separate

claims or defenses as it has, regardless of consistency.” Further, given the fact that

the lower court ultimately dismissed Daimler’s breach of contract claim, its predicate

for dismissing the unjust enrichment claim -- the existence of a contract -- has been

eliminated.


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      The lower court’s denial of a new trial or, alternatively, remittitur was clearly

erroneous and an abuse of the court’s discretion. The testimony elicited from Moehle

during the trial demonstrated that the maximum amount of damages sought for the

Intellectual Property Claims was $51,467.00, which was expressly confirmed by the

Companies’ counsel during closing arguments. JA3479 (133:22-25).

      The lower court’s grant of the Companies’ motion for attorneys’ fees in

prosecuting their Intellectual Property Claims is also clearly erroneous, both because

(a) this case does not meet the “exceptionality” threshold requirement for attorneys’

fees under the Lanham Act; and (b) the billing records submitted by the Companies’

counsel are insufficient to justify the lower court’s award. JA8-10.

                              VIII.    ARGUMENT

                                      POINT I

 DAIMLER’S BREACH OF THE COVENANT OF GOOD FAITH CLAIM
           IS WELL PLED UNDER DELAWARE LAW

   A. STANDARD OF REVIEW

      Appellate review of a district court's dismissal on a Rule 12(b)(6) motion to

dismiss is de novo. See Carino v. Stefan, 376 F.3d 156, 159 (3d Cir. 2004).

   B. THE TRIAL COURT ERRED IN DISMISSING DAIMLER’S CLAIM
      FOR BREACH OF GOOD FAITH AND FAIR DEALING.

      To state a claim for breach of the implied covenant of good faith and fair

dealing under Delaware law, “the plaintiff must allege a specific implied contractual



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obligation, a breach of that obligation by the defendant, and resulting damage to the

plaintiff.” Anderson v. Wachovia Mortg. Corp., 497 F. Supp. 2d 572, 581–82 (D.

Del. 2007). This implied covenant “requires a party in a contractual relationship to

refrain from arbitrary or unreasonable conduct which has the effect of preventing the

other party to the contract from receiving the fruits of the bargain. Id. at 582. Thus,

parties are liable for breaching the covenant when their conduct frustrates the

‘overarching purpose’ of the contract by taking advantage of their position to control

implementation of the agreement’s terms.” I d .

      The Delaware Supreme Court has summarized the implied covenant concisely

as follows:

      The implied covenant is inherent in all contracts and is used to infer
      contract terms to handle developments or contractual gaps that ...
      neither party anticipated. It applies when the party asserting the implied
      covenant proves that the other party has acted arbitrarily or
      unreasonably, thereby frustrating the fruits of the bargain that the
      asserting party reasonably expected. The reasonable expectations of the
      contracting parties are assessed at the time of contracting.

      Cygnus Opportunity Fund, LLC v. Washington Prime Grp., LLC, 302 A.3d

430, 458 (Del. Ch. 2023) (quoting Dieckman v. Regency GP LP, 155 A.3d 358, 366

(Del. 2017) (cleaned up)); see also Katz v. Oak Indus. Inc., 508 A.2d 873, 880 (Del.

Ch. 1986) (Allen, C.) (quoting Corbin on Contracts § 570, at 601 (Kaufman Supp.

1984)) (“parties occasionally have understandings or expectations that were so

fundamental that they did not need to negotiate about those expectations.”);



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Dieckman, 155 A.3d at 361 (“The implied covenant is well-suited to imply

contractual terms that are so obvious ... that the drafter would not have needed to

include the conditions as express terms in the agreement.”)

      Here, the lower court based its dismissal on a misunderstanding of Daimler’s

claim for breach of implied duty of good faith, stating that Daimler argued that the

contracts implied a duty to hire him and failing to do so was a breach. JA93. This is

not so. In fact, Daimler was led to believe, through his negotiations with Moehle,

that the Companies could not arbitrarily and permanently revoke his ability to vest

his Units. Although the Companies reserved the right to terminate Daimler’s

employment, they did not reserve the right to arbitrarily prevent him from satisfying

the predicate for his deal. JA145 ¶¶ 138-141.

      Indeed, Daimler had the fundamental expectation that his full-time

employment was not subject to arbitrary denial or that he could lose his financial

and managerial stake in the Companies without any fault on his part or any

opportunity for recourse or cure. Therefore, contrary to the lower court’s

misinterpretation, Daimler alleged an implied contractual term preventing the

Companies from arbitrarily interfering with his ability to commence full-time

employment. JA145 ¶¶ 138-141.




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      In fact, in this regard, the Award Agreements 15 contained nothing to suggest

that the Companies had a unilateral right to deny Daimler’s ability to satisfy the

condition to vesting of Daimler’s Units.

      As Daimler alleged, the Companies breached this duty when, despite Daimler

being ready and willing to work full-time, having demonstrated dedication and

substantial financial commitment to the Companies, and being amenable to delayed

compensation, Moehle voted against the commencement of his full-time

employment and then twisted the scope of the Deadlock Arbitration decision as a

basis to remove Daimler from the board and to block his units from vesting. JA145

(¶¶ 138-141).

      Although the lower court is correct in its holding hat one generally cannot

base a claim for breach of the implied covenant on conduct authorized by the

agreement, the lower court fails to consider the Delaware caselaw addressing the

fact pattern where a contracting party “has acted arbitrarily or unreasonably, thereby

frustrating the fruits of the bargain that the [other] party reasonably expected.”

Nemec v. Shrader, 991 A.2d 1120, 1125– 26 (Del. 2010). Delaware courts have

found that, despite the contract technically permitting some conduct, if the party’s

conduct is as the Nemec Court describes, implied covenants are appropriate. Id.



15
 RH Common Unit Award Agreement (Dkt. No. 1-4). JA185-193; CH Common
Unit Award Agreement (Dkt. No. 1-5). JA194-201

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      Likewise, in Wilmington Leasing, Inc. v. Parrish Leasing Co., L.P., No.

15202, 1996 WL 560190, at *2 (Del. Ch. Sept. 25, 1996), the Chancery Court

rejected an argument that, because the contract addressed the removal of the general

partner, the implied covenant of good faith should not be implied. The Court held

that the implied covenant still applied to the scope of discretion allowed to the

limited partners in removing the general partner, explaining that “[w]here either the

definition or the declaration of occurrence of the condition is left to the sole

discretion of the invoking party, the application of a good faith standard to the

enforcement of conditions is appropriate.” Id. (citing Gilbert v. El Paso Co., 490

A.2d 1050, 1054–55 (Del. Ch. 1984), aff'd, 575 A.2d 1131 (Del. 1990)) (“An implied

covenant of good faith… extends to the enforcement of conditions and may preclude

a party from avoidance of a contractual undertaking through invoking a condition

which occurred by reason of his own actions.”); see also Charlotte Broad., LLC v.

Davis Broad. of Atlanta, L.L.C., No. CV13C04143WCCCCLD, 2015 WL 3863245, at

*7 (Del. Super. Ct. June 10, 2015), aff'd, 134 A.3d 759 (Del. 2016) (“[E]ven though

Plaintiffs had the right to terminate the Agreement, Plaintiffs still had an overarching

obligation to comply with the implied covenant to terminate in good faith.”).

      Here, Daimler’s First Amended Complaint alleges that Robotics Hub had an

implied contractual obligation to act in good faith and to refrain from arbitrary or

unreasonable conduct that would prevent Daimler from receiving the fruits of the


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bargain, and that Robotics Hub breached this obligation by wrongfully preventing

Daimler from returning to a full-time position as was required for his common units

to begin vesting, and then treating all of Daimler’s equity as forfeited. JA145 (¶¶

138-141). These allegations are sufficient to defeat a motion to dismiss. See

Anderson, 497 F. Supp. 2d at 582–83 (holding that “[u]nder the forgiving standard

of review set forth in Fed. R. Civ. P. 12(b)(6)… plaintiffs sufficiently stated a claim

for breach of the covenant of good faith and fair dealing where it was alleged that

defendants “erected unreasonable hurdles that plaintiffs were forced to clear before

they could receive the mortgages for which they had contracted”).

      Accordingly, this Court should reverse the lower court’s Order, dated July 30,

2018, and reinstate Daimler’s claim for breach of the covenant of good faith and fair

dealing.

                                      POINT II

       IN THE FACE OF GENUINE ISSUES OF MATERIAL FACT,
      THE LOWER COURT ERRED IN GRANTING DEFENDANTS’
               MOTION FOR SUMMARY JUDGMENT

   A. STANDARD OF REVIEW

      On appeal from the district court's granting of a motion for summary

judgment, the appellate court's standard of review is plenary. Metro Transp. Co. v.

N. Star Reinsurance Co., 912 F.2d 672, 678 (3d Cir. 1990). The appellate court is




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required to apply the same test the district court should have utilized initially.

O'Donnell v. United States, 891 F.2d 1079, 1081–82 (3d Cir. 1989).

   B. THE LOWER COURT ERRED IN FAILING TO CONSIDER THE
      PROBATIVE EVIDENCE DAIMLER OFFERED IN SUPPORT OF
      HIS FRAUDULENT INDUCEMENT CLAIMS.

      It is well-settled that “[c]redibility determinations, the weighing of the

evidence, and the drawing of legitimate inferences from the facts are jury functions,

not those of a judge, whether he is ruling on a motion for summary judgment or for a

directed verdict. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255–56, 106 S. Ct.

2505, 2513–14, 91 L. Ed. 2d 202 (1986).

      The Supreme Court further explained that, in the event that an inference must

be drawn by the court, “[t]he evidence of the non-movant is to be believed, and all

justifiable inferences are to be drawn in his favor.” Adickes v. S. H. Kress & Co.,

398 U.S. 144, 158–159, 90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970).

      Here, summary judgment called for the lower court to recognize -- not decide -

- the genuine issues of material fact regarding whether (i) Moehle made the GE

Representation; (ii) whether the $20 Million GE Representation was a motivating

factor in Daimler’s decision to leave his former business, Skilled Science, to join

Moehle and the Companies; and (iii) whether Daimler sustained damages as a result

of Moehle’s fraudulent misrepresentation. JA50. According to prevailing caselaw,




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these determinations should be left to a jury to decide and are improper for summary

judgment.

   C. THE LOWER COURT ENGAGED IN IMPROPER EVIDENTIARY
      DETERMINATIONS, BARRING OR UNDERMINING CERTAIN
      EVIDENCE OFFERED BY DAIMLER.

      Contrary to the lower court’s holding, Daimler’s testimony should have been

considered in opposition to Defendants’ motion for summary judgment. Charoff v.

MarMaxx Operating Corp., No. CV 18-4712, 2020 WL 1694484 (E.D. Pa. Apr. 7,

2020). A plaintiff may create a genuine issue of material fact by proffering her own

affidavits. Waldron v. SL Indus., Inc., 56 F.3d 491, 501 (3d Cir. 1995). A single, non-

conclusory affidavit or witness's testimony, when based on personal knowledge and

directed at a material issue, is sufficient to defeat summary judgment, even if the

affidavit is “self-serving.” Lupyan v. Corinthian Colleges Inc., 761 F.3d 314, 316 (3d

Cir. 2014). Additionally, in conjunction with other evidence, a factfinder can credit a

plaintiff’s testimony despite any self-serving nature. See, e.g. Hanna v. Giant Eagle

Inc., No. CV 15-1009, 2017 WL 1194676, at *12 (W.D. Pa. Mar. 9, 2017), report and

recommendation adopted, No. 2:15CV1009, 2017 WL 1194713 (W.D. Pa. Mar. 30,

2017); see also Hill v. Barnacle, 509 F. Supp. 3d 380, 385–86 (W.D. Pa. 2020) (citing

Guidotti v. Legal Helpers Debt Resol., L.L.C., 716 F.3d 764, 772 (3d Cir. 2013) (“The

non-moving party must resort to affidavits, deposition testimony, admissions, and/or

interrogatories to demonstrate the existence of a genuine issue.”).


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      Indeed, the lower court’s decision to reject Daimler’s sworn testimony

regarding Moehle’s GE Representation begs the question – can an individual

committing fraud in a private conversation be held accountable for that fraud if the

only person with personal knowledge of that conversation is prevented from

reaching a jury to assess the respective credibility of those two individuals?

      Here, the various cases the lower court relied upon to support its rejection of

Daimler’s evidence of the GE Representation are misapplied. For example, in Lind v.

Jones, Lang Lasalle Americas, Inc., 135 F. Supp. 2d 616, 621 (E.D. Pa. 2001), the

plaintiff’s deposition testimony was the only evidence of a fraudulent representation,

and the testimony demonstrated that the plaintiff should have known that the

representation was false. However, here, plaintiff’s testimony is corroborated in the

record and clearly demonstrates that Daimler had no reason to know the representation

was false. JA3144 (¶¶ 168-170), JA739-740, JA690, JA545-546 (¶¶23-25).

      In Irving v. Chester Water Auth., 439 F. App’x 125, 127 (3d Cir. 2011), the

plaintiff’s testimony was insufficient in a discrimination matter because it directly

conflicted with his admissions during his hearing before, and the findings of, the

Department of Labor, together with his failure to submit any evidence to contradict

the testimony of other workers on the pivotal issue in the case. Here, however,

Daimler’s testimony as to the fraudulent representation is corroborated by the

evidentiary record, including the deposition testimony of Jamie Fee. JA3416.


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      In this regard, the lower court’s focus on issues relating to Daimler’s claim

that Moehle made the same $20 Million GE Representation to numerous potential

investors misses the point – while it is true that Daimler saw those

misrepresentations to potential investors as lending credence to Moehle’s GE

Representation, they are irrelevant to the actual fraudulent representations made

privately by Moehle to Daimler prior to the representations to investors and, most

importantly, prior to the decision made by Daimler to leave Skilled Science and join

Moehle. JA3150, JA544 (¶17), JA690, JA699-702.

      Daimler’s fraudulent inducement claim is based on Moehle’s repeated

representations to him that GE had committed to invest $20 Million in the Fund.

JA3144 (¶169), 739-740, 690, 1106 (¶52), 545-546 (¶¶23-25), 560-562. Indeed,

Daimler has provided evidence that Moehle made this representation multiple times

throughout 2015 and 2016 to Daimler, as well as to potential third-party investors.

Id.

      Here, although the conversations occurred six (6) years prior to his deposition,

Daimler recalled the representation regarding GE’s $20 million commitment made

to him by Moehle. JA22-23, 3140 (¶164), 161, 544 (¶21). Daimler recalled this

representation because it was critically important to his decision to walk away from

his company, Skilled Science, to join Defendants. JA3150 (¶ 183), 544 (¶17), 690,

JA699-702.


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      A genuine issue of material fact is presented where a plaintiff’s deposition

testimony is sufficient for a jury to credit his account of a defendant’s representations

to him. Johnson v. MetLife Bank, N.A., 883 F. Supp. 2d 542 (E.D. Pa. 2012).

Plaintiff’s deposition testimony could be credited because it was not conclusory and

was elicited by questions from Defendants’ counsel that challenged the plaintiff’s

recollection of events Id. (Daimler Dep. 73-77, 87). Daimler specifically testified,

under oath, and subject to cross-examination, that Moehle represented to him that

GE had committed an investment of $20 Million to the Fund. JA1085 (¶149),

1087 (¶164). Further, his testimony demonstrates that he was fraudulently induced

to walk away from Skilled Science and join Defendants, which, at a minimum, creates

a genuine issue of material fact. JA1086 ¶155, 735-736.

      Contrary to the lower court’s decision, Daimler’s testimony does not stand

alone, is not conclusory, and is bolstered by both the testimony of Jamie Fee and the

verified complaint filed by several of Defendants’ investors in an action commenced

by them against Defendants in Delaware Chancery Court. JA1089. Indeed,

allegations that are based upon personal knowledge and which are contained in a

verified complaint may be used to oppose a motion for summary judgment because

a verified complaint can be treated as an affidavit or declaration. Newsome v.

Teagarden, No. 1:18-CV-317, 2021 WL 1176102, at *8 (W.D. Pa. Mar. 29, 2021);

Robinson v. Hartzell Propeller Inc., 326 F. Supp. 2d 631, 645 (E.D. Pa. 2004)


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(quoting Williams v. Borough of W. Chester, Pa., 891 F.2d 458, 466 n. 12 (3rd Cir.

1989)) (“[T]he Court may consider evidence that is not admissible in the submitted

form if the party offering the evidence could satisfy the applicable admissibility

requirements at trial. ‘For example, hearsay evidence produced in an affidavit

opposing summary judgment may be considered if the out-of-court declarant could

later present that evidence through direct testimony, i.e. in a form that would be

admissible at trial.”). Here, the lower court held that:

        The Delaware allegation is substantively identical to the allegations
        made by Daimler in his Complaint and carries no more probative force
        than Daimler’s Complaint allegations herein. The allegation in the
        Delaware case arguably carries less probative force than Daimler’s
        allegations in that the Delaware action assertion is not based upon the
        Delaware plaintiffs’ personal knowledge. To that extent, the Delaware
        case allegation is also inadmissible hearsay. The Court will disregard
        the Delaware civil complaint has having no impact on determining
        whether a genuine issue of material fact exists in this case. 16

        Those investors’ verified complaint states that “to entice investors, and to

induce Daimler to focus his efforts on the Partnership over his other successful

businesses, Moehle represented that GE Ventures had committed to invest $20

million in the Fund, which was a significant portion of the $50 million the Fund

sought to raise.” JA1089 (¶172).

        The lower court also improperly characterized the testimony of Jamie Fee

regarding the GE Representation, finding that Fee’s testimony that “GEV was to

16
     JA44

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invest a ‘significant’ amount of money, which Fee deemed to be around $5

million, not $20 million” [JA799 17] “contradict[s]” Daimler’s testimony about

the GE Representation. Clearly, however, notwithstanding Fee’s memory of a

number less than $20 million, the number he did recall was still a large number

and, as such, does not “contradict” Daimler’s testimony. JA43. In fact, Jamie Fee

stated that without Moehle’s representation of the GE commitment to the Fund,

Daimler never would have wanted to give up Skilled Science – a fact wholly

consistent with the fact that Moehle did, in fact, make the GE Representation.

JA816-817

         As this Court explained in Mei-Chai Li v. Attorney General of the U.S., 238

Fed. Appx. 777, 782 (2007):

         [c]orroboration is evidence that presents ‘a different point of view of
         the same story.’ See, e.g., Black’s Law Dictionary 344 (6th ed.1990)
         (defining corroboration as testimony that ‘corresponds with the
         representation of other witnesses ... or ... comport[ing] with some facts
         otherwise known or established.’); see also id. at 344–45
         (‘corroborating evidence,’ is ‘[a]dditional evidence of a different
         character to the same point.’).

         Thus, the lower court’s determination that Jamie Fee’s testimony was not

corroborative of Daimler’s testimony and, even worse, contradicted Daimler’s

testimony constituted both (i) a failure by the lower court to view the evidence in the

light most favorable to Daimler and draw all reasonable inferences in Daimler’s


17
     Fee Dep. 20:4-10

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favor, and (ii) an improper resolution – rather than recognition – of an issue of

credibility, both of which required the denial of summary judgment in this case. See

Adickes, 398 U.S. at 158-159.

        In fact, Daimler’s testimony that Moehle told him that GE had committed to

invest $20 million in the Fund, a conversation that was private between Daimler and

Moehle, is even more probative considering the fact that Moehle never once denied

that he made the GE Representation to Daimler -- not in his deposition and not in

support of his motion for summary judgment.

        The lower court never considered the glaring evidentiary hole presented by

Moehle’s failure to deny this central fact – especially when compared with Daimler’s

testimony, under oath, of the $20 Million GE Representation – such that a reasonable

jury could believe this occurred, again requiring the denial of summary judgment in

this case. See, e.g., Johnson v. MetLife Bank, N.A., 883 F. Supp. 2d 542, 550 (E.D.

Pa. 2012).

        Instead, for example, the lower court made am improper determination, albeit

subtly, regarding Daimler’s credibility. More specifically, the lower court focused

on a portion of Daimler’s deposition testimony in which Daimler responded to

defense counsel’s query “how long was the introductory phone call with Mr.

Moehle?”, “[d]id you ask any questions?” that he did not recall.18 JA22. Following

18
     Citing Daimler Dep. 71:10-72:19

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this testimony which, viewed in a light most favorable to Daimler, means only what

he says – that he cannot recall these specific details about which defense counsel

inquired – the lower court instead drew an inappropriate inference against Daimler,

concluding that, “[g]iven Daimler’s lack of recollection as to what was discussed on

the phone call, defense counsel asked the following question regarding the central

allegation of the Complaint…” JA22-23.

        The lower court’s impermissible inference against Daimler is all the more

egregious given the clear lack of necessity of any inference. Indeed, as excerpted in

the lower court’s opinion, directly following his failure to recall certain details,

Daimler testifies exactly why he remembered the GE Representation and not the

other details about which he was asked:

        Q. In paragraph 20 of the Complaint, you write that – or you allege that
        Mr. Moehle represented to you that GE had committed to invest $20
        million. If you can’t recall any of the topics that were covered, what’s
        the basis for the allegation?

        A. Because that would have been burned in my memory. That's the
        germane issue. There would be nothing out of the ordinary about me
        talking to [Moehle] or even being introduced to [Moehle]. I would have
        no reason to have taken scrupulous notes, let alone notes that I can
        immediately recall at first being asked about the nature, or let alone the
        details, of a conversation from six years ago. But the germane issue,
        absolutely, was what would have changed the course

        of my decisions, or even the course of my professional life. That's a
        germane issue, that I would have recalled. 19 JA23.

19
     Citing Daimler Dep. 72:24-25; 73:1-13.

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      However, directly following Daimler’s explanation of why he could not recall

certain details but could recall the statement about the GE Representation, the lower

court turned back to what other details Daimler could not recall, stating: “Daimler

also could not recall whether he asked Moehle any questions about the GE

Representation or whether he asked for any documents about the GE

Representation.” JA23.

      Not only is this conclusion based on an inference drawn against Daimler,

lacking in evidentiary support, and taken out of context, but it also impermissibly

calls into question the credibility of Daimler’s central allegations regarding the GE

Representation.

   D. THE FACTUAL QUESTION OF WHETHER DAIMLER
      REASONABLY RELIED ON MOEHLE’S GE REPRESENTATION
      CANNOT BE RESOLVED ON SUMMARY JUDGMENT

      In the context of common law fraud claims, the question of justifiable reliance

is also most appropriately left to the jury. Blue Cross Blue Shield Ass'n v.

GlaxoSmithKline LLC, 417 F. Supp. 3d 531, 537 (E.D. Pa. 2019). Under

Pennsylvania law, for reliance upon another's representation to be justifiable, it must

be reasonable. Daimler v. Moehle, No. CV 18-165, 2019 WL 2422843 (W.D. Pa. June

10, 2019); Porreco v. Porreco, 571 Pa. 61, 811 A.2d 566 (2002). Reasonableness of

reliance involves all of the elements of the transaction and is rarely susceptible of

summary disposition. Id. Additionally, where a plaintiff provides at least some



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indication of forbearance of other opportunities, there is a question of reliance for

the jury. Ndubizu v. Drexel Univ., 768 F. Supp. 2d 796, 797 (E.D. Pa. 2011).

       Whether reliance on an alleged misrepresentation is justified depends on

whether the recipient knew or should have known that the information supplied was

false. Fort Washington Res., Inc. v. Tannen, 858 F. Supp. 455, 458 (E.D. Pa. 1994).

Of course, where the means of obtaining the information in question are not equal,

the representations of the person believed to possess superior information may be

relied upon. I d .

       Courts have repeatedly determined that, as a general matter, a party’s state of

mind is an issue of fact for the jury. See Coolspring Stone Supply, Inc. v. Am. States

Life Ins. Co., 10 F.3d 144, 148 (3d Cir. 1993) (citing Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 255, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986)) (“Summary

judgment is inappropriate when a case will turn on credibility determinations.”); see

also Riehl v. Travelers Ins. Co., 772 F.2d 19, 24 (3d Cir. 1985) (citing Ness v.

Marshall, 660 F.2d 517, 519 (3d Cir. 1981)) (“The issue of intent is ‘particularly

inappropriate for resolution by summary judgment’ because evaluating state of mind

often requires the drawing of inferences from the conduct of parties about which

reasonable persons might differ.”).

       Likewise, courts have also found that the “reasonableness inquiry” central to

fraudulent inducement claims – i.e. whether the party “knew or should have known


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that the information supplied was false” – “requires a consideration of the parties,

their relationship, and the circumstances surrounding their transaction” – and is

therefore also best left to the jury – not the court. Toy v. Metro. Life Ins. Co., 593

Pa. 20, 55, 928 A.2d 186, 208 (2007) (citing Scaife Co. v. Rockwell-Standard Corp.,

446 Pa. 280, 285 A.2d 451, 455 (1971)); see also Tran v. Metro. Life Ins. Co., 408

F.3d 130, 139 (3d Cir. 2005) (citing Silverman v. Bell Sav. & Loan Ass'n, 367 Pa.

Super. 464, 533 A.2d 110, 115 (1987); Rempel v. Nationwide Life Ins. Co., 471 Pa.

404, 370 A.2d 366, 368 (1977)) (finding that the court erred in making the justifiable

reliance determination “as a matter of law,” and explaining that “[w]e stress, as have

the Pennsylvania courts, that the issue of whether reliance on a representation is

reasonable (or justifiable) is generally a question of fact that should be presented to

the jury.”).

       To that end, Daimler demonstrated that he justifiably relied on

Moehle’s representations to him. This representation resulted in Daimler ultimately

joining Defendants and walking away from his company, Skilled Science. JA3137

(¶155). Daimler was introduced to Moehle by Dave Mawhinney, a trusted personal

friend and member of the Carnegie Mellon School of Computer Science Advisory

Board. JA3135 ( ¶148). Dave Mawhinney informed Daimler that Moehle had

commitments from GE that were “a very big deal.” Id. Daimler testified that he never

imagined that Moehle would lie to him on such a fundamental issue, which was


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reinforced by the fact that Moehle made the identical representation to potential

investors. JA3153(¶¶189-190).

      Additionally, the means of obtaining information about the GE

Representation were not equal, as Moehle possessed superior information as to the

investment. Daimler v. Moehle, No. CV 18-165, 2019 WL 2422843 (W.D. Pa. June

10, 2019). This issue, in fact, had also already been decided, when the District Court

held that requiring Daimler to investigate more would be “tantamount to imposing a

duty to investigate, contrary to current case law.” Id. In fact, on top of not having the

duty to investigate, Daimler was specifically foreclosed from the opportunity to

ascertain the truth of the GE investment representation. See Benevento v. Life USA

Holding, Inc., 61 F. Supp. 2d 407 (E.D. Pa. 1999) (holding that whether reliance is

justified is dependent on the opportunities to ascertain the truth of the representation

at issue). The court should also consider the relationship of the parties involved and

the nature of the transaction when determining whether one party's reliance on the

allegedly fraudulent representations of another is reasonable. Tran v. Metro. Life Ins.

Co., 408 F.3d 130, 135 (3d Cir. 2005).

      Here, Daimler was specifically directed by Moehle to not discuss the

investment with GE’s representative, Alex Tepper, as Tepper had not been involved

in the decision process, and Moehle wanted to remain GE’s point person regarding

the investment. JA1090 (¶178). While Moehle was able to communicate with Tepper


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on this issue, Daimler was not. Id. In fact, based on the relationship as business

partners between Daimler and Moehle, and the nature of the transaction represented

as “sensitive,” Daimler accepted Moehle’s representations as true. 20 JA3149 (¶¶180-

181). Nevertheless, the issue of whether reliance on Moehle’s representation was

reasonable or justifiable is a question of fact that should be presented to the jury.

Tran, 408 F.3d at 132.

     E. THE LOWER COURT IMPROPERLY DISREGARDED DAIMLER’S
        EVIDENCE OF DAMAGES.

       Daimler demonstrated that he was damaged by relying on Moehle’s

representations of the GE commitment. On a fraudulent inducement claim, a plaintiff

needs only to establish that they suffered some injury and that it was proximately

caused by their reliance on a misrepresentation. Paramount Fin. Commc'ns, Inc. v.

Broadridge Inv. Commc'n Sols., Inc., No. CV 15-405, 2019 WL 3022346 (E.D. Pa.

May 23, 2019). “Under Pennsylvania law, damages need not be proved with



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  The notion that Moehle would describe the GE investment as “sensitive” is
bolstered by Moehle’s identical description of the investment to Herman Herman,
of Carnegie Mellon University, in which, in response to Mr. Herman’s question as
to why Moehle refused to answer a question about “the level of commitment/funding
that GE has made,” Moehle responded that “these terms are “sensitive and
confidential.” JA1090, JA1114, Daimler Dep. Tr. 79:16-17. Also of interest in that
e- mail exchange is that, while Moehle maligns Daimler’s interaction with Mr.
Herman, by e-mail from Mr. Herman to Daimler dated May 26, 2016, Mr. Herman
specifically states “[j]just so you know, my main frustration is with Chris, not you.
I might not agree with you on some things, but you are straightforward and clear
about your view, which I appreciate.” JA1118.

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mathematical certainty, only reasonable certainty.” E. C. Ernst, Inc. v. Koppers Co.,

626 F.2d 324, 327 (3d Cir. 1980). Evidence of such damages may consist of

probabilities and inferences. Id. This Court has also held that “[t]he proof of damages

may be indirect and may include estimates based upon assumptions.” Malley–Duff &

Associates, Inc. v. Crown Life Ins. Co., 734 F.2d 133, 148 (3d Cir.1984). It is only

necessary that the assumptions of damages rest on adequate data. Id. Specifically, in

a fraud case, damages are not considered speculative merely because they are not

capable of exact calculation. Pennsylvania law merely requires that plaintiffs present

a reasonable quantity of information from which a jury can fairly estimate the

damages. Windt v. Shepard's/McGraw-Hill, Inc., No. CIV.A. 96-1527, 1997 WL

698182, at *8 (E.D. Pa. Nov. 5, 1997).

      Rather, Pennsylvania law merely requires that plaintiffs present a

reasonable quantity of information from which a jury can fairly estimate the

damages. Id. Additionally, Pennsylvania law permits punitive damages to be

awarded even when there are no compensatory damages. See Welcker v.

Smithkline Beckman, 746 F. Supp. 576, 580 (E.D. Pa. 1990).

      Daimler proffered evidence, and can testify at trial, that he suffered

economic harm in reliance on Moehle’s fraudulent representations. JA3136-3137.

The Third Circuit favors the admission of lay opinion testimony, provided that it

is well founded on personal knowledge and susceptible to specific cross-


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examination. Ghee v. Marten Transp., Ltd., 570 F. App'x 228, 229 (3d Cir. 2014).

Additionally, a lay witness qualifies to offer testimony as to damages where it relies

on facts within his knowledge by virtue of his position within the company.

Autoforge, Inc. v. Am. Axle & Mfg., Inc., No. CIV.A. 02-01265, 2008 WL 65603

(W.D. Pa. Jan. 4, 2008).

      Here, Daimler stated in his testimony that he walked away from his company,

and the likely $10 million investment in that company, due to Moehle’s GE

investment representation. JA3137. Additionally, Jamie Fee stated that without the

representation of the GE commitment to the Fund, Daimler never would have wanted

to give up Skilled Science. J A 8 1 6 - 8 1 7 . Fee testified that the damages sustained

here would be the lost business opportunity of Skilled Science, which could be up

to five times the value of the portfolio. JA816-817

      Daimler had prepared a proposal for Colin Beirne, of Two Sigma, which

included a $5 million investment with an initial release of $500,000. JA3136,

JA1119-1120, JA3554. At Mr. Beirne’s request, Daimler also created a

Memorandum of Understanding to reflect the verbal understanding between Daimler

and Mr. Beirne about Two Sigma’s investment commitment to Skilled Science.

JA3136, JA826-JA829.

      Additionally, Keith Furuya, of Furuya & Co., confirmed a $100,000

investment in Skilled Science, with the belief that he had another $250,000. JA3136,


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JA1124. Further, Fee testified that multiple investors, including the Sackler Family

Office, were on the verge of investing in Skilled Science. JA3136 JA820.

      More specifically, in concluding that the damages sustained by Daimler by

walking away from his prior company, Skilled Science, to join Moehle and the

Companies were too speculative [JA51], the lower court ignored several

fundamental facts: (i) had Daimler not walked away from Skilled Science, the

over $400,000 he provided to Moehle and the Companies would have been

invested in Skilled Science [JA3161, JA818; JA824-825](ii) though Daimler was

unable to identify a very tiny fraction of his expense receipts included in Exhibit

O to his papers in opposition to Defendants’ motion for summary judgment, the

lower court simply ignored the hundreds of thousands of dollars in other expenses

contained in that Exhibit [JA35-JA36, JA1179-1779]; and (iii) while the lower

court focused on the fact that Daimler had no signed investor agreements at the

time he walked away from Skilled Science (although he clearly had significant

interest) [JA29-30, JA1085-1086] the lower court also ignored the very

reasonable conclusion that the only reason Daimler did not have those signed

investor agreements is exactly because he was defrauded to join Moehle and the

Companies before any such signed agreements could be reached. JA51.

      It is clear, therefore, that Daimler satisfied each element of his fraud claim

– or, at a minimum, demonstrated the existence of genuine issues of material fact


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on those elements. As a result, this Court should reverse the lower’s court’s order

granting Defendants’ motion for summary judgment and reinstate Daimler’s

fraud in the inducement claim. See, generally, JA3131-3164

   F. THE LOWER COURT ERRED IN GRANTING DEFENDANTS’
      MOTION FOR SUMMARY JUDGMENT ON DAIMLER’S BREACH
      OF CONTRACT CLAIM

      The lower court erred in determining that Daimler, as a matter of law, failed

to prove that an oral contract existed between Daimler and Defendants such that

Defendants’ failure to treat Daimler’s financial contributions as capital contributions

constituted a breach. Rather, Daimler presented sufficient evidence to survive

summary judgment on his breach of contract claim.

      To prevail on a breach of contract claim, a plaintiff must establish three

elements: (1) the existence of a contract, including its essential terms, (2) a breach of

a duty imposed by the contract, and (3) resultant damages. Zeno v. Ford Motor Co.,

480 F. Supp. 2d 825, 827 (W.D. Pa. 2007).

      In the case of a disputed oral contract, what was said and done by the parties,

as well as what was intended by what was said and done by the parties, are questions

of fact to be resolved by the trier of fact. Fleming Steel Co. v. Jacobs Eng'g Grp.,

Inc., 373 F. Supp. 3d 567, 582 (W.D. Pa. 2019). Whether the record contains any

documentary evidence containing the term “contract” is not dispositive of whether

an oral contract was formed Id. at 584.


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      Here, Daimler demonstrated that he entered into an oral agreement with Coal

Hill. JA3145, JA3158 (¶¶192, 205). In his testimony, Daimler stated that he made

substantial financial contributions to cover third-party expenses that were essential

for the Companies to stay in business. JA3158-3159(¶¶ 206-207, 210-212). Daimler

testified during his deposition, and confirmed in his Affidavit in opposition, that he

contributed a considerable amount of money to the Companies, as well as to Moehle

individually, over several years. JA3162 (¶¶ 214-217). Further, Fee testified that

Daimler had been making contributions for the Companies expenses and “writing

checks on an ongoing basis.” JA3161 (¶¶ 212-213). In fact, in their Answer to the

FAC, Defendants “admit[ted] that Daimler provided money to cover corporate

expenses, which included expenses Daimler incurred in connection with his minimal

and unsuccessful fundraising efforts.” JA569 (¶43).

      Next, Daimler demonstrated that Coal Hill breached this contract by failing

to issue units in connection with his additional contributions. JA3163 (¶ 219). I n

breach of Section 7.2 of the Operating Agreement, which provides that “any future

Capital Contributions made by any Member shall only be made with the consent of

the Board and in connection with an issuance of Units,” Daimler did not receive any

additional common Units based on his contributions. JA3163 (¶ 219).

      To prove damages, a plaintiff must give a fact finder evidence from which

damages may be calculated to a reasonable certainty. ATACS Corp. v. Trans World


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Commc'ns, Inc., 155 F.3d 659, 669 (3d Cir. 1998). At a minimum, reasonable

certainty embraces a rough calculation that is not too speculative, vague or

contingent upon some unknown factor. I d . Whether damages are remote or

speculative rests not on the difficulty of calculating the amount, but on the question

of whether damages are identifiable. Bd. of Trustees, Roofers Loc. No. 30 Combined

Welfare Fund v. Int'l Fid. Ins. Co., 63 F. Supp. 3d 459 (E.D. Pa. 2014), aff'd, 644 F.

App'x 133 (3d Cir. 2016).

        The amount of damages “need not be proved with mathematical certainty, but

only with reasonable certainty, and evidence of damages may consist of probabilities

and inferences.” Id. Additionally, a plaintiff is required to only provide the jury with

a reasonable amount of information so as to enable the jury to fairly estimate

damages without engaging in speculation. See, e.g., Power Restoration Int'l, Inc. v.

PepsiCo, Inc., No. CIV.A. 12-1922, 2015 WL 1208128, at *4 (E.D. Pa. Mar. 17,

2015)

        Further, where a lay witness’s opinion testimony “is based on sufficient

experience or specialized knowledge,” and a “sufficient connection” exists between

such “knowledge and experience and the lay opinion,” that opinion should be

admitted because it “may be fairly considered to be ‘rationally based on the

perception of the witness,’ and truly ‘helpful’ to the jury.” Ghee, 570 F. App'x at 229;

see also Joy Mfg. Co. v. Sola Basic Indus., Inc., 697 F.2d 104 (3d Cir. 1982).


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      Here, Daimler’s testimony as to his damages must be considered, as it is

based on personal knowledge, his sufficient experience as a Member of Coal Hill,

and his ongoing financial contributions to the company. JA3162-3163 (¶¶215-218);

Ghee, 570 F. App'x at 229. Daimler identifies that he did not have Units issued to

him based on his agreement with Defendants, and thus suffered monetary loss due

to Defendants’ breach. JA3163 (¶219).

      Specifically, Daimler’s unreimbursed contributions to Coal Hill totaled well

over $200,000 with the expectation, based on his agreement with Defendants, that

they would be treated as capital contributions. JA3162 (¶214). In simplest terms,

he certainly did not pay well over $200,000 out of the goodness of his heart, and

the Companies should not be absolved of making a choice – provide Daimler with

the common units promised or pay back all of the money Daimler advanced so that

the Companies could survive and still exist today.

      Instead, the lower court, however, relied upon Ecore Int'l, Inc., holding that

“where . . . there is no agreement or even a discussion as to any of the essential

terms of an alleged bargain, such as time or manner of performance, or price or

consideration, the ‘agreement’ is too indefinite for a party to reasonably believe that

it could be enforceable in an action at law.” Ecore Int'l, Inc. v. Downey, 343 F. Supp.

3d 459, 489 (E.D. Pa. 2018).




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      However, the court there also stated that under Pennsylvania law, “where the

facts are in dispute, the question of whether a contract was formed is for the jury to

decide.” Id. at 487. Here, consideration for the contract was clearly the amount of

expenses paid on Defendants’ behalf and the material terms are addressed in Section

7.2 of the Operating Agreement. JA3163 (¶219). Those facts, together with any

other facts that may be in dispute, should be left to resolution by a jury.

      It is clear, therefore, that Daimler demonstrated the existence of genuine

issues of material fact on the elements of his breach of contract claim. As a result,

the lower court erred in granting Defendants’ motion for summary judgment on

Daimler’s breach of contract claim.

                                      POINT III

      THE DISTRICT COURT ERRED IN DISMISSING DAIMLER’S
                 UNJUST ENRICHMENT CLAIMS

   A. STANDARD OF REVIEW

      Appellate review of a district court's dismissal on a Fed. R. Civ. P. 12(b)(6)

motion to dismiss is de novo. See Carino, 376 F.3d at 159.

   B. THE LOWER COURT DISMISSED THE BREACH OF CONTRACT
      CLAIMS LEAVING DAIMLER WITH NO REMEDY AT LAW,
      REQUIRING THAT THE UNJUST ENRICHMENT CLAIMS BE
      REINSTATED

      Daimler has properly alleged an unjust enrichment claim against Moehle and

the Companies. “The elements of unjust enrichment under Pennsylvania law have



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been defined as follows: (1) benefits conferred on defendant by Plaintiff; (2)

appreciation of such benefits by defendant; and (3) acceptance and retention of such

benefits under such circumstances that it would be inequitable for defendant to retain

the benefit without payment of value.” Gabriel v. Giant Eagle, Inc., 124 F. Supp. 3d

550, 568 (W.D. Pa. 2015).

      Delaware law is in accord. See B.A.S.S. Grp., LLC v. Coastal Supply Co., No.

CIV.A 3743-VCP, 2009 WL 1743730, at *6 (Del. Ch. June 19, 2009) (“The elements

of unjust enrichment are: the unjust retention of a benefit to the loss of another, or

the retention of money or property of another against the fundamental principles of

justice or equity and good conscience.”).

      However, the lower court overlooked the fact that the unjust enrichment

claims against the Companies are expressly pled in the alternative to the contract

claims, as allowed under Fed. R. Civ. P. 8(d). See Aetna Life Ins. Co. v. Huntingdon

Valley Surgery Ctr., No. CIV.A. 13-03101, 2015 WL 1954287, at *10 n.1 (E.D. Pa.

Apr. 30, 2015) (“Fed. Rule Civ. P. 8(d)(3) permits inconsistent claims at the pleading

stage, [ ] so courts have permitted plaintiffs to pursue alternative theories of recovery

based both on breach of contract and unjust enrichment, even when the existence of

a contract would preclude recovery under unjust enrichment.”); Sensus USA, Inc. v.

Elliott Bay Eng'g, Inc., No. CIV.A. 10-1363, 2011 WL 2650028, at *5 (W.D. Pa.

July 6, 2011); Schirmer v. Principal Life Ins. Co., No. 08-CV-2406, 2008 WL

4787568, at *5 (E.D. Pa. Oct. 29, 2008).

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        Here, in its July 30, 2018 Decision dismissing Daimler’s unjust enrichment

claim21, the lower court held that:

        Because the Court finds the existence of valid contracts, and because
        Plaintiff does not seek recission of the contracts and instead claims
        damages pursuant to those contracts (which the parties agree address
        the at-issue conduct), these claims must be dismissed.

        However, in its July 18, 2022 Decision 22 the lower court dismissed

Daimler’s claim for breach of the contract under which he was promised that his

capital contributions would be converted into common units, leaving Daimler with

no contract to serve as the basis for the lower court’s earlier July 30, 2018

Decision.

        As a result, by the lower court’s own logic, Daimler’s unjust enrichment

claim should be reinstated.

                                       POINT IV

                  THE TRIAL COURT ERRED IN DENYING
                 DAIMLER’S MOTION FOR NEW TRIAL OR,
                     ALTERNATIVELY, REMITTITUR

     A. STANDARD OF REVIEW

        The district court’s denial of a new trial or remittitur is reviewed for abuse of

discretion. Kelly v. Matlack, Inc., 903 F.2d 978 (3d Cir. 1990); Spence v. Bd. of Educ.

of Christina Sch. Dist., 806 F.2d 1198 (3d Cir. 1986).

21
     JA77-99; Dkt No. 22
22
     JA20-56; Dkt No. 124

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   B. THE DAMAGE AWARD IS EXCESSIVE AND CONTRADICTS THE
      RECORD, JURY INSTRUCTIONS, AND EXPLICIT AND BINDING
      STATEMENTS OF DEFENDANTS.

      Pursuant to Fed. R. Civ. P. Rule 59(a), a new trial may be granted to all or any

of the parties, and on all or part of the issues, in an action in which there has been a

trial by jury for any of the reasons for which new trials have heretofore been granted

in actions at law in the courts of the United States. Generally, a District Court may

grant a new trial on grounds that the verdict is against the weight of the evidence,

that damages are excessive, that the verdict was arrived at by compromise, or that

for other reasons the trial was not fair to the moving party. See, e.g., Davis v. Se.

Pennsylvania Transp. Auth., 735 F. Supp. 158 (E.D. Pa. 1990), aff'd, 924 F.2d 51

(3d Cir. 1991); Alexander v. Red Star Exp. Lines of Auburn, Inc., 646 F. Supp. 672

(E.D. Pa. 1986), aff'd, 813 F.2d 396 (3d Cir. 1987). As recognized by the Court

in Alexander:

      A district court may grant a new trial if required to prevent injustice or
      to correct a verdict that was against the weight of the evidence...The
      authority to grant a new trial rests in the sound discretion of the district
      court...but if the judge is convinced that there has been a miscarriage of
      justice, then it is his or her duty to set the verdict aside.

646 F. Supp. at 683 (citations omitted).

      A new trial is warranted in this case on the grounds that the damage award is

contrary to the clear weight of the evidence, and was speculative, excessive, and

indicates confusion or a compromise on the part of the jury.



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      A new trial may be granted when the great weight of the evidence cuts against

the verdict and . . . a miscarriage of justice would result if the verdict were to stand.’”

Solomon v. Sch. Dist. of Philadelphia, 532 F. App'x 154, 157 (3d Cir. 2013) (quoting

Springer v. Henry, 435 F.3d 268, 274 (3d Cir. 2006)). Both the Supreme Court and

this court have explained that the evidentiary record must provide a fair basis upon

which a jury can calculate damages, and where a verdict is based upon “speculation

or guesswork,” it must be overturned. See Bigelow v. RKO Radio Pictures, 327 U.S.

251, 264 (1946); see also Vargo v. Coslet, 126 F. App'x 533, 534 (3d Cir. 2005) (a

verdict against the weight of the evidentiary record evincing a miscarriage of justice

warrants a new trial). A verdict granting purely speculative damages, therefore,

should be overturned. See Am. Air Filter Co. v. McNichol, 527 F.2d 1297, 1301 (3d

Cir. 1975). In light of the evidence presented at trial, the $225,000 verdict is entirely

unsupported by the evidentiary record and is, in fact, directly contradicted by the

testimony and binding statements of Moehle and the Companies’ counsel.

       Here, it is undisputed that the Companies’ counsel specifically requested in

his closing argument that the jury return $51,467 in damages on the claims that the

jury returned in their favor. During closing arguments, the Companies’ counsel

summarized the evidence for the jury and unequivocally admitted that, on the

Intellectual Property Claims, the damages the Companies sought to recover were

limited to $51,467:


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        So if you add those numbers together as response costs, you'll come to
        a $51,467 and that's the amount that we're going to ask you to return on
        the intellectual property and information technology claims.23

        Here, the lower court ignores caselaw supporting Daimler’s argument that the

Companies’ counsel’s request during his closing argument for $51,467 in damages

on all four claims is binding on Defendants. See Glick v. White Motor Co., 458 F.2d

1287, 1291 (3d Cir. 1972) (finding that concessions made in closing arguments about

the authenticity of certain exhibits was binding on defendant's client); see also

Pivirotto v. Innovative Sys., Inc., 191 F.3d 344, 358 n.7 (3d Cir. 1999) (explaining

“[i]t may be true ... that an attorney's clear and unambiguous statements of fact made

during opening or closing arguments can constitute judicial admissions”); United

States v. Butler, 496 F. App'x 158, 160 (3d Cir. 2012) (quoting United States v.

McKeon, 738 F.2d 26, 30 (2d Cir. 1984) (“[t]he general admissibility of an attorney's

statements, as well as the binding effect of an opening statement within the four

corners of a single trial, are ... well established.”); id.(citing Oscanyan v. Arms Co.,

103 U.S. 261, 263, 26 L. Ed. 539 (1880) (“any fact, bearing upon the issues involved,

admitted by counsel, may be the ground of the court's procedure equally as if

established by the clearest proof.”).

        As Daimler argued in his motion for a new trial, an unequivocal admission

by counsel is precisely what occurred here.

23
     JA3479 (22-25)

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         It is also undisputed that Moehle testified to and proffered evidence of the

costs the Companies incurred as a result of the Intellectual Property Claims, which

equals $51,467 24.

         While the lower court’s jury instructions 25 explained that the jury “may

consider” additional damages arising from the Lanham Act for “loss of goodwill”

and “cost of corrective damages,” the record is completely devoid of any evidence

of “loss of goodwill.”26

         The lower court then considered the “costs of corrective advertising” and

noted that any additional damages under the Lanham Act would have to fall under

this umbrella. This was defined as:

                …the amount spent by the [the Companies] to counteract the
         effects of Eric Daimler's infringement and/or false advertising and
         dispel any public confusion that lingers after the infringement and/or
         false advertising. You may not determine damages by speculation or
         conjecture, but rather evidence sufficient for you to draw reasonable
         inferences and make a fair and reasonable assessment of the amount of
         damages. Damages may be awarded even though they cannot be
         calculated with mathematical certainty.27


24
   Moehle offered the following evidence of costs incurred by the Companies
resulting from Daimler’s violations of the Intellectual Property Claims: (i) Reed
Smith invoices attributable to its response work, totaling $6,059. JA3334; (ii) a
retainer of bit-x-bit for three years, and two 2017 invoices totaling $3,408. [JA3479];
and (iii) testimony, without any supporting invoices, that through March 2023, the
Companies had paid $48,000 to Reputation Defender. [JA3328].
25
     JA3450-3469 (Jury Instructions).
26
     JA3457.
27
     JA3502, 3458.

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        Clearly, however, the costs of corrective advertising were already included in the

requested award (i.e. Reputation Defender) or, to the extent any additional evidence of

corrective advertising did exist, it was not accompanied by any financial evidence by

which the jury could reasonably assess the costs of such corrective advertising.

        Despite there being no evidence of “loss of goodwill,” the lower court

nonetheless included “loss of good will” as a potential basis for the inflated damage

award.

        In addition to “loss of good will,” the lower court considered “consequential

damages” that the CFAA includes in its definition of “loss” as a basis for the excess

damages that the court acknowledged “fall outside of” the $51,467 “concrete”

damages. As for damages stemming from a finding of liability on the CFAA the

jury was instructed as follows:

        Cost that constitutes loss for these purposes include attorneys’ fees and
        investigation and enforcement costs reasonably incurred responding to
        the offense, as well as fees paid to an expert for investigating Eric
        Daimler's access to the computer -- to the Google Drive and the results
        of such access or taking remedial measures in response to the access.28

        As evidence of “loss of good will” and “consequential damages,” the lower

court stated:

              In terms of additional concrete numbers that the jury may have
        considered, Mr. Moehle testified that, as a result of Mr. Daimler’s


28
     JA3460. See 113:1-16.

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           conduct, he continued and will continue to pay Reputation Defender,
           $6,000 per year, for Search Engine Optimization (SEO).29

           First, not only did the Companies clearly decide against including $6,000 on

an undefined continuous basis in its specific, calculated request for $51,467 in

damages, but this sum was clearly considered by the Companies to be unnecessary

to remedy the issues caused by Daimler’s alleged misuse of the Companies’

intellectual property.

           Further, neither the jury instructions nor case law support a damage award for

the annual SEO payment, Daimler’s post-employment conduct, or the Companies’

purported $8 million shortfall from their alleged “fundraising goals.” JA8, JA3918,

JA3450-3469.

           Specifically, in regard to claims of false designation of origin and/or false

advertising, the lower court instructed the jury that it “may not determine damages

by speculation or conjecture but rather evidence sufficient for you to draw

reasonable inferences and make a fair and reasonable assessment of the amount of

damages.” JA3458 112:4-11. Likewise, in regard to liability stemming from the

Computer Fraud and Abuse Act (“CFAA”), the court instructed the jury that “as I

previously instructed you damages should not be awarded based on speculation.”

JA3460 (114:13-14).



29
     JA8

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      This Circuit has similarly rejected speculation in the damage award process.

Fetterolf v. Harcourt Gen., Inc., 70 F. App'x 54 (3d Cir. 2003) (affirming District

Court rejection of speculative argument pertaining to jury instructions); United

States v Rinaldi, United States v. Rinaldi, No. 3:18-CR-279, 2021 WL 1212669, at

*6 (M.D. Pa. Mar. 31, 2021), aff'd, No. 21-2419, 2023 WL 3034327 (3d Cir. Apr.

21, 2023) (rejecting defendant's argument as to what testimony the jury believed or

relied upon in reaching its verdict as “entirely speculative”).

      Contrary to the lower court’s ruling, Daimler’s alleged post-employment

conduct calls for impermissible speculation. Indeed, the record is completely devoid

of any financial statements, invoices, or other documents from which a jury could

extrapolate dollar amounts from which it could “reasonably infer” additional

damages on this basis. Likewise, the $8 million “fundraising goal” shortfall

referenced by the lower court is impermissibly speculative on its face. JA8. Clearly,

neither the jury instructions nor the law permit the jury to award damages for the

“efforts” expended by the Companies to “respond to Daimler’s actions” or the

“fundraising goal” shortfall.

      Finally, to the extent the lower court found that any of the aforementioned

“evidence” constitutes “consequential damage” under the CFAA, this too is clearly

contradicted by the law:

      [D]istrict court decisions in the [Court of Appeals for the] Third Circuit
      have held that to fall within this definition of ‘loss,’ the ‘alleged “loss”

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      must be related to the impairment or damage to a computer or computer
      system.’” Brooks v. AM Resorts, LLC, 954 F. Supp. 2d 331, 338 (E.D.
      Pa. 2013) ((quoting Sealord Holdings, Inc. v. Radler, No. CIV.A. 11-
      6125, 2012 WL 707075, at *4 (E.D. Pa. Mar. 6, 2012)) (additional
      citations omitted)). Therefore, loss under the CFAA is compensable if
      “the cost of remedial measures taken to investigate or repair the damage
      to the computer, or loss is the amount of lost revenue resulting from a
      plaintiff's inability to utilize the computer while it was inoperable
      because of a defendant's misfeasance.”

Carnegie Strategic Design Engineers, LLC v. Cloherty, No. CIV.A. 13-1112, 2014

WL 896636, at *3 (W.D. Pa. Mar. 6, 2014) (quoting Clinton Plumbing & Heating

of Trenton, Inc. v. Ciaccio, No. CIV.A. 09-2751, 2011 WL 6088611,at *5 (E.D. Pa.

Dec. 7, 2011)) (emphasis in original). Therefore, that the Companies “acted to

reassure their investors, their portfolio companies, and others of their continued

existence and operations” is not compensable as “cost[s] of remedial measures” or

“lost revenue resulting from [the Companies’] inability to utilize the computer”

under the CFAA. Id.

      In fact, loss under the CFAA is compensable if “the cost of remedial measures

taken to investigate or repair the damage to the computer, or loss is the amount of

lost revenue resulting from a plaintiff's inability to utilize the computer while it was

inoperable because of a defendant's misfeasance.” Id.

      In the face of the clear weight of the evidence at trial and the jury instructions

provided by the lower court, the jury awarded damages for the Intellectual Property

Claims in the amount of $225,000 – nearly five times the amount sought by the


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Companies and in excess of what the record, jury instructions and law support. As

such, the jury verdict is excessive and justifies a new trial.

      a) The Verdict Indicates Confusion, Mistake, and/or Compromise on The
         Part of the Jury.

      Similarly, a jury verdict should be set aside if it is manifest that the verdict

was the result of a mistake, caprice, prejudice or other improper motive on the part

of the jury. Conry v. Baltimore & O.R. Co.,112F.Supp.252 (W.D. Pa.), aff'd, 209

F.2d 422 (3d Cir. 1953). Federal courts have also recognized that a new trial is

warranted where apparent inconsistencies in the verdict indicate confusion on the

part of the jury. See, e.g., Glob. Van Lines, Inc. v. Nebeker, 541 F.2d 865 (10th Cir.

1976); Frain v. Andy Frain, Inc., 660 F. Supp. 97 (N.D. Ill.1987). Moreover, the

inconsistency of the verdict may be considered as possibly representing the

compromise of a conflict among jury engendered by prejudice. Beck v. Wings Field,

Inc., 122 F.2d 114 (3d Cir. 1941).

      Here, the evidence was uncontroverted that the Companies only sustained

$51,467 in damages for the Intellectual Property Claims that the jury returned in

their favor. Further, the Companies’ attorney clearly and specifically limited his

request to the jury for a damage award of $51,467 for the Companies.

      It is noteworthy in this regard, as Daimler’s attorney pointed out to the lower

court at trial, the jury verdict slip provided a single line for a damage award, but the

jury was returning damages for the three Intellectual Property Claims it found in

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favor of the Companies. As such, Daimler’s attorney was concerned about the risk

that the jury would return a verdict three times the amount it actually found.

      MR. MANDELL: I apologize, Judge. As we're talking about it, I guess
it does somehow perhaps need to be made clear though to the jury that
essentially it's one number for any of them.

       But in other words they find it's $10,000 in damages from one of them,
it can't be ten for each of them so now the number is 30 because they are
essentially duplicative. I don't know the instructions mean the jury understand
that.

        THE COURT: We're only going to have one line and it's going to be,
it's the same damage, so how are they -- if they have a bill for $6,000 to Reed
Smith and they decide that's the damages are you suggesting that you think
they're going to triple it?

       MR. MANDELL: Only because -- I don't know, Judge, is the answer.
Only because they see that it's essentially a violation of three separate statutes.
So I don't know if that's what they would do. I'm hoping not. It's not like I
have a powerful feeling that there's a risk, but it is still the concern that there
should be clarity that they understand that it's essentially what the numbers
there –

      THE COURT: Just wait till I get the verdict slip and we'll make
adjustments. 30

        This may very well have been the reason, then, that the jury’s verdict came

back for nearly five times the amount requested by the Companies’ counsel. The

lower court, however, refused to “make the adjustments” that it assured it would

make and, as Daimler’s counsel feared, were clearly necessary.




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     JA3433(5)-3434 (7)

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   C. THE TRIAL COURT ALSO ERRED IN DENYING DAIMLER’S
      REQUEST FOR REMITTITUR

      The lower court also erred in denying Daimler’s request for a remittitur of the

jury verdict. If this Court determines that lower trial court properly denied Daimler’s

request for judgment as a matter of law and for a new trial, the case may be

remanded, and the trial court directed to reopen the judgment and direct

a remittitur of the verdict to no more than $51,467.

      This Court has the power to offer the Companies the opportunity to make

a remittitur and, if it is refused, to grant Daimler’s motion for new trial. See, e.g.,

Meyerv. W. R. Grace & Co., 421 F. Supp. 1331 (E.D. Pa. 1976), aff'd in part, rev'd

in part, 565 F.2d 152 (3d Cir. 1977). An order directing the Companies to remit all

or part of the verdict in excess of the maximum amount supportable by the evidence

is the proper procedure where the verdict is so large as to shock the conscience of

the court. Loughman v. Consol-Pennsylvania Coal Co., 740 F. Supp. 1114 (W.D.

Pa. 1990), aff'd in part, vacated in part sub nom; Hughes v. Consol- Pennsylvania

Coal Co ., 945 F .2d 594.( 3d Cir. 1991); see also Werbungs Und Commerz Union

Austalt v. Collectors' Guild, Ltd., 930 F.2d 1021 (2d Cir. 1991) (remittitur is

appropriate to reduce verdicts where a properly-instructed jury, hearing properly-

admitted evidence makes an excessive award).




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      In this case, the verdict was against the weight of the evidence and was

excessive. Accordingly, the lower court abused its discretion in not ordering the

Companies to remit all or part of the $225,000 verdict.

                                      POINT V

    IT WAS AN ABUSE OF THE LOWER COURT’S DISCRETION TO
         AWARD ATTORNEYS’ FEES TO THE COMPANIES

   A. STANDARD OF REVIEW

      The district court’s award of attorney’s fees under the Lanham Act is

reviewed for abuse of discretion. See Fair Wind Sailing, Inc. v. Dempster, 764 F.3d

303, 315 (3d Cir. 2014). However, deference to the district court is not given

where, as here, the district court misapprehends and misapplies the correct legal

standard. Id.

   B. THE LANHAM ACT VIOLATIONS DID NOT MEET THE
      “EXCEPTIONALITY” REQUIREMENT FOR ATTORNEYS’ FEES.

      Attorneys’ fees are permitted – not mandated – for violations of the Lanham

Act only in “exceptional cases.” 15 U.S.C. § 1117. Though undefined by statute, the

Third Circuit has held that a case is “exceptional” “when (a) there is an unusual

discrepancy in the merits of the positions taken by the parties or (b) the losing party

has litigated the case in an ‘unreasonable manner.’” Fair Wind Sailing, Inc. v.

Dempster, 764 F.3d 303, 315 (3d Cir. 2014) (citations omitted).`

      Additionally, “[w]hether litigation positions or litigation tactics are

‘exceptional’ enough to merit attorneys' fees must be determined by district courts

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‘in the case-by-case exercise of their discretion, considering the totality of the

circumstances.’” Id. (quoting Octane Fitness, LLC v. ICON Health & Fitness, Inc.,

572 U.S. 545, 554, 134 S. Ct. 1749, 188 L. Ed. 2d 816 (2014)). In determining

whether an “unusual discrepancy in the merits exists” courts consider whether the

case “’stands out from others with respect to the substantive strength of a party's

litigating position,’ considering both the governing law and the facts of the case.”

Wholesale Fireworks, Corp. v. Wholesale Fireworks Enterprises, LLC, No.

20CV0796, 2022 WL 1423095, at *4 (W.D. Pa. May 5, 2022) (citations omitted).

      Congress added the attorneys' fee provision of § 35(a) to the Lanham Act in

1975 in response to the Supreme Court's decision in Fleischmann Distilling Corp. v.

Maier Brewing Co., 386 U.S. 714, 87 S. Ct. 1404, 18 L. Ed. 2d 475 (1967), holding

that attorneys' fees were not available in trademark cases under the Lanham Act

absent express statutory authority. See S. REP. 93-1400, 2 (1974), reprinted in 1974

U.S.C.C.A.N. 7132, 7133.

      Here, the lower court erred in concluding that this case is “exceptional.”

Specifically, the lower court’s conclusion that the “exceptionality requirement of the

Lanham Act is met in this case….” was based on two mistaken factual conclusions:

Daimler had (1) acted in bad faith; and (2) conceded to culpability on the eve of the

trial rather than at some earlier point in the litigation. Contrary to prevailing law,

however, the lower court concluded that bad faith alone sufficed for exceptionality


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and concluded that “such circumstances create the exceptionality that the Lanham

Act intended in shifting fees to prevailing litigants….” JA9-11.

      In concluding that Daimler acted in bad faith, the lower court failed to even

name what specific facts belied the jury’s determination of bad faith. Rather, the

lower court stated that it agreed with the jury’s finding of bad faith and that “the

same” supports “exceptionality” under Fair Wind and Octane Fitness and an

attorneys’ fees award under the Lanham Act. JA9-10.

      While it is unclear whether the court held that the evidence supporting the

jury’s bad faith determination or the bad faith determination itself “supports

exceptionality,” the distinction is moot because neither is sufficient for a finding of

bad faith under Fair Wind or Octane Fitness. See Fair Wind Sailing, Inc. 764 F.3d

at 315 (Whether litigation positions or litigation tactics are “exceptional” enough to

merit attorneys' fees must be determined by district courts “in the case-by-case

exercise of their discretion, considering the totality of the circumstances.” Octane

Fitness, LLC, 134 S. Ct. at 1756. Importantly, that discretion is not cabined by a

threshold requirement that the losing party acted culpably. Octane Fitness, LLC, 572

U.S. at 554 n. 6 (“In Fogerty v. Fantasy, Inc., 510 U.S. 517, 114 S. Ct. 1023, 127

L. Ed. 2d 455 (1994), for example, we explained that in determining whether to

award fees under a similar provision in the Copyright Act, district courts could

consider a ‘nonexclusive’ list of ‘factors,’ including ‘frivolousness, motivation,


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objective unreasonableness (both in the factual and legal components of the case)

and the need in particular circumstances to advance considerations of compensation

and deterrence.’”). The Senate Report also confirms that whether a case is

exceptional “ultimately turns on considerations of the equities in full” and

“[a]ccordingly, although culpable conduct of a defendant in the act of infringement

is a relevant factor to consider, it is not exclusive of other equitable considerations

Securacomm Consulting, Inc. v. Securacom Inc., 224 F.3d 273, 281 (3d Cir. 2000)

(quoting S. REP. 93-1400, 1 (1974), reprinted in 1974 U.S.C.C.A.N. 7132, 7132).

      The lower court then examined “Daimler’s litigation position,” concluding

that his concession of culpability for the Intellectual Property Claims “on the eve of

trial and after three and a half years constitutes “circumstances [that] create the

exceptionality that the Lanham Act intended in shifting fees to prevailing litigants.”

      The Third Circuit examined abuse of litigation and exceptionality in detail in

Securacomm Consulting, Inc., affirming that district court’s award of attorneys’ fees

because that case presented “more than isolated incidents of litigation abuse; it

involves a sweeping attempt to beat a financially weaker opponent through the use

of vexatious litigation.” 224 F.3d at 279. The Securacomm Court further explained:

      The case involved a deliberate effort by Securacom New Jersey to
      “bury” Libengood financially and “take everything he had” by filing
      multiple suits and complaints against him and his attorneys in a variety
      of legal fora. Slip op. at 6. As the District Court found, based on
      documents and testimony presented at trial, Securacom New Jersey
      “did not confine itself to litigating the case fairly on the merits. Rather,

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      it tried to prevail by crushing Libengood and his corporation.” Slip op.
      at 5. The facts of this case support the District Court's conclusion that
      this is an exceptional case involving culpable conduct on the part of
      Securacom New Jersey.
Id.

      Clearly, Daimler’s concession to culpability, if any, is nowhere near the nature

and degree of the conduct that this court considers “exceptional” such that attorneys’

fees are warranted. Indeed, the three and a half years during which the lower court

found that Daimler failed to concede his culpability for the Intellectual Property

Claims were in fact devoted exclusively to litigating Daimler’s claims against

Defendants.

      Making this even less of an “exceptional case,” the Companies’ counsel

acknowledged at trial that there is no evidence that Daimler attempted to sell

the roboticshub.io domain. JA3336.

      Moreover, Daimler’s concessions did not contradict his denials of certain

allegations and elements of the Intellectual Property Claims 31, nor did the


31
   Pretrial Statement by Eric Daimler (Dkt. No. 153). (“There are several
fundamental flaws in Robotics Hub’s claims under 18 U.S.C. § 1030 and 15 U.S.C.
§ 1125. More specifically: 1. Robotics Hub will be unable to prove that “Robotics
Hub” is a distinctive or famous mark entitled to protection[;]2. Daimler did not
create or register any other domain name, as required under 15 U.S.C. § 1125(D) [;]
3. Since Daimler purchased and maintained the Robotics Hub domain name, and
thus initially thought it was his to use Robotics Hub cannot demonstrate that Daimler
acted in bad faith[;] 4. The term “Robotics Hub” is not protected under the Lanham
Act since use of the term “Robotics” is generic and/or “merely descriptive,” is not
inherently distinctive, and has not acquired any distinctiveness through secondary


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concessions significantly lengthen trial preparation, which included four claims, one

of which, fraudulent misrepresentation, was by far the most complex and by far

sought the highest quantum in damages and which was successfully defended by

Daimler. Nor did the lower court consider the unexceptional nature of the litigation

generally, which was a relatively short eight-month litigation of the Counterclaims

– from the August 18, 2022 unopposed motion of Defendants’ to reopen the case to

the April 27, 2023 conclusion of the jury trial – the merits of Daimler’s defenses,

Daimler’s consent and cooperation with court orders and opposing counsel’s

motions and requests for various extensions, and, critically, the fraudulent

misrepresentation claim, which the jury ultimately decided in Daimler’s favor, all of

which had the positive effect of a significantly shortened trial and saving of the time

and resources of the lower court and the jury.

   C. ATTORNEYS’ FEES SHOULD NOT HAVE BEEN AWARDED
      BECAUSE   COUNSEL’S   TIME  ENTRIES CANNOT BE
      ATTRIBUTED TO PARTICULAR CLAIMS

      The lower court’s reliance on the time entries submitted by the

Companies’ counsel was improper and an abuse of discretion.

      First, the Companies’ counsel’s time entries do not segregate between


meaning[;]5. Robotics Hub cannot demonstrate confusion, likelihood of confusion,
or that Daimler attempted to get a “free ride” on its reputation and goodwill.”)




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the Lanham Act, ACPA, CFAA, and fraudulent inducement claims. Their

arbitrary reduction of 25% for claims that comprised a negligible portion of

the damages sought speaks volumes to demonstrate that attorneys’ fees are not

appropriate here.

      Second, the attorneys’ fees award of $129,183 is facially unreasonable

given that the Companies sought only $51,467 in damages for the Intellectual

Property Claims, which is inclusive of the CFAA claim for which the

Companies are not seeking attorneys’ fees.

      Even if this were an exceptional case (it is not), the lower court should not

have awarded attorneys’ fees because a significant percentage of the Companies’

counsel’s time entries, by their own admission, are not attributable to particular

claims. This alone should be fatal to their claim for attorneys’ fees. Further, many

of the time entries were block-billed, preventing the court from ascertaining the

reasonableness of the entries. “Attorneys seeking compensation must document the

hours for which payment is sought ‘with sufficient specificity’.” Washington v.

Philadelphia Cnty. Ct. of Common Pleas, 89 F.3d 1031, 1037 (3d Cir. 1996)

(citations omitted). Courts strike block-billed entries that do not reflect the time

spent on each relevant task. See Minehan v. McDowell, No. CV 21-5314, 2023 WL

199276, at *7 (E.D. Pa. Jan. 17, 2023)(striking entries that were block billed which

reflected both relevant and irrelevant work and did not indicate the amount of time


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spent on relevant work). Courts have also held that “[i]n the absence of explanatory

testimony, the use of block billing precludes an objectively accurate determination

of the reasonableness of time expended on particular tasks or the necessity of a

particular attorney related activity.” Twp. of Millcreek v. Angela Cres Tr. of June 25,

1998, 142 A.3d 948, 964 (Pa. Commw. Ct. 2016) (citations omitted).

      Had the Companies intended to seek attorneys’ fees of such magnitude,

especially in the face of their request for $51,467 in damages, it is not unreasonable

to surmise that their time entries would have carefully particularized whether work

was done on either the Lanham Act or ACPA claims.

      Here, the time entries do not indicate which entries are relevant to the

prosecution of the Lanham Act, ACPA, CFCA or fraudulent inducement claims.

This is at least suggestive of the fact that, during the course of litigation, the

Companies had no intention to seek attorneys’ fees and the amount sought is facially

unreasonably (discussed below). Therefore, each and every time entry that does not

identify on which claim work is being performed should be stricken.

      In fact, there are only seven time entries that potentially identify or reference

Lanham Act and/or ACPA claims:

            3/8/2023 ALY Research on Lanham Act and CFAA and the
      recoverable damages available under each; locate case law surrounding
      the same; draft findings and send to David Jones and Stuart Gaul, Jr for
      review; email correspondences and discussion surrounding the same
      3.80 $893.00


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            3/8/2023 DAJ Review Alexandra Yuill research regarding
      Lanham Act claims; analyze potential theories and evidence of
      damages; discuss issues for trial preparation with Stuart Gaul, Jr 1.30
      $455.00

            3/29/2023 ALY Email correspondences with David Jones
      regarding Lanham Act research and matters relevant to damages .2
      $47.00

             3/30/2023 ALY Research on Lanham Act, valid trademarks, and
      false designations; summarize findings and send to David Jones and
      Stuart Gaul, Jr for review; email correspondences with Stuart Gaul, Jr
      and David Jones regarding the same; telephone call with David Jones
      regarding the same 4.90 $1,151.50

            4/2/2023 DAJ Conduct legal research regarding Lanham Act
      claims and damages 2.90 $1,015.00

             4/4/2023 DAJ Conduct legal research and continue drafting jury
      instructions; emails and telephone call with Daimler counsel and court
      clerk regarding trial schedule; 7.10 $2,485.00; telephone call with Chris
      Verdini regarding strategy for Lanham Act claims

             4/20/2023 ALY Review/analyze SpinGlass and C Squared decks
      for references to Robotics Hub and comparable overlaps between
      decks; flag portions for David Jones and Stuart Gaul, Jr review 2.30
      $540.50 TOTAL 22.5 $6,587.00 See ECF 177-1, pgs. 4-15 (modified
      to exclude headings and hourly rate).

      However, four of the seven time-entries are block billed, making it

impossible for this Court to determine how much time was spent on the Lanham

Act versus the ACPA claims. Therefore, those time entries should have been

stricken. Only the March 29, 2023, March 30, 2023, and April 2, 2023 entries

specifically identifying Lanham Act claims – comprising eight hours for a total of



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$2,213.50 – should be counted. This is the maximum amount the Companies should

be able to recover.

      Further, the fact that the Companies only attribute $51,467 in damages to their

Lanham Act claims, renders the $129,183 in attorneys’ fees (487.6 hours of work)

for only the Lanham Act and ACPA claims, outrageous. If this Court is to accept

that the Companies’ counsel indeed worked this many hours with a value totaling a

figure so much higher than the potential damages sustained by the Companies, the

Companies’ counsel failed to exercise billing judgment when prosecuting the

Lanham Act and ACPA claims. See Hensley, 461 U.S. at 447. Therefore, the lower

court’s award of attorneys’ fees is unreasonable.

      The Supreme Court in Hensley stated that “counsel for the prevailing party

should make a good-faith effort to exclude from a fee request hours that are

excessive, redundant, or otherwise unnecessary, just as a lawyer in private practice

ethically is obligated to exclude such hours from his fee submission. Still, this Court

should recall that the Companies commenced the trial seeking approximately $8

Million in damages under the fraudulent inducement claim, but had that damages

calculation reduced to approximately $2 Million when the claim as to Robotics Hub

Fund 1 LLC was dismissed mid-trial. “This ‘billing judgment’ does not necessarily

mean that counsel should not be compensated for all hours spent on the case, ‘but

the hours he does seek compensation for must be reasonable. Aamco Transmissions,


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Inc. v. Graham, No. CIV. A. 89-4976, 1990 WL 118050, at *5 (E.D. Pa. Aug. 9,

1990) (quoting City of Riverside v. Santos Rivera, 477 U.S. 561, 569 n. 4 (1986)).

Here, expending 487.6 hours of work on a claim for which only $51,467.00 in

damages was sought is unreasonable on its face.

      Thus, the lower court’s award of attorneys’ fees should be reversed based on

the Companies’ counsel’s failure to maintain billing time records     (a) “in a manner

that will enable [the] court to identify distinct claims;” (b) reflecting the time spent

on each relevant task. Hensley, 461 U.S. at 437; Minehan, 2023 WL 199276, at *7;

and (c) even remotely justifying spending 487.6 hours of work on a $51,467 claim.

                             IX.    CONCLUSION

      Based upon the foregoing, Daimler respectfully requests that this Court

reverse the subject orders subject to this appeal, reinstate Daimler’s dismissed

claims, and order a new trial on Defendants’ counterclaims.

                                         Respectfully submitted,

                                         /s/ Mitchell G. Mandell
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                            COMBINED CERTIFICATIONS

       I, the undersigned, hereby certify the following:

       1.     That I am a member of the Bar of the United States Court of Appeals

for the Third Circuit.

       2.     This brief complies with the order of this court, because it contains

16,249 words excluding the parts of the brief exempted by Fed. R. App. P. 32(f).

       3.     This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionally spaced typeface using Microsoft Word in 14

point Times New Roman.

       4.     That the text of the electronic and paper versions of the foregoing

brief are identical.

       5.     That a virus check was performed on this brief using Avast Antivirus

Software, and that no virus was indicated.

       6.     That, on March 18, 2024, I caused the foregoing to be filed with the

Clerk of Court using the CM/ECF System, which will send notice of such filing to

all registered users.

                                         /s/ Mitchell G. Mandell
                                         Mitchell G. Mandell
                                         MANDELL PC




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                                NO. 23-2611
                                        In The


United States Court Of Appeals
                  For The Third Circuit
                            ERIC DAIMLER,
                                                                   Appellant,

                                          v.

   CHRIS MOEHLE; ROBOTICS HUB FUND 1, LLC;
          COAL HILL VENTURES LLC.
                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA
               CASE NO. 2-18-CV-00165 - MARILYN J. HORAN, DISTRICT JUDGE

                          ________________________

                              JOINT APPENDIX
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                                (Pages: 1 – 98)
                          ________________________



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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC DAIMLER,                               )
                                            )
       Plaintiff/Cross-claim Defendant,     )
                                            )
              v.                            )      No. 2:18-cv-00165-MJH
                                            )
CHRIS MOEHLE, ROBOTICS                      )
HUB FUND 1 LLC, and COAL HILL               )
VENTURES LLC,                               )
                                            )
       Defendants/Cross-claim Plaintiffs.   )

                                    NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Plaintiff, Eric Daimler, hereby appeals to the United

States Court of Appeals for the Third Circuit from: (1) that portion of this Court’s Memorandum

Opinion and Order entered July 30, 2018 (ECF Nos. 22 and 23, respectively) granting Defendants’

Motion to Dismiss as to Counts 2-6, 8, 11-12, and 14-18 of Plaintiff’s First Amended Complaint;

(2) that portion of this Court’s Opinion and Order entered June 10, 2019 (ECF No. 47) granting

Defendants’ Motion to Dismiss as to Count 4 of Plaintiff’s Third Amended Complaint; (3) this

Court’s Opinion and Order entered July 18, 2022 (ECF Nos. 124 and 125, respectively) granting

Defendants’ Motion for Summary Judgment as to all counts of Plaintiff’s Fifth Amended

Complaint; (4) the portions of the jury verdict in favor of Defendants, Robotics Hub Fund 1 LLC

and Coal Hill Ventures LLC, against Plaintiff and the portion of the Judgment in favor of

Defendants, Robotics Hub Fund 1 LLC and Coal Hill Ventures LLC, against Plaintiff in the

amount of $225,000, each entered April 27, 2023 (ECF Nos. 175 and 176, respectively); (6) this

Court’s Opinion and Order and Judgment (a) denying Plaintiff’s Motion for a New Trial on

Damages or Remittitur and (b) granting Robotics Hub Fund 1 LLC and Coal Hill Ventures LLC



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                                                JA1
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attorneys’ fees against Plaintiff in the amount of $129,183, each entered on August 2, 2023 (ECF

Nos. 195 and 196, respectively).

       The United States Court of Appeals for the Third Circuit has appellate jurisdiction pursuant

to 28 U.S.C. § 1291.

Dated: New York, New York
      August 31, 2023
                                                     Respectfully submitted,

                                                     JACOBS P.C.

                                                     /s/ Mitchell G. Mandell
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                                                     Counsel For Eric Daimler




                                                    2

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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC DAIMLER,                                )
                                             )
       Plaintiff/Counter-Defendant,          )
                     v.                      )       Civil No. 18-165
                                             )
                                             )
CHRIS MOEHLE, ROBOTICS HUB                   )
FUND 1, LLC, and COAL HILL                   )
VENTURES LLC,                                )
                                             )
       Defendants/Counter-Plaintiffs.            )

                                            ORDER

      Following Consideration of Mr. Daimler’s Motion for New Trial on Damages or

Remittitur (ECF No. 181), the respective briefs (ECF Nos. 182, 192, and 193), and for the

reasons stated in this Court’s Opinion (ECF No. 195), Mr. Daimler’s Motion is denied. Further,

following consideration of the Companies’ Motion for Attorneys’ Fees (ECF No. 177), the

respective briefs (ECF No. 178, 191, and 194), and for the reasons stated in this Court’s Opinion

(ECF No.195), the Companies’ Motion is Granted. The Companies are hereby awarded

$129,183.00 in attorneys’ fees. The Clerk will mark this case closed.

      Dated: August 2, 2023



                                                        ______________ ____ ____ _ __
                                                        Marilyn J. Horan
                                                        United States District Court Judge




                                                                                                 .

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                                                     JA3
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC DAIMLER,                                  )
                                               )
          Plaintiff/Counter-Defendant,         )
                        v.                     )       Civil No. 18-165
                                               )
                                               )
CHRIS MOEHLE, ROBOTICS HUB                     )
FUND 1, LLC, and COAL HILL                     )
VENTURES LLC,                                  )
                                               )
          Defendants/Counter-Plaintiffs.           )

                                              OPINION

          Presently before the Court are two post-trial motions following a jury verdict rendered in

favor of Counter-Plaintiffs, Robotics Hub Fund 1, LLC and Coal Hill Ventures LLC

(Companies), and against Counter-Defendant, Eric Daimler, in the amount of $225,000 for

claims under the Lanham Act for False Designation of Origin and False Advertising, the

Computer Fraud and Abuse Act (CFAA), and the Anti-Cybersquatting Consumer Protection Act

(Intellectual Property claims) related to Mr. Daimler’s improper use of the Companies’ domain

name and email. 1

          Mr. Daimler has moved for a new trial on damages or, in the alternative, for remittitur

pursuant to Fed. R. Civ. P. 59. (ECF No. 181). The Companies have moved for an award of

attorneys’ fees pursuant to Fed. R. Civ. P. 54(d)(2) and the Lanham Act (15 U.S.C. § 1117(a)).

(ECF No. 177). Those matters are now ripe for consideration.

          Upon Consideration of Mr. Daimler’s Motion for New Trial on Damages or Remittitur

(ECF No. 181), the respective briefs (ECF Nos. 182, 192, and 193), and for the following

reasons, Mr. Daimler’s Motion will be denied. Further, following consideration of the


1
    The jury did not find in favor of the Companies for their claim of Fraudulent Misrepresentation.
                                                       JA4
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Companies’ Motion for Attorneys’ Fees (ECF No. 177), the respective briefs (ECF No. 178, 191,

and 194), and for the following reasons, the Companies’ Motion will be granted.

        I.       Motion for New Trial on Damages or Remittitur

                 A. Relevant Standard

        In reviewing a motion under Fed. R. Civ. P. 59, a district court “must draw all reasonable

inferences in favor of the verdict winner.” Houser v. Folino, No. 2:10-cv-00416, 2016 U.S. Dist.

LEXIS 25165, at *5 (W.D. Pa. Mar. 1, 2016). The court should “uphold the jury’s award if there

exists a reasonable basis to do so.” Id. (quoting Motter v. Everest & Jennings, Inc., 883 F.2d

1223, 1230 (3d Cir.1989)).

        A new trial, however, cannot be granted merely because the court would have weighed

the evidence differently or reached a different verdict. Markovich v. Bell Helicopter Textron,

Inc., 805 F.Supp. 1231, 1235 (E.D.Pa.1992), aff'd, 977 F.2d 568 (3d Cir.1992). See Also: Olefins

Trading, Inc. v. Han Yang Chemical Corp., 9 F.3d 282, 290 (3d Cir.1993). A court should grant

a new trial “only when the record shows that the jury's verdict resulted in a miscarriage of justice

or where the verdict, on the record, cries out to be overturned or shocks our conscience.”

Williamson v. Consol. Rail Corp., 926 F.2d 1344, 1353 (3d Cir.1991)(citing EEOC v. Del. Dep't

Health, 865 F.2d 1408, 1413 (3d Cir.1989)). Thus, absent a showing of substantial injustice or

prejudicial error, a new trial is not warranted, and it is the court's duty to respect a plausible jury

verdict. Montgomery Cnty. v. MicroVote Corp., 152 F. Supp. 2d 784, 795 (E.D. Pa. 2001) (citing

Goodwin v. Seven–Up Bottling Co. of Philadelphia, No. 96–2301, 1998 WL 438488 at *3

(E.D.Pa. July 31, 1998)).

        The Third Circuit has also explained that remittitur “is well established as a device

employed when the trial judge finds that a decision of the jury is clearly unsupported and/or



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excessive.” Spence v. Bd. of Educ. of Christina Sch. Dist., 806 F.2d 1198, 1201 (3d Cir. 1986);

Cortez v. Trans Union, LLC, 617 F.3d 688, 715 (3d Cir. 2010) (emphasis added).

                B. Discussion

       In his motion, Mr. Daimler argues that a new trial on damages is necessary because the

jury’s verdict, $225,000 on the Intellectual Property Claims, was against the weight of the

evidence. Alternatively, Mr. Daimler contends that remittitur is warranted because there is no

rational relationship between the injury sustained and the amount awarded. Specifically, Mr.

Daimler maintains that the Companies only sought out-of-pocket costs on their Intellectual

Property Claims, and the Companies’ only introduced testimony and evidence totaling $51,467.

       In response, the Companies argue that this Court should uphold the jury’s damages

determination as reflecting both “damage” and “loss” under the CFAA. In the alternative, the

Companies assert, that if the jury award were reduced to $51,467, this Court should treble the

damages because of Daimler’s willful violations of the Lanham Act. 2

       With regard to damages under the Lanham Act, the Jury received the following

instructions:

       Damages consist of the amount of money required to compensate the Companies
       for the injury caused by Eric Daimler’s infringement and/or false advertising.
       The Companies must prove their damages by a preponderance of the evidence.
       You may consider the following types of damages:

                •      Loss of goodwill. Goodwill is consumer recognition or drawing
                power of a trademark. In determining loss of goodwill, you should
                compare the value of Companies’ goodwill before the infringement and/or
                false advertising with the value of the goodwill after the infringement
                and/or false advertising.

                 •   Cost of corrective advertising. This is the amount spent by
                Companies to counteract the effects of Eric Daimler’s infringement and/or

2
 The Companies have not separately moved for treble damages. Thus, the Court will not
address treble damages in its analysis of the jury’s verdict.

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                 false advertising and dispel any public confusion that lingers after the
                 infringement and/or false advertising.

        You may not determine damages by speculation or conjecture, but rather evidence
        sufficient for you to draw reasonable inferences and make a fair and reasonable
        assessment of the amount of damages. Damages may be awarded even though
        they cannot be calculated with mathematical certainty.

(ECF No. 180 at pp. 111-112) (emphasis added).

        As regards damages and loss under the CFAA, the Court instructed as follows:

        For purposes of this cyberpiracy claim, the term “damage” is defined by the statute
        to mean “any impairment to the integrity or availability of data, a program, a
        system, or information[.]”

        Also for these purposes, “loss” is defined to mean “any reasonable cost to any
        victim, including the cost of responding to an offense, conducting a damage
        assessment, and restoring the data, program, system, or information to its condition
        prior to the offense, and any revenue lost, cost incurred, or other consequential
        damages incurred because of interruption of service[.]”

Id. at p. 113 (emphasis added). With regard to all Intellectual Property claims, the Court

instructed:

        If you find that Eric Daimler violated the Lanham Act and thereby caused
        damages and/or Eric Daimler accessed the computer drive in bad faith and
        thereby caused damages or loss and/or Eric Daimler's violation of the Anti-
        Cybersquatting Consumer Protection Act caused damages, you should award an
        amount of money damages that will fairly and adequately compensate the
        companies for the harm caused by Eric Daimler.

Id. at p. 122. The Court also instructed the jury, generally, as follows:

        You should use your common sense in weighing the evidence. Consider it in light
        of your everyday experience with people and events and give it whatever weight
        you believe it deserves. If your experience tells you that certain evidence
        reasonably leads to a conclusion, you are free to reach that conclusion.

Id. at p. 100.

        Here, the Companies offered evidence, and their counsel highlighted, that out-of-pocket

costs on their Intellectual Property Claims included payments to Reed Smith, LLP ($6,059), bit-



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x-bit ($3,408), and Reputation Defender through the end of 2022 ($42,000). These costs total

$51,467. While Mr. Daimler has only highlighted these numerical damages, the jury instructions

provided ample opportunity for an award greater than this amount. The jury was instructed

regarding “goodwill” and “consequential” damages under the Lanham Act and CFAA. Both

“goodwill” and “consequential” damages fall outside of the $51,467. In terms of additional

concrete numbers that the jury may have considered, Mr. Moehle testified that, as a result of Mr.

Daimler’s conduct, he continued and will continue to pay Reputation Defender, $6,000 per year,

for Search Engine Optimization (SEO). (ECF No. 192-1 at pp. 154-155).

       Mr. Moehle further testified that after Mr. Daimler departed in early 2017, his post-

employment conduct in April 2017 resulted in transferred data from the Companies’ Google

Drive, confusion, missed emails, securing an alternative domain name and email, emailing

existing contacts who had been informed his email had been turned off, and addressing

miscellaneous issues with website redirection. Id. at pp. 135, 150-151. In addition, Mr. Moehle

testified that, the materials missing from the Robotics Hub account, included information that

would aid in attracting investors and maintaining a competitive advantage. Id. at p. 136. Mr.

Moehle also testified that, because of the hardships in early 2017, the Companies fell short of

their fundraising goals by $8 million. (Sealed portions of Mr. Moehle’s Testimony at pp. 18,

20).

       In assessing the evidence against Mr. Daimler, as regards these claims, the jury

specifically found that Mr. Daimler acted willfully and in bad faith. (ECF No. 175). Given the

jury instructions on goodwill and consequential damages as well as using their “common sense,”

the jury could reasonably find and assess the awarded damages based upon the evidence and

testimony. While higher than the aggregate damages of $51,467, a verdict of $225,000 was



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neither against the weight of the evidence nor excessive to shock the Court’s conscience. Given

the out-of-pocket expenses, damage to the Companies’ goodwill, and the shortfalls in fundraising

efforts, the jury produced a plausible award of $225,000. See Montgomery Cnty. v. MicroVote

Corp., supra. Therefore, a new trial on damages or remittitur is not warranted.

          Accordingly, Mr. Daimler’s Motion for New Trial on Damages or Remittitur will be

denied.

          II.    Motion for Attorneys’ Fees

          In their motion for attorneys’ fees, the Companies contend that, under the Lanham Act,

Mr. Daimler’s violations warrant the award of reasonable attorneys’ fees. The Companies seek

reasonable attorneys’ fees and costs in the amount of $129,183.00. Mr. Daimler argues that

attorneys’ fees are not warranted because this not an “exceptional case.” He also contends that

attorneys’ fees cannot be awarded because counsels’ time entries cannot be attributed to the

Intellectual Property Claims.

          A. Exceptionality

          Under the Lanham Act, a “court in exceptional cases may award reasonable attorney fees

to the prevailing party.” 15 U.S.C. § 1117(a). Cases are exceptional for purposes of the Lanham

Act when “(a) there is an unusual discrepancy in the merits of the positions taken by the parties

or (b) the losing party has litigated the case in an ‘unreasonable manner.’” Fair Wind Sailing,

Inc. v. Dempster, 764 F.3d 303, 313 (3d Cir. 2014) (citing Octane Fitness, LLC v. ICON Health

& Fitness, Inc., 572 U.S. 545, 554 (2014)). The Third Circuit has further described a “two-step

process” for determining that a case is “exceptional” under Lanham Act:

          First, the District Court must decide whether the defendant engaged in any
          culpable conduct. We have listed bad faith, fraud, malice, and knowing
          infringement as non-exclusive examples of the sort of culpable conduct that could
          support a fee award. Moreover, the culpable conduct may relate not only to the

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       circumstances of the Lanham Act violation, but also to the way the losing party
       handled himself during the litigation. Second, if the District Court finds culpable
       conduct, it must decide whether the circumstances are “exceptional” enough to
       warrant a fee award.

Id. at 314 (citing Green v. Fornario, 486 F.3d 100, 103 (3d Cir. 2007). In Octane Fitness, the

Supreme Court embraced an expansive definition of “exceptional” and explained that that “an

‘exceptional’ case is simply one that stands out from others with respect to the substantive

strength of a party's litigating position (considering both the governing law and the facts of the

case) or the unreasonable manner in which the case was litigated.” Id. at 1756. Thus, it is within

a court's discretion to find a case “exceptional” based upon “the governing law and the facts of

the case,” irrespective of whether the losing party is culpable. For example, “a case presenting ...

exceptionally meritless claims may sufficiently set itself apart from mine-run cases to warrant a

fee award.” Id. at 1757. This is so even if the losing party's conduct did not suggest “bad faith,

fraud, malice, [or] knowing infringement.” Green, 486 F.3d at 103. Thus, it is within a court's

discretion to find a case “exceptional” based upon “the governing law and the facts of the case,”

irrespective of whether the losing party is culpable.

       Here, the jury found that Mr. Daimler’s conduct was willful and in bad faith. The jury’s

finding was supported by evidence that, after his departure from the Companies, Mr. Daimler

took the Companies’ marketing materials, redirected the roboticshub.io website to c2.capital,

which was a business Mr. Daimler had started (ECF No. 192-1 at pp. 151-53). Mr. Moehle also

testified that Mr. Daimler reached out to at least one CEO of a company in which Robotics Hub

was investing and attempted to solicit business for his own future business pursuits. Id. at 158-

59. After this Court’s careful review of the testimony and evidence, it concurs with the jury’s

finding that Mr. Daimler’s conduct was willful and in bad faith, and that the same supports




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“exceptionality” under Fair Winds and Octane Fitness and an attorneys’ fees award under the

Lanham Act.

       Further in examining Mr. Daimler’s litigation position, Mr. Daimler denied any

wrongdoing relative to the Intellectual Property Claims in his Answer to the Companies’

Counterclaim (ECF No. 52). Finally, on the eve of trial and after three and a half years, Mr.

Daimler admitted culpability for the Intellectual Property Claims. Such circumstances forced the

Companies to initiate, litigate, and try their Intellectual Property Claims and bear the expenses of

the same. Such circumstances create the exceptionality that the Lanham Act intended in shifting

fees to prevailing litigants especially where in Mr. Daimler’s case, his conduct was brazenly in

violation of the Companies’ intellectual property rights.

       Accordingly, the exceptionality requirement of the Lanham Act is met in this case that

would warrant the award of reasonable attorneys’ fees.

       B. Reasonableness

      Having concluded that attorneys’ fees are warranted, “‘[t]he most useful starting point for

determining the amount of a reasonable fee’ is the lodestar calculation,” which multiplies a

reasonable number of hours expended by a reasonable hourly rate. United Auto. Workers Loc.

259 Soc. Sec. Dep't v. Metro Auto Ctr., 501 F.3d 283, 290 (3d Cir. 2007) (quoting Hensley v.

Eckerhart, 461 U.S. 424, 433 (1983)). “‘[T]he relevant rate is the prevailing rate in the forum of

the litigation’ unless ‘the special expertise of counsel from a distant district is shown’ or ‘local

counsel are unwilling to handle the case.’” A.B. by & through F.B. v. Pleasant Valley Sch. Dist.,

839 Fed. Appx. 665, 668 (3d Cir. 2020) (quoting Interfaith Cmty. Org. v. Honeywell Int'l, Inc.,

426 F.3d 694, 704-05 (3d Cir. 2005)).




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      Here, Mr. Daimler does not challenge the hourly rates of the Companies’ attorneys, but

rather focuses on whether the claimed hours were attributable to the Lanham Act claims. The

Companies have only claimed attorneys’ fees for the work performed between March 1, 2023

through April 30, 2023. This work included preparing the Companies’ pretrial statement;

preparing and working with opposing counsel on proposed jury instructions, a proposed jury slip,

and joint stipulations; participating in pretrial conferences; participating in jury selection; and

preparing for and participating in trial. (ECF No. 177-2 ¶ 15). The Companies submitted that

their attorneys’ billing records for said work totaled $178,752.50 for 503.9 hours of work

performed by the firm’s attorneys and paralegals at their standard hourly rates. The Companies

have adjusted this total downward to $129,183.00 to exclude fees for work unrelated to the

Intellectual Property Claims. Following this Court’s careful review of the briefing, affidavits,

and billing records, the Companies’ attorneys have presented a petition for reasonable fees

sufficiently specific for the Intellectual Property Claims. Therefore, the Court finds that the

hours worked and billing rates were reasonable in these circumstances.

      Accordingly, the Companies’ Motion for Attorneys’ Fees will be granted. The Companies

will be awarded $129,183.00 in attorneys’ fees.

       III.    Conclusion

      Following Consideration of Mr. Daimler’s Motion for New Trial on Damages or

Remittitur (ECF No. 181), the respective briefs (ECF Nos. 182, 192, and 193), and for the

foregoing reasons, Mr. Daimler’s Motion will be denied. Further, following consideration of the

Companies’ Motion for Attorneys’ Fees (ECF No. 177), the respective briefs (ECF No. 178, 191,

and 194), and for the foregoing reasons, the Companies’ Motion will be granted.

      A separate order will follow.



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Dated: August 2, 2023



                                       ___ _______ ___ ___         __     _
                                       Marilyn J. Horan
                                       United States District Court Judge




                                  10

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           /Cross-claim Defendant

            /Cross-claim Plaintiff




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC DAIMLER,                               )
                                            )
       Plaintiff,                           )
                      v.                    )    Civil No. 18-165
                                            )
                                            )
CHRIS MOEHLE, ROBOTICS HUB                  )
FUND 1, LLC, and COAL HILL                  )
VENTURES LLC,                               )
                                            )
       Defendants.                          )

                                           ORDER

       AND NOW, this 18th day of July 2020, for the reasons set forth in the accompanying

Opinion, it is hereby ORDERED that the Motion for Summary Judgment filed by Chris Moehle,

Robotics Hub Fund 1, LLC, and Coal Hill Ventures LLC (ECF No. 107) is GRANTED.

       Judgment as a matter of law is entered in favor of Chris Moehle, Robotics Hub Fund 1,

LLC, and Coal Hill Ventures LLC and against Eric Daimler on Eric Daimler’s fraudulent

inducement claims asserted in Counts One, Two, and Four.

       Judgment as a matter of law is entered in favor of Coal Hill Ventures LLC and against

Eric Daimler on Eric Daimler’s breach of contract claim asserted in Count Three.

              The Clerk is to mark this case CLOSED.



                                                     _____________
                                                                _ _ ___
                                                                  _____
                                                                     _______________
                                                    ______________________________
                                                            J Horan
                                                    Marilyn J.
                                                    United States District Court Judge




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                                                                                               .


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                        THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC DAIMLER,                                 )
                                              )
       Plaintiff,                             )
                       v.                     )    Civil No. 18-165
                                              )
                                              )
CHRIS MOEHLE, ROBOTICS HUB                    )
FUND 1, LLC, and COAL HILL                    )
VENTURES LLC,                                 )
                                              )
       Defendants.                            )

                                            OPINION

     Plaintiff Eric Daimler brings suit against Defendants Chris Moehle, Robotics Hub Fund 1,

LLC (the Fund), and Coal Hill Ventures LLC (Coal Hill) asserting claims of fraudulent

inducement and breach of contract. Daimler alleges that, in order to induce Daimler to enter into

a business relationship with Defendants, Moehle falsely mispresented that General Electric

Ventures had committed to invest $20 million into the Fund. Daimler also alleges that Coal Hill

breached an oral agreement to compensate him for providing financial contributions to Moehle’s

businesses. Pending before the Court is Defendants’ Motion for Summary Judgment. ECF No.

107. As more fully explained below, the Motion will be granted.

I.     Factual Background

       All material facts set forth below are undisputed unless otherwise indicated. With respect

to certain disputed facts, the Court cites to the underlying documentary evidence, such as the actual

testimony about a fact, rather than the parties’ assertions. Additional facts may be discussed in

context elsewhere in this Opinion.




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        A.       Moehle’s Business Ventures

        Moehle formed Coal Hill in April 2015 to invest in early-stage robotics companies.

Parties’ Comb. Stmt. Mat. Facts, ¶ 1 (ECF No. 123). To subsidize Coal Hill’s startup costs,

Moehle obtained a one-time $75,000 sponsorship gift from General Electric’s venture capital and

investment arm, General Electric Ventures (GEV). Id. at ¶ 2. In August 2015, Moehle and Coal

Hill publicly announced the formation of Robotics Hub, a business accelerator company focused

on identifying, building, and guiding promising startup companies in the field of advanced

robotics. Id. at ¶ 3. GEV and Moehle’s former employer, Carnegie Mellon University, issued a

joint press release announcing the formation of Robotics Hub. Id. at ¶ 4. In connection with the

formation of Robotics Hub, Moehle also formed the Robotics Hub Fund. Id. at ¶ 5. The Fund

was created to be a vehicle through which Robotics Hub could invest in early-stage robotics

companies. Id. at ¶ 6.

        B.       Daimler and Moehle’s Relationship

        Daimler and Moehle were introduced through a mutual friend, Dave Mawhinney, who

was a member of the Carnegie Mellon Computer Science Advisory Board . Id. at ¶¶ 52, 148. In

his Complaint 1, Daimler alleges that “Moehle represented to Daimler throughout 2015 and 2016

that GE had committed to invest $20,000,000.00 in the Fund, which was a significant portion of

the $50,000,000.00 the Fund sought to raise.” 2 Id. at ¶ 53, ECF No. 86 at ¶ 16. Daimler testified

that Moehle said that “GE would be investing at least $20 million as soon as they cleared a

regulatory issue of spinning out a financial arm.” Parties’ Comb. Stmt. Mat. Facts, ¶ 54; Daimler


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  The operative complaint in this matter is Plaintiff’s Fifth Amended Complaint. ECF No. 86. For ease of
reference, the Fifth Amended Complaint is referred to simply as the “Complaint.”
2
  The allegation: “Moehle represented that General Electric Ventures had committed to invest $20 million in the
Fund,” will be referred to by the shorthand term, “the GEV Representation”.
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Dep. 75:25–76:25. Daimler alleges that Moehle informed him not to discuss the GEV

Representation with anyone. Parties’ Comb. Stmt. Mat. Facts, ¶ 55; ECF No. 86 at ¶ 27.

Daimler testified that Moehle told him in August 2015 that the GEV “investment would be

concluding in a matter of months, if not weeks, and that it was nearly imminent.” Parties’ Comb.

Stmt. Mat. Facts, ¶ 56; Daimler Dep. 82:10–82:16.

                 1.       Introductory Telephone Calls

        Daimler and Moehle had an introductory phone call on August 18, 2015, followed by a

second telephone call on August 19, 2015. During one of these telephone calls, Daimler alleges

that Moehle first made the GEV Representation to Daimler. Parties’ Comb. Stmt. Mat. Facts, ¶

7, ECF No. 86 at ¶¶ 20, 21. With respect to the August 18, 2015 telephone call, Daimler testified

as follows:

                 Q. Who was on the call?
                 A. I don’t recall.
                 ...
                 Q. How long was the introductory phone call with Mr. Moehle?
                 A. I don’t recall.
                 Q. What did you discuss?
                 A. I don’t recall.
                 Q. Did you ask any questions?
                 A. I don’t recall.
                 Q. Did you discuss anything about Skilled Science[3]?
                 A. I don’t recall.
                 Q. . . . - you don’t recall any topics that were discussed in that first
                 meeting?
                 A. The first meeting in 2015, six years ago? No.
                 Q. Yes. You don’t recall any of the topics that you discussed?
                 A. Correct?

Daimler Dep.71:10-72:19. Given Daimler’s lack of recollection as to what was discussed on the

telephone call, defense counsel asked the following question regarding the central allegation of


3
  In 2011, Daimler had formed Skilled Science, an early-stage investment company, to commercialize scientific
innovations coming out of academia. Parties’ Comb. Stmt. Mat. Facts, ¶¶ 7-8.
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the Complaint:

       Q. In paragraph 20 of the Complaint, you write that – or you allege that Mr.
       Moehle represented to you that GE had committed to invest $20 million.
       If you can’t recall any of the topics that were covered, what’s the basis for the
       allegation?
       A. Because that would have been burned in my memory. That's the germane
       issue. There would be nothing out of the ordinary about me talking to [Moehle] or
       even being introduced to [Moehle]. I would have no reason to have taken
       scrupulous notes, let alone notes that I can immediately recall at first being asked
       about the nature, or let alone the details, of a conversation from six years ago. But
       the germane issue, absolutely, was what would have changed the course of my
       decisions, or even the course of my professional life. That's a germane issue, that I
       would have recalled.

Daimler Dep. 72:24-25; 73:1-13. Daimler also could not recall whether he asked Moehle any

questions about the GEV Representation or whether he asked for any documents about the GEV

Representation. Parties’ Comb. Stmt. Mat. Facts, ¶ 59.

       With respect to the August 19, 2015 telephone call, Daimler again was unable to recall

any details:

       Q. . . . Do you recall anything about that conversation?
       A. No.
       Q. Do you recall who was on the call?
       A. No.
       Q. How long the call was?
       A. No.
       Q. Any topics that you discussed?
       A. No.
       Q. . . . . Do you recall whether Mr. Moehle said anything about GE in that second
       conversation?
       A. I do not recall on which conversation [Moehle] represented GE’s imminent
       investment into the companies.

Daimler Dep. 76:3-17. Subsequently, Daimler and Moehle had a series of telephone calls on

September 15, 2015, September 24, 2015, November 3, 2015, and December 8, 2015. 62, ECF

No. 86 at ¶ 21. With respect to all four telephone conversations, Daimler testified as follows:

       Q. . . . Do you recall anything about any of those phone conversations with Mr.

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        Moehle?
        A. I don't recall any specifics about any of those conversations.
        Q. Do you recall generally how long any of those conversations were?
        A. I do not.
        Q. Do you recall whether there was anyone else on the phone with the two of you,
        or other than the two of you on those conversations?
        A. No.

Daimler Dep. 86:7-17.

                2.      Potential Investors

        Daimler testified that, between October 2015 and March 2016, Moehle and Daimler

made presentations about Robotics Hub and Coal Hill (collectively, the Companies) and the

Fund to potential third-party investors. Parties’ Comb. Stmt. Mat. Facts, ¶ 65. Daimler testified

that Moehle made the alleged GEV Representation to “every” investor or potential investor in

the Fund. Id. at ¶ 66; Daimler Dep. 89:1–4. Daimler identified multiple meetings with third

parties where Daimler claims Moehle made the alleged GEV Representation. Parties’ Comb.

Stmt. Mat. Facts, ¶ 67, ECF No. 86 at ¶¶ 23–25, 32. In his initial disclosures, Daimler identified

approximately thirty potential investors to whom Moehle made the alleged GEV Representation.

Parties’ Comb. Stmt. Mat. Facts, ¶ 68. With respect to such potential investors, Daimler

testified as follows:

                Q. Your allegations are that [the GEV Representation] was made to every
                investor in the Fund, or potential investor, right?
                A. Correct.
                ...
                A. Everyone that I recall.
                Q. And not a single potential investor, other than you, has claimed that
                that representation was made or was false, right, to your knowledge?
                ...
                A. Yeah, that's not what -- I don't know.

Daimler Dep. 89:1-12. Daimler was asked, in Defendants’ First Set of Interrogatories, to

identify all communications he had with anyone identified in his initial disclosures that refer to

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or concern any allegations he has made in this litigation. Daimler Obj.s and Resp. to Defs.’ First

Set of Interrog., Interrogatory No. 3, ECF No. 110-2, at 4. Daimler’s relevant Response is:

“Plaintiff can represent that the only person identified in his Initial Disclosures with whom he

communicated about the allegations contained in the Complaint is Jamie Fee.” Id.; Resp. to

Interrogatory No. 4, ECF No. 110-2, at 5. Jamie Fee is Daimler’s non-retained expert on

damages. Therefore, Daimler admits that he did not have any discussions with any of the

potential investors identified in his initial disclosures relating to any allegations asserted by

Daimler in this litigation. Parties’ Comb. Stmt. Mat. Facts, ¶ 70.

                       a.      UPMC

       Daimler alleges that Moehle “told representatives of the University of Pittsburgh Medical

Center . . . that GE was a sponsor of the Fund and had already committed to invest $20,000,000”

during a meeting on October 16, 2015. Id. at ¶ 71, ECF No. 86 at ¶ 23. The day after the

meeting, Moehle sent an email to UPMC representatives, thanking them “for listening to the

Coal Hill pitch yesterday.” Email from C. Moehle, Oct. 17, 2015, ECF No. 110-2, at 209.

Moehle included Daimler and Dave Mawhinney on the email. Id. On October 23, 2015, on the

same email chain, Daimler “replied all” and, in part, noted his regret “that my travel made me

unavailable to attend the last [UPMC] meeting.” Email from E. Daimler, Oct. 23, 2015, ECF

No. 110-2, at 208. The GEV Representation is not mentioned in the email chain.



                       b.      RIDC

       Daimler alleges that Moehle repeated the GEV Representation, in Daimler’s presence,

during a November 3, 2015 meeting with representatives of the Regional Industrial Development

Corporation of Southwestern Pennsylvania (RIDC). Parties’ Comb. Stmt. Mat. Facts, ¶ 78; ECF

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No. 86 at ¶ 25. On November 30, 2015, Daimler’s and Moehle’s mutual friend, Mr. Mawhinney,

emailed representatives of RIDC. Parties’ Comb. Stmt. Mat. Facts, ¶¶ 80-81; Email from D.

Mawhinney to D. Smith, C. Moehle, and E. Daimler, ECF No. 110-2, at 211. Mr. Mawhinney

wrote, “I would like to introduce you to Chris Moehle and Eric Daimler from the Robotics Hub

and Coal Hill Ventures.” Id. In response to Mr. Mawhinney’s email, Moehle “replied all” and

stated, “Thanks for the introduction, Dave. Don – great to meet you.” Id. There is no mention

of a prior November 3, 2015 meeting, nor is the GEV Representation mentioned in the email

chain.

                        c.     GEV

         A document entitled “GE Ventures Conversation” was created in connection with

Daimler and Moehle preparing for a November 2015 meeting between Daimler and Moehle and

Alex Tepper, a GEV representative. Id. at ¶¶ 83-84. As reflected in the “GE Ventures

Conversation” document, Daimler and Moehle planned a “pitch” at which they would ask GEV

to make an “initial commitment” investment of $500,000, “escalating” up to a total investment of

$25 million. Id. at ¶ 85. Daimler testified that he could not recall whether he and Moehle

actually did ask GEV to make an “initial commitment” of $500,000 scaling up to $25 million.

Id. at ¶ 86.



         In the fall of 2016, GEV asked Moehle to provide GEV with information about the

Companies and the Fund. Id. at ¶ 87. In response, Moehle provided GEV with the Fund’s

private placement memorandum, limited partner agreement, investment summary document, and

marketing material for a nuclear robotics event. Id. at ¶ 88.

                  3.    The GEV Representation

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       Daimler did not allege in his Complaint, or state during his deposition, that Moehle had

made the GEV Representation to Jamie Fee. Nonetheless, Fee testified that Moehle represented

to Fee that GEV was to invest in the Companies in the future, in the neighbored of $5 million

“dependent upon some sort of divestiture.” Fee Dep. 19:13-25-20:1-10. With regard to the GEV

Representation, the remainder of Fee’s testimony is based on what Daimler told Fee. Fee

testified that Daimler told Fee that GEV may make an investment in the neighborhood of $5

million. Parties’ Comb. Stmt. Mat. Facts ¶ 91. Fee did not testify that the potential investment

was a “commitment” and he did not testify that the investment amount was $20 million.

       On March 14, 2016, Moehle sent an email to Daimler and Fee with the subject heading,

“Lead Investor Tracking Presentation.” Parties’ Comb. Stmt. Mat. Facts, ¶ 95. Moehle attached

a PowerPoint presentation to the email entitled, “Fund I Offers Tracking.” Id. The attached

PowerPoint presentation does not identify GEV as a “potential lead investor” or as a “near-term

potential deal.” Id. at ¶ 96. Daimler did not ask Moehle why GEV was not included as a

potential lead investor in the “Lead Investor Tracking Presentation.” Daimler Dep. 232:17–20.

       With respect to GEV’s investment commitment, Daimler testified that he could not recall

any documents “that support that GE had committed to a $20 million investment” in the Fund.

Parties’ Comb. Stmt. Mat. Facts ¶ 64. Daimler also testified that he knew that “[t]he trigger of

the $20 million would not occur until [GEV’s] spinout happened,” and “[t]hat was definitely a

risk that [Daimler] was taking.” Id. at ¶ 90; Daimler Dep. 83:13–16; see also 82:6-9. Daimler

testified: “In theory,” GEV “could have just walked away,” because the investment commitment

“was not a legal obligation, that’s absolutely true.” Daimler Dep. 203:12–15.

       C.      Skilled Science – Daimler’s Business Venture

       One of Daimler’s business ventures was Skilled Science. Daimler personally capitalized

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Skilled Science with less than $500,000; thereafter, no additional capital was raised. Parties’

Comb. Stmt. Mat. Facts, ¶¶ 11-12. Although Daimler denies that his initial investment was less

than $500,000 and he denies that no additional capital was raised, he is unable to point to any

documentary evidence to show that said averments are untrue. 4 Skilled Science prepared a

“Skilled Science Sponsorship Agreement.” Id. at ¶ 30. Daimler testified that the Skilled Science

Sponsorship Agreement was to be used for “finalizing an investment from an investor, from a

limited partner.” Id. at ¶ 30; Daimler Dep. 39:25-40:22. However, Skilled Science never

executed a sponsorship agreement with any investor. Id. at ¶ 31. Similarly, there is no evidence

that Skilled Science ever created a private placement memorandum or partnership agreement.

Id. at ¶ 32.

         Daimler also produced an untitled document, dated in or around August 2015, centered

around the primary term, “SkilledScience.” Id. at ¶ 40. In relevant part, the document identifies




4
  To support his denial that Daimler’s “initial investment was less than $500,000” and that “no additional capital
was raised,” Daimler cites to his Affidavit at paragraphs 7, 8, and 9, as well his Exhibits E, F, and G. However,
none of that information contradicts Daimler’s deposition testimony that he provided initial capitalization for Skilled
Science of “[u]nder a half million.” See Deposition E. Daimler, Feb. 24. 2021, 42:6-43:1-8 (ECF No. 110-2).
Daimler’s Exhibits, which are authored by Daimler, demonstrate only that Daimler was preparing to seek additional
investment in Skilled Science; they do not show that Daimler in fact raised additional capital for Skilled Science.

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the “current reality” for Skilled Science as: “hav[ing] no contract signed”; “started conversations

about this in fall ’13”; and “have received, at various times, commitments of as much as 3.5M.”

Id. at ¶ 41. Daimler admitted that the “commitments of as much as 3.5M” never came to

fruition. Id.

                 1.    Potential Investors into Skilled Science

        Before joining Coal Hill and Robotics Hub, Daimler asserts that Skilled Science “was

planning to close on investments from two investors, totaling $10,000,000.00.” Id. at ¶ 14; ECF

No. 86 at ¶ 17. Daimler testified that the two investors were Two Sigma and the Sackler Family.

Parties’ Comb. Stmt. Mat. Facts, ¶ 15. In his Summary Judgment pleadings, Daimler identifies a

third investor, Keith Furuya. Id. at ¶ 154; Affidavit of E. Daimler, Jan. 7, 2022, at ¶ 9, ECF No.

117-2, at 2-5.

                       a.     Two Sigma

        Skilled Science provided Two Sigma with a draft Memorandum of Understanding, dated

September 11, 2014, reflecting proposed terms of a potential investment. Id. at ¶ 16. The

Memorandum of Understanding provided that Skilled Science would be “authorized by Two

Sigma to represent that it has a commitment of $5MM [$5 million] from investment partners,

including Two Sigma to be used under Skilled Science’s direction, and in its discretion for the

purpose of effectively commercializing projects from selected research.” Id. at ¶ 17; Mem. of

Understanding, Sept. 11, 2014, at 1, ECF No. 110-2, at 173. Daimler testified that he wanted

Two Sigma to agree to allow Skilled Science to represent that “investment partners” had

committed $5 million in investment, “[b]ecause once you have a first committed signed investor,

you can represent that to the public. Once you can represent to the public that an investor has

committed money, that makes all the difference in starting off, starting off a business of this

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nature.” Parties’ Comb. Stmt. Mat. Facts, ¶ 18; Daimler Dep. 48:1-49:7.

       On September 29, 2014, Daimler asked Two Sigma if he could meet with Two Sigma’s

full investment committee, which meeting was required to “get started with the 500K”

investment. Parties’ Comb. Stmt. Mat. Facts, ¶ 20; September 29, 2014, Email from E. Daimler

to C. Beirne, Sept. 29, 2014. However, Daimler never attended a meeting with Two Sigma’s full

investment committee. Parties’ Comb. Stmt. Mat. Facts, ¶ 21. Two Sigma did not execute a

memorandum of understanding or any other agreement with Skilled Science and Two Sigma

never invested in Skilled Science. Id. at 19.

                       b.     The Sackler Family

       With respect to the Sackler Family’s potential investment, Daimler testified that Skilled

Science had a “verbal commitment” from Adam Fried who had agreed to make a “verbal

advocacy” to the Sackler Family to invest in Skilled Science. Id. at ¶ 22; Daimler Dep. 37:22–

39:18. Daimler did not recall if Mr. Fried actually did verbally advocate to the Sackler Family to

invest in Skilled Science. Parties’ Comb. Stmt. Mat. Facts, ¶ 23; Daimler Dep. 62:8–10; 68:19-

24. Daimler also was not aware of any documents that reflected the nature of any verbal

advocacy by Mr. Fried. Parties’ Comb. Stmt. Mat. Facts, ¶ 26. In email correspondence dated

September 24 and September 26, 2015, neither Daimler nor Mr. Fried referred to a commitment

by Mr. Fried to verbally advocate to the Sackler Family to invest in Skilled Science or to any

investment commitment by the Sackler Family. Id. at ¶ 27. Daimler testified he was not aware

of any documents that reflected a commitment from the Sackler family to invest in Skilled

Science and that such documents are not created until a decision to invest is made. Id. at ¶ 25.

Daimler could not recall if he had ever met anyone from the Sackler Family, or if he had met or

had a telephone conversation with Mortimer Sackler. Id. at ¶ 24; Daimler Dep. 66:8–15.

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                          c.       Keith Furuya

        Daimler also sought investment from Keith Furuya. Id. at ¶ 154. By email dated April

22, 2015, Keith Furuya, of Furuya & Co., wrote to Daimler: “I confirm $100k and believe that

[they] have another $250K (the investors are thinking about it).” Email from K. Furuya to E.

Daimler, Apr. 22, 2015, ECF No. 117-2 at 20. Mr. Furuya also related to Daimler that the

“[i]ssue is that the investors are le[e]ry about this.” Id. There is no record evidence that Mr.

Furuya or Furuya & Co. invested in Skilled Science or that they committed to invest in Skilled

Science.

                 2.       Fee’s Testimony as to Investments in Skilled Science

        Daimler and Fee have been friends for over a decade. Parties’ Comb. Stmt. Mat. Facts, ¶

42. During this time, Daimler has engaged Fee to assist him with his various investment

ventures, including Skilled Science. 5 Id. at ¶ 43. Fee testified there were supposedly a half a

dozen “investors that were moving toward engaging with [Skilled Science] to deploy capital.”

Id. at ¶ 33; Fee Dep. 86:20–88:16. Fee testified that Skilled Science was “talking terms” with

investors. Parties’ Comb. Stmt. Mat. Facts, ¶ 34; Fee Dep. 100:2–12. Fee testified that Skilled

Science did not sign a term sheet with any potential investor. Parties’ Comb. Stmt. Mat. Facts, ¶

35; Fee Dep. 104:23–105:1. Fee testified that Skilled Science “had a credible thesis, a credible

principle, and it established credible engagement with a number of potential investors.” Parties’

Comb. Stmt. Mat. Facts, ¶ 36; Fee Dep. 115:1–7. 37. Although Fee identified the Sackler


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  According to Fee’s curriculum vitae, from October 2017 through June 2019, Fee was a partner in Daimler’s
SpinGlass venture. Parties’ Comb. Stmt. Mat. Facts, ¶ 46. While Fee worked for Daimler’s SpinGlass venture,
Daimler was Fee’s “sole source of income.” Id. at ¶ 47; Fee Dep. 59:5–7. From October 2019 through the present,
Fee has been a managing director in Daimler’s Conexus venture. Parties’ Comb. Stmt. Mat. Facts, ¶ 48. During the
time Fee has worked for Conexus, Conexus has been his sole source of income. Id. at ¶ 49. Fee testified that while
he was working for Skilled Science, he spent half of his time on work for Skilled Science. Id. at ¶ 50. Fee does not
list Skilled Science on his resume. Id. at ¶ 51.

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family as one of the potential investors, he did not identify Two Sigma as a potential investor.

Parties’ Comb. Stmt. Mat. Facts, ¶ 37. Fee testified that a different entity, Wood Creek Capital,

“was talking about a potential 5 million” investment, with others, as pieces of a possible

investment. Id. at ¶ 37; Fee Dep. 100:2–12. Fee testified that “one of the rules of capital raising

is that it’s not money until it’s in the bank.” Parties’ Comb. Stmt. Mat. Facts, ¶ 38; Fee Dep.

105:12–15. Fee explained that the investment sphere is a world of “shoulda, coulda, woulda”

and that because of this uncertain nature, an investment “doesn’t count unless it happens.”

Parties’ Comb. Stmt. Mat. Facts, ¶ 39; Fee Dep. 89:23–90:22.

       D.      Daimler’s Questions as to the GEV Representation

       Daimler testified that the GEV Representation was the sole reason he decided to “walk

away” from a purported $10 million in investments for Skilled Science to join Defendants.

Parties’ Comb. Stmt. Mat. Facts, ¶ 99, Daimler Dep. 203:16–22. Daimler also testified that the

GEV Representation was “the single most important issue for our pitch.” Parties’ Comb. Stmt.

Mat. Facts, ¶ 98, Daimler Dep. Ex. 5 99:24–100:10. Despite the significance of the GEV

Representation to Daimler, he was unable to recall whether he ever asked Moehle if the

Defendants had a signed investment commitment from GEV. Parties’ Comb. Stmt. Mat. Facts, ¶

101. Daimler Dep. 49:8–24. Daimler later testified that he did not recall any signed legal

agreements with GEV obligating them to invest $20 million. Parties’ Comb. Stmt. Mat. Facts, ¶

100, Daimler Dep. 77:19–78:12. Daimler admitted that he could not recall taking any steps to

double-check Moehle’s purported GEV Representation beyond reviewing in a “cursory way”

publicly available information related to GE’s operations to determine if a spinoff of its financial

arm seemed reasonable. Parties’ Comb. Stmt. Mat. Facts, ¶ 102; Daimler Dep. 80:10–15.

       Daimler also admitted that in multiple meetings with GEV representatives he did not ask

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any questions about the nature, extent, or likelihood of any GEV commitment to invest in the

Companies. Parties’ Comb. Stmt. Mat. Facts, ¶ 103; Daimler Dep. 78:13–80:5. With respect to

an alleged legal agreement between GEV and Robotics Hub, the following testimony occurred:

       Q. Okay. Let me ask the question: Did you know there was a written agreement
       between GE and Robotics Hub before you joined the companies?
       A. No.
       Q. Did you ever ask whether there was a written agreement?
       A. I don’t recall.
       Q. So you never read an agreement between GE and Robotics Hub before you
       joined the companies?
       A. If I said I didn’t recall seeing an agreement, I certainly wouldn’t be able to
       answer any differently about reading such an agreement.

Daimler Dep. 195:13–24. The private placement memorandum that the Fund provided to

investors did not include any disclosure of a GEV $20 million commitment. Parties’ Comb.

Stmt. Mat. Facts, ¶ 105. Daimler admitted that he read the Fund’s private placement

memorandum. Id.

       Daimler did not speak with anyone, other than a single mutual friend of the parties,

before he entered into a business relationship with Moehle. Id. at ¶ 106. Daimler testified as

follows:

       Q. At this point the [GEV] spinout had been, according to your allegations,
       represented to you for about six months, right? If it was August when it was first
       represented to you, and now it’s in February and it’s being represented still, is that
       right?
       A. Correct.
       Q. At this point did you do any of your own diligence as to what the status of that
       spinout was?
       A. I don't recall what additional, if any, diligence I did other than bring the issue
       up with [Moehle]. I would not have ignored that issue. It was a material issue
       foundational to the operation of the company.
       Q. But all you did was ask Mr. Moehle about it. Is that fair?
       A. That's not what I said.
       Q. You don’t recall doing anything other than asking Mr. Moehle about it, right?
       A. I don’t recall what else I did in addition.


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Daimler Dep. 219:21–220:16. Daimler also could not recall how, when, or why he came to learn

that the alleged GEV Representation was allegedly untrue. Parties’ Comb. Stmt. Mat. Facts, ¶

108.

        E.      Daimler Executes the Common Unit Agreements

        In April 2016, Daimler executed amended operating agreements for the Companies that

added Daimler as a member of the Companies. Id. at ¶ 109. Daimler also executed Common

Unit Agreements in April 2016, which granted Daimler 42 common units in the Companies,

subject to certain vesting conditions, one of which was that Daimler provide full-time services to

the Companies by March 23, 2017. Id. at ¶ 110; Coal Hill Ventures LLC Common Unit Award

Agreement, Ex. 20, ECF No. 110-2, at 350-358; Robotics Hub Fund 1, LLC Common Unit

Award Agreement., Ex. 21, ECF No. 110-2, at 361-368. Per the Common Unit Agreements, if

Daimler failed to provide full-time services by March 23, 2017, he would forfeit the common

units in their entirety. Parties’ Comb. Stmt. Mat. Facts, ¶ 111. The Common Unit Agreements

define “Full Time Service,” in pertinent part, as “providing greater than 95% of his professional

activities . . . to a combination of the Compan[ies] . . . .” Id. at 112.

        F.      Daimler’s Loan

        Daimler alleges that he loaned $125,000 to Coal Hill pursuant to a promissory note and

that he wrote several checks to Coal Hill totaling approximately $30,000. Parties’ Comb. Stmt.

Mat. Facts, ¶¶ 113, 114; ECF No. 86 at ¶¶ 43, 84. Daimler admits that on or about November 2,

2017, Coal Hill paid him the $125,000 promissory note in full, with interest, and separately

reimbursed him in the amount of $35,000 for the checks he wrote. Parties’ Comb. Stmt. Mat.

Facts, ¶ 115; ECF No. 86 at ¶ 44.



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       G.       Daimler’s Financial Contributions and Proof of Expenses

       Daimler alleges that he made financial contributions to Coal Hill in excess of $200,000

and that Moehle orally agreed that such would be treated as capital contributions. Parties’

Comb. Stmt. Mat. Facts, ¶ 116, ECF No. 86 at ¶¶ 86–91. Moehle testified that the Companies

asked Daimler on multiple occasions to produce documentation of any supposed unreimbursed

monetary payments but that Daimler refused to do so. Parties’ Comb. Stmt. Mat. Facts, ¶ 117.

       During discovery, Daimler produced an undated document, which he testified looked

“familiar” and “looks like a list of expenses that I incurred supporting the operations of the

companies with my business partner at the time” Id. at 118; Ex. 22, ECF No. 110-2, at 369-385;

Daimler Dep. 263:17-21. With regard to this undated document of expenses, Daimler testified

that he did not recall when the document was created, how it was created, whether he created it

(or someone else did), and that he had “no idea” how the document got in his files. Daimler

Dep. 263:22–264:5. Daimler conceded that if he would have created the document, it was “very

likely” he would have recalled doing so. Parties’ Comb. Stmt. Mat. Facts, ¶ 120; Daimler Dep.

at 280:17–19.

       The undated document of expenses lists payments to a communications firm, Inside

Revolution, Inc. Parties’ Comb. Stmt. Mat. Facts, ¶ 123. Daimler could not specifically identify

any services that Inside Revolution performed for Robotics Hub or Coal Hill. Id. at ¶ 124.

The document also lists multiple laptop purchases for which Daimler had no information, as well

as” block entries” for Daimler’s travel. Id. at 125-126.

       The undated document of expenses also reflects that Daimler made twelve monthly

$15,000 payments to St. Maple 164 LLC, which is Fee’s LLC through which Fee received

payments, from August 28, 2015 through January 27, 2017. Parties’ Comb. Stmt. Mat. Facts, ¶

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121; Daimler Dep. 264:6–266:10; ECF No. 110-2, at 369-382. As of August 28, 2015, Fee had

not yet been introduced to Moehle. Parties’ Comb. Stmt. Mat. Facts, ¶ 121. In contrast to the

$15,000 payments Daimler made to Fee, Fee testified that he was being paid separately by

Robotics Hub at $10,000 a month for his work, and that he was “not being doubly compensated,

no.” Fee Dep. 110:20-111:1-2; 3-11. When asked specifically about $15,000 payments from

Daimler, Fee testified that “it’s very possible that Eric compensated the lower rate of $10,000 a

month from Robotics Hub with 5,000. Very possibly. But I don't recall.” Daimler Dep. 111:19-

22. Counsel clarified that he was asking about “a separate $15,000 payment in addition to the

$10,000 that you earned,” to which Fee responded, “Oh, absolutely not. I was not paid that

much.” Daimler Dep. 111:23-112:1.

       In his Opposition to Summary Judgment, Daimler provides 1,879 pages of unorganized

alleged “back-up” expenses. Parties’ Comb. Stmt. Mat. Facts, ¶ 207. Other than asserting that

such are evidence of Daimler’s expenses incurred on behalf of the Companies, he fails to cite to

any document or documents or to provide an explanation or argument as to why such documents

support his allegations.



       H.      Alleged Oral Agreement

       When asked about the material terms of Moehle’s alleged oral agreement to treat

Daimler’s financial contributions as capital contributions, Daimler testified as follows:

               Q. And you don't recall sitting here today any phone call where Mr.
               Moehle agreed to treat any financial contributions as capital contributions,
               is that right?
               ...
               A. I don't recall any specific phone call.
               Q. How many units were you going to receive?
               A. I don't recall.

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               Q. What kind of units were they?
               A. I don't recall.
               Q. What were the vesting terms?
               A. I don't recall.
               Q. How much money was going to be exchanged for the units? What was
               the number?
               A. I'll stand by what I wrote in the Complaint.
               Q. In the Complaint, you don't really provide a number. You say in excess
               of $200,000.
                        So how much was agreed, according to your Complaint, to be
               treated as capital contribution?
               A. I would have to go back and take a look at the totality of the
               communications and the financial records.
               Q. Was it $200,000?
               A. I don't recall.

Daimler Dep. 256:18–257:18. Fee likewise was unable to provide any specific information as to

the alleged agreement, testifying as follows:

       [W]hen you’re talking about the value of units that [Daimler] should have been
       provided, I’m not privy nor do I know what was his arrangement in terms of what
       he was given…I don’t know whether or not that should have resulted in units or
       whether it was supposed to be just paid back. And if capital wasn’t available to
       pay it back, then it would be paid in units. How many units for $200- to
       $300,000? I don’t know. What are the value of the units he should have been
       provided? I don’t know.

Parties’ Comb. Stmt. Mat. Facts, ¶ 131; Fee Dep. 116:24–117:24. Fee further testified that he

was not privy to the accounting of the Companies and had no independent knowledge of how

much money, if any, Daimler contributed to the Companies. Parties’ Comb. Stmt. Mat. Facts, ¶

128; Fee Dep. 95:6–96:14. Fee testified that there “was very little acrimony” about the finances

of the Companies while Daimler was with the Companies and “it’s afterward that there was

acrimony and a discussion of hey, I’m [Daimler] owed something.” Parties’ Comb. Stmt. Mat.

Facts, ¶ 129; Fee Dep. 120:18–121:2. 130. Fee testified that Daimler did not say anything to

him about Daimler contributing in excess of $200,000 until after they left the Companies.

Parties’ Comb. Stmt. Mat. Facts, ¶ 130; Fee Dep. 120:5–22.

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       I.      Daimler’s Removal from the Companies

       In 2016, Daimler was appointed as a Presidential Innovation Fellow for the Office of

Science and Technology Policy. Parties’ Comb. Stmt. Mat. Facts, ¶ 132. The fellowship was

expected to continue until January 2017. Id. at ¶ 134. While Daimler was engaged in his

fellowship, Moehle believed that Daimler was not devoting sufficient time to the Companies. Id.

at ¶ 135. In January 2017, Moehle and Daimler discussed Daimler’s future role with the

Companies in light of Moehle’s belief that Daimler was not devoting sufficient time to the

Companies. Id. at ¶ 136. After Moehle and Daimler met, the Board of the Companies voted on

whether to offer Daimler full-time employment. Id. at ¶ 137. Daimler voted in favor of full-

time employment and Moehle voted against. Id. at ¶ 138. The resulting deadlock was referred to

the contractually prescribed neutral deadlock advisor, which was Moehle and Daimler’s mutual

friend, Mr. Mawhinney. Id. at ¶ 139. On March 27, 2017, the deadlock advisor broke the

deadlock and voted against offering Daimler full-time employment. Id. at ¶ 140. Daimler was

then removed from the Companies’ Boards of Managers. Id. at ¶ 141.



       J.      Expert Testimony as to Damages

       Daimler described his non-retained damages expert, Jamie Fee, as “qualified to serve as a

Business Development Executive expert commenting on issues related to damages.” Parties’

Comb. Stmt. Mat. Facts, ¶ 143. Daimler disclosed that Fee would provide his opinion on (1)

“the cost of lost opportunities borne by Daimler because he left [Skilled Science] to enter into a

partnership with Moehle”; and (2) “the value of units that should have been provided to Daimler

in return for his investment in the company, Robotics Hub.” Parties’ Comb. Stmt. Mat. Facts, ¶

144. With respect to calculating the monetary value of Daimler’s lost business opportunities,

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Fee admitted that it is “a hard thing to say . . . In fact, you cannot say.” Fee Dep. 88:20–89:10.

Fee testified that any “lost business opportunity” for Skilled Science was dependent upon

whether “Skilled Science would have been able to build a portfolio successfully that would have

made for a big equity growth.” Fee Dep. 89:3–8. With respect to calculating the value of the

units Daimler is purportedly entitled to, Fee stated “[w]hat are the value of the units he should

have been provided? I don’t know.” Fee Dep. 116:24–117:24.

        K.       Procedural Background

        Daimler filed a Complaint on February 5, 2018, followed by an Amended Complaint on

February 14, 2018. 6 ECF Nos. 1 & 4. Daimler filed a Second Amended Complaint on August

24, 2018. ECF No. 24. After the parties met and conferred regarding the Second Amended

Complaint, Daimler filed a Third Amended Complaint on October 16, 2018. ECF No. 33.

Following the Court’s Order denying in part, and granting in part, Defendants’ Motion to

Dismiss the Third Amended Complaint, Daimler filed his Fourth Amended Complaint on June

28, 2019. ECF No. 48. The Court then granted Daimler’s unopposed Motion to Amend his

Complaint to modify his prayer for relief, and thus the Fifth Amended Complaint was filed on

October 19, 2020. ECF No. 86. In Counts One, Two, and Four, Daimler asserts identical

individual claims of fraudulent inducement against Moehle, the Fund, and Coal Hill,

respectively, based upon the allegation that Moehle fraudulently represented to Daimler that

GEV had committed to invest $20,000,000.00 in the Fund. In Count Three, Daimler alleges that

Coal Hill breached an oral agreement to provide Daimler with Units in exchange for his financial

contributions to the Companies.



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 The First Amended Complaint was filed pursuant to the Court’s sua sponte Order finding that the initial
Complaint did not demonstrate that the Court had subject matter jurisdiction. ECF No. 3.
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II.    Standard of Review

       Pursuant to Federal Rule of Civil Procedure 56, summary judgment is appropriate where

the moving party “shows that there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed R. Civ. P. 56(a). The court must enter summary

judgment against a party who fails to make a showing sufficient to establish an element essential

to his or her case, and on which he or she will bear the burden of proof at trial. Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986). In evaluating the evidence, the court must interpret the facts

in the light most favorable to the nonmoving party, drawing all reasonable inferences in his or

her favor. Watson v. Abington Twp., 578 F.3d 144, 147 (3d Cir. 2007).

       In ruling on a motion for summary judgment, the court’s function is not to weigh the

evidence, make credibility determinations, or determine the truth of the matter; rather, its

function is to determine whether the evidence of record is such that a reasonable jury could

return a verdict for the nonmoving party. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S.

133, 150–51 (2000) (citing decisions); Anderson v. Liberty Lobby, 477 U.S. 242, 248–49

(1986); Simpson v. Kay Jewelers, Div. of Sterling, Inc., 142 F.3d 639, 643 n. 3 (3d Cir. 1998).

The mere existence of a factual dispute, however, will not necessarily defeat a motion for

summary judgment. Only a dispute over a material fact—that is, a fact that would affect the

outcome of the suit under the governing substantive law—will preclude the entry of summary

judgment. Liberty Lobby, 477 U.S. at 248. A dispute is “genuine” if the evidence is such that a

reasonable trier of fact could render a finding in favor of the nonmoving party. McGreevy v.

Stroup, 413 F.3d 359, 363 (3d Cir. 2005).

       Where the nonmoving party will bear the burden of proof at trial, the moving party may

meet its burden by showing that the admissible evidence contained in the record would be

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insufficient to carry the nonmoving party’s burden of proof or that there is an absence of

evidence to support the nonmoving party’s case. Celotex, 477 U.S. at 322, 325; Marten v.

Godwin, 499 F.3d 290, 295 (3d Cir. 2007). If the movant meets his or her burden, the burden

shifts to the nonmoving party to “set forth specific facts showing that there is a genuine issue for

trial” and to present sufficient evidence demonstrating that there is indeed a genuine and material

factual dispute for a jury to decide. Fed. R. Civ. P. 56(e); see Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 247-48 (1986); Celotex, 477 U.S. at 323-25. The nonmoving party must go

beyond his or her pleadings and designate specific facts using affidavits, depositions, admissions

or answers to interrogatories showing that there is a genuine issue of material fact for trial.

Celotex, 477 U.S. at 324. The nonmoving party cannot defeat a well-supported motion for

summary judgment by simply reasserting unsupported factual allegations contained in his or her

pleadings. Williams v. Borough of West Chester, 891 F.2d 458, 260 (3d Cir. 1989).

Furthermore, “[w]hen opposing summary judgment, the non-movant may not rest upon mere

allegations, but rather must ‘identify those facts of record which would contradict the facts

identified by the movant.’” Corliss v. Varner, 247 F. App’x 353, 354 (3d Cir. 2007) (quoting

Port Auth. of N.Y. and N.J. v. Affiliated FM Ins. Co., 311 F.3d 226, 233 (3d Cir. 2002)).

Inferences based upon speculation or conjecture do not create a material factual dispute

sufficient to defeat a motion for summary judgment. Robertson v. Allied Signal, Inc., 914 F.2d

360, 382 n.12 (3d Cir. 1990).



III.   Discussion

       Defendants seek summary judgment as a matter of law on all of Daimler’s claims. They

argue that Daimler is unable to establish the elements of his fraudulent inducement claim as

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asserted in Counts One, Two, and Four, and that he cannot demonstrate the elements of his

breach of contract claim asserted against Coal Hill in Count Three. The Court addresses

Defendants’ arguments in turn.

        A.      Fraudulent Inducement Claims

        To recover on a claim of fraudulent inducement, Pennsylvania requires proof of the

following elements by clear and convincing evidence: “‘(1) a representation; (2) which is

material to the transaction at hand; (3) made falsely, with knowledge of its falsity or recklessness

as to whether it is true or false; (4) with the intent of misleading another into relying on it; (5)

justifiable reliance on the misrepresentation; and (6) the resulting injury was proximately caused

by the reliance.’” Eigen v. Textron Lycoming Reciprocating Engine Div., 874 A.2d 1179, 1185

(Pa. Super. Ct. 2005) (quoting Skurnowicz v. Lucci, 798 A.2d 788, 793 (Pa. Super. Ct. 2002)).



        Defendants argue that Daimler is unable to establish that a representation was made; that

he cannot demonstrate that the representation is an actionable false statement; that Daimler

cannot establish that Moehle intended to deceive Daimler; that Daimler is unable to show that he

justifiably relied on the GEV Representation; and that Daimler cannot establish that he suffered

resulting damages.

                1.      The Representation

        First, Defendants argue that Daimler has not produced clear and convincing evidence that

Moehle made the representation that GEV had committed to invest $20 million in the Fund. In

support of the proposition that there is a genuine issue of material fact as to whether the GEV

representation was made, Daimler relies on his deposition testimony and his Affidavit. He

argues that such evidence is corroborated by Fee’s testimony and by allegations in a verified

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complaint filed in the Delaware Chancery Court against the same Defendants. As explained

below, neither Fee’s testimony, nor the Delaware Court verified Complaint, qualify as competent

corroborating evidence. Therefore, Daimler’s argument rests solely on his own self-serving

testimony and Affidavit. As discussed below, Daimlers’ testimony and Affidavit are

unsupported and conclusory reassertions of his Complaint allegations, which are insufficient to

create a genuine issue of material fact.

                       a.      Fee’s Testimony

       Fee’s testimony does not support the allegation that Moehle represented to Daimler that

GEV had committed to invest $20,000,000.00 in the Fund. Fee testified that Moehle represented

to Fee, one time, that GEV was to invest in the neighborhood of $5 million in the Fund,

sometime in the future. Fee Dep. 19:15-16. The remainder of Fee’s relevant testimony is

hearsay testimony of what Daimler told Fee. Fee Dep. 18:24-25-19:1-4. In addition, Fee’s

testimony, both direct and hearsay, is inconsistent with, and contradictory to Daimler’s allegation

that Moehle represented to Daimler that GEV had committed to invest $20,000,000.00 in the

Fund. Fee did not testify that a “commitment” was made, and he testified that GEV was to

invest a “significant” amount of money, which Fee deemed to be around $5 million, not $20

million. Fee Dep. 19:18-25-20:1-2; 20:4-10; 82:19-25-83:1. Thus, Fee’s testimony does not

corroborate, and in fact contradicts, Daimler’s testimony that Moehle had represented that GEV

had committed to invest $20 million. Finally, Fee provided no independent testimony

corroborating the allegation that Moehle continued to make the GEV Representation multiple

times to multiple investors throughout 2015 and 2016.

                       b.      Delaware Civil Action

       Daimler also asserts that his testimony is corroborated by the allegations asserted in a

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civil action in the Delaware Chancery Court in which the plaintiffs therein seek declaratory and

injunctive relief. ECF No. 117-2; Friddle v. Moehle, Court of the Chancery of the State of

Delaware. The Friddle Complaint includes the following allegation:

        To entice investors, and to induce Daimler to focus his efforts on the Partnership
        over his other successful businesses, Moehle represented that GE Ventures had
        committed to invest $20 million in the Fund, which was a significant portion of
        the $50 million the Fund sought to raise.

ECF No. 117-2, at 41 (Paragraph 27 of the Friddle Complaint). The Delaware allegation is

substantively identical to the allegations made by Daimler in his Complaint and carries no more

probative force than Daimler’s Complaint allegations herein. The allegation in the Delaware

case arguably carries less probative force than Daimler’s allegations in that the Delaware action

assertion is not based upon the Delaware plaintiffs’ personal knowledge. To that extent, the

Delaware case allegation is also inadmissible hearsay. The Court will disregard the Delaware

civil complaint has having no impact on determining whether a genuine issue of material fact

exists in this case.

                          c.       Daimler’s Testimony and Affidavit

        In apparent recognition that Fee’s testimony and the Delaware Complaint are not

competent corroborating evidence, Daimler primarily argues that his self-serving testimony and

Affidavit, when considered in conjunction with other evidence, 7 are sufficient to defeat summary

judgment. Pltf. Br. Opp. 6-9. Daimler’s argument does not apply where, as here, the self-

serving testimony is conclusory, unsupported by other evidence, and is contested and rebutted by

record evidence. Nunez v. McCool, No. 21-3321, 2022 WL 1315087, at *2 (3d Cir. May 3,


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  Hanna v. Giant Eagle Inc., No. CV 15-1009, 2017 WL 1194676, at *12 (W.D. Pa. Mar. 9, 2017), Rep. and
Recomm. adopted, No. 2:15CV1009, 2017 WL 1194713 (W.D. Pa. Mar. 30, 2017) (self-serving testimony and
affidavit sufficient to withstand summary judgment only “when considered in conjunction with other evidence.”)

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2022) (“unsupported assertions [] insufficient to create a material question of fact”); Trivedi v.

Slawecki, 642 F. App'x 163, 168 (3d Cir. 2016) (plaintiffs’ unsupported conclusory assertions

combined with the failure to produce documentary evidence to support allegations insufficient to

defeat summary judgment); Irving v. Chester Water Auth., 439 F. App’x 125, 127 (3d Cir. 2011)

(self-serving testimony insufficient to defeat summary judgment when other evidence of record

rebuts the testimony); and Lind v. Jones, Lang Lasalle Americas, Inc., 135 F. Supp. 2d 616, 621

(E.D. Pa. 2001) (“only evidence which Plaintiff has adduced consists of his own deposition

testimony,” which is insufficient to establish a prima facie case of fraud). A party cannot defeat

summary judgment “by simply reasserting unsupported factual allegations contained in his []

pleadings.” Williams, 891 F.2d at 460.

       Daimler’s testimony and Affidavit are conclusory and merely repeat his Complaint

allegations that Moehle represented to Daimler that GEV had committed to invest $20 million in

the Fund and that Moehle made this representation multiple times to dozens of potential

investors over the course of eight months. Daimler’s Affidavit purports to incorporate the

entirety of his Complaint allegations within his Affidavit. Daimler Aff. ¶ 2. The Complaint is

the record pleading that is challenged by Defendants. It is improper for a plaintiff to rely upon

Complaint allegations as “bootstrap evidence” to support said plaintiff’s testimony by repeating

the same allegations. Such is the very definition of self-serving and conclusory. In Paragraph 4

of his Affidavit, Daimler addresses his lack of recall during his deposition testimony.

       While I may not remember immaterial facts from meetings or conversations that
       took place six (6) years ago, I do remember, with absolute and unequivocal
       certainty, Moehle’s representation to me, and to numerous potential investors, that
       GE had committed to invest $20 Million in the Fund.

Daimler Aff. ¶ 4 (emphasis in original). This assertion does not support or corroborate his


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allegations – it just repeats Daimler’s Complaint allegations and his deposition testimony. See,

generally, Daimler Dep.72-76.

       In addition to contesting Daimler’s testimony, the Defense has provided specific and

general rebuttal evidence challenging Daimler’s assertions that the GEV Representation was

made. First, Daimler alleged that he had attended an October 16, 2015 meeting with UPMC

representatives at which Moehle made the GEV Representation. However, in an email chain

concerning said UPMC presentation, Daimler makes no mention of any such GEV

Representation, and it confirms that Daimler did not even attend said meeting. Email from E.

Daimler, Oct. 23, 2015. In response to such evidence that clearly contradicts Daimler’s

Complaint allegations, Daimler’s Affidavit relates, “I remember quite clearly that Moehle made

the GE investment representation to Talbot Heppenstall [of UPMC]. Whether my memory is

mistaken about the date of that representation, or whether I was told by someone else in that

meeting that Moehle made the representation, does not change the fundamental fact that the

representation was made.” Daimler Aff. ¶ 4 n.1. The problem with Daimler’s attempt to

challenge the evidence rebutting his allegation is, again, that it consists of conclusory, self-

serving and possibly hearsay testimony that is not supported by other evidence. Daimler’s

Affidavit also attempts to supplement his Complaint allegations to include assertions that Moehle

made the GEV Representation to UPMC personnel on a different date than originally alleged,

and that Daimler may or may not have attended a meeting on a different date; and/or that an

unidentified person, who attended the October 16, 2015 UPMC meeting, later told Daimler that

Moehle had made the GEV Representation. Daimler has produced no evidence to corroborate

said assertions about any such GEV Representation.

       Similarly, Daimler’s allegation, that Moehle made the GEV Representation at a

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November 3, 2015 meeting with RIDC, is rebutted by record evidence. An email from Mr.

Mawhinney to Daimler, Moehle, and an RIDC representative shows that Moehle was not

introduced to the RIDC representative until November 30, 2015. Email from D. Mawhinney to

D. Smith, C. Moehle, and E. Daimler. In addition, the documentary evidence regarding RIDC

contains no mention of the GEV Representation, and it does not corroborate Daimler’s assertion

that the GEV Representation was made. Further, the November 2015 “GE Ventures

Conversation” document does not even mention the asserted $20 million investment

commitment. It only references that Moehle and Daimler planned to ask GEV to make an initial

investment commitment of $500,000, which they hoped would then scale up to $25 million.

When asked about this inconsistency, Daimler had no answer as to why Moehle would plan to

seek an initial investment of $500,000 from GEV if Moehle had already received an investment

commitment of $20 million from GEV. Daimler Dep. 184:12-187:23.

       Finally, GEV was not identified as an investor in a March 2016 PowerPoint, that Moehle

sent to Daimler and Fee, wherein Moehle discussed seeking investments from “lead investors.”

Parties’ Comb. Stmt. Mat. Facts, ¶¶ 95-96. Daimler testified that he did not ask Moehle why

GEV was not included as a potential investor in the March 2016 PowerPoint. Daimler Dep.

232:17–20.

       Daimler did not produce any evidence to support his allegation that the GEV

Representation was made. Daimler’s self-serving and conclusory testimony and Affidavit,

which Defendants have contested and rebutted with evidence of record, cannot be used as

competent evidence to defeat summary judgment. Nunez, No. 21-3321, 2022 WL 1315087, at

*2; Trivedi, 642 F. App'x at 168; Irving, 439 F. App’x at 127; and Lind, 135 F. Supp. 2d at 621.

The totality of the record fails to establish any question of material fact for a jury to determine

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that a GEV Representation as alleged by Daimler was made. Thus, Daimler has not met his

burden as to the first element of his fraudulent inducement claim. As such, Daimler’s fraudulent

inducement claims fail, and Defendants’ Motion for Summary Judgment will be granted.

               2.      Justifiable Reliance

       Defendants next argue that Daimler’s reliance on the alleged misrepresentation was not

justified. The Court agrees that Daimler has not shown clear and convincing evidence to

establish any question of material fact that his alleged reliance was justified. While the law does

not impose a duty to investigate, for reliance upon another’s representation to be justifiable, it

must be reasonable. Porreco v. Porreco, 811 A.2d 566, 571 (Pa. 2002). A reviewing court thus

will consider whether the recipient of the alleged misrepresentation “knew or should have known

that the information supplied was false.” Fort Wash. Res., Inc. v. Tannen, 858 F. Supp. 455, 460

(E.D. Pa. 1994) (citing Scaife Co. v. Rockwell-Standard Corp., 446 A.2d 280, 286–88 (Pa.

1971)). Courts consider factors such as the relationship of the parties, the degree of the parties’

sophistication, the nature of the transaction, and the history of the parties’ negotiations in

determining whether the plaintiff’s reliance was reasonable. See Fort Wash. Res., Inc., 858 F.

Supp. at 460; Huu Nam Tran v. Metro. Life Ins. Co., 408 F.3d 130, 135 (3d Cir. 2005). As the

Pennsylvania Superior Court explained,

          “although the recipient of a fraudulent misrepresentation is not barred from
          recovery because he could have discovered its falsity if he had shown his
          distrust of the maker’s honesty by investigating its truth, he is nonetheless
          required to use his senses, and cannot recover if he blindly relies upon a
          misrepresentation the falsity of which would be patent to him if he had
          utilized his opportunity to make a cursory examination or investigation.”

Kline v. EDS Relocation & Assignment Servs., No. 1:CV-08-0980, 2008 WL 4822026, at *6

(M.D. Pa. Nov. 4, 2008) (quoting Toy v. Metropolitan Life Insurance Company. 863 A.2d 1, 12


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(Pa.Super.Ct.2004)).

       Daimler was an experienced investor, familiar with raising investment funds for similar

advanced technological businesses. In his own business, Daimler sought to obtain a signed

agreement from a potential investor so that he could represent to other investors that he had

already obtained a committed investor. He testified that it was important to be able to represent

to other potential investors that there were already committed investors in order to raise

additional funds. Yet, Daimler did not inquire as to whether the Companies had obtained, or

should obtain, a similar signed agreement from GEV. He further testified that he was unaware of

the existence of any documents memorializing GEV’s alleged commitment. When asked if it

would have been important to know that Moehle had obtained a signed commitment from GEV,

Daimler answered that it “would have been a very wise course of action.” Daimler Dep. 49:15-

20. He also did not ask why GEV’s $20 million commitment was not identified in the

Companies’ private placement memorandum. Further, despite being present in meetings with

GEV representatives, Daimler did not ask about the GEV Representation. Although Daimler

testified that he did not make such inquiries because Moehle told him not to, there is no

documentary or corroborating testimonial evidence to support that Moehle told him not to make

inquires.

       GEV had already made an initial investment of $75,000 prior to Daimler meeting

Moehle. In November 2015, Moehle and Daimler planned to request an initial $500,000

investment from GEV, which they hoped would increase over time to $25 million. Faced with

such an obvious incongruence between the alleged GEV Representation and an actual plan to

request only $500,000 from GEV, Daimler was “required to use his senses,” and not “blindly”

rely upon the falsity of the GEV Representation, “which would be patent to him if he had utilized

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his opportunity to make a cursory examination or investigation” (in this case, by simply

comparing the pitch material to the GEV Representation). Toy, 863 A.2d at 12.

       Furthermore, Daimler testified that Moehle told him that “GE would be investing at least

$20 million as soon as they cleared a regulatory issue of spinning out a financial arm.” Daimler

Dep. 75:25–76:25. Thus, Daimler understood that GEV’s commitment was contingent upon a

future event and that his reliance on such GEV investment was not certain. Daimler in fact

testified that his reliance on the GEV investment to occur “was definitely a risk that I was

taking[,]” knowing that “[t]he trigger of the $20 million would not occur until [GE’s] spinout [of

an investment] happened.” Daimler Dep. 83:13–16. Finally, Daimler knew that GEV’s future

potential investment was “not a legal obligation” and that it was “absolutely true” that GEV

“could have just walked away.” Daimler Dep. 203:12–15.

       Considering Moehle and Daimler’s relationship, Daimler’s relevant knowledge and

experience, the fact that Daimler was familiar with innovative tech investment companies, and

Daimler’s failure to make inquiries when faced with multiple opportunities to do so, the Court

finds that Daimler has not produced clear and convincing evidence to establish a question of

material fact that Daimler’s asserted reliance on Moehle’s oral representation was justifiable.

               3.      Resulting Damages

       Finally, Defendants argue that Daimler cannot establish that he suffered damages as a

result of relying on the GEV Representation. In Pennsylvania, “lost future income is the

appropriate measure of damages for a plaintiff who was fraudulently induced to leave otherwise

secure employment.” Martin v. Hale Prod., Inc., 699 A.2d 1283, 1287 (Pa. Super. Ct. 1997)

(citing Lokay v. Lehigh Valley Co-op. Farmers, Inc., 492 A.2d 405, 410 (Pa. Super. Ct. 1985)).

Daimler alleges that he suffered economic damages of at least $10 million when he was

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fraudulently induced to walk away from $10 million in investment fund commitments in Skilled

Science. However, he has not presented evidence of a causal connection between Daimler

entering into a business relationship with Moehle and Daimler suffering a resulting economic

injury.

          Daimler’s assertion that he suffered economic harm is at best speculative. The record

evidence demonstrates that the only investment capital Skilled Science received was Daimler’s

initial $500,000. There is no evidence that any other party invested any money into Skilled

Science. Daimler did not obtain any signed documents or other documentary evidence showing

that any other investor had committed to invest in Skilled Science. Fee’s testimony confirms that

Skilled Science had no written investment agreements or commitments and had never drafted a

private placement memorandum for an investment. Fee Dep. 101:2-22; 104:23-105:1. In

August 2015, instead of investment commitments of $10 million from multiple investors, the

then “current reality” of Skilled Science was that Skilled Science had no contract signed and it

had “at various times” investment commitments of as much as $3.5 million, but no such funds

were ever invested. Parties’ Comb. Stmt. Mat. Facts, ¶ 40. Thus, there is no evidence that

Skilled Science had any committed investments upon which a claim of damages can be shown.

Skilled Science was an entity that had no investments for Daimler to walk away from.

Accordingly, Daimler is unable to show by clear and convincing evidence that there is a genuine

issue of material fact regarding damages.

          B.      Breach of Contract Claim

          As regards the breach of contract claim, Daimler alleges that he entered into an oral

agreement with Coal Hill for Daimler to provide financial contributions to cover third-party

expenses. He alleges that the parties agreed that Daimler’s financial contributions would be

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treated as capital contributions, and that in exchange he would receive Coal Hill Units. Daimler

alleges that Coal Hill breached the oral agreement by failing to issue him Units in exchange for

his additional capital contributions, “[d]espite Section 7.2 of the [written] Operating

Agreement.” 8 Pltf. Br. Opp. 24 (ECF No. 115). “It is well-established that three elements are

necessary to plead a cause of action for breach of contract: (1) the existence of a contract,

including its essential terms, (2) a breach of the contract; and, (3) resultant damages.” Meyer,

Darragh, Buckler, Bebenek & Eck, P.L.L.C. v. Law Firm of Malone Middleman, P.C., 137 A.3d

1247, 1258 (Pa. 2016) (citing J.F. Walker Co., Inc. v. Excalibur Oil Grp., Inc., 792 A.2d 1269,

1272 (Pa. Super. Ct. 2002).

                          1.       Existence of a Contract

        Defendants first argue that Daimler has not produced sufficient evidence to establish the

existence of a valid, enforceable oral contract. Daimler, as the “party relying on an alleged oral

contract . . . has the burden of proving its existence.” Ecore Int’l, Inc. v. Downey, 343 F. Supp.

3d 459, 486 (E.D. Pa. 2018). “To establish the existence of an agreement one must show that:

(1) both parties have manifested an intention to be bound by the terms of the agreement; (2) the

terms of the agreement are sufficiently definite to be specifically enforced; and, (3) there is

mutuality of consideration.” Id. at 487 (citations and quotations omitted).

        Daimler has not produced evidence to show that he and Coal Hill intended to be bound

by an oral agreement or to establish the material terms of any such alleged oral agreement.



8
  Pursuant to Section 7.2 of the Coal Hill Operating Agreement, Coal Hill is required to issue Units in connection
with members’ additional capital contributions, with the caveat that “future Capital Contributions made by any
Member shall only be made with the consent of the Board and in connection with an issuance of Units.” ECF No.
86-6, at 21. Daimler does not assert any Board consent to support issuance of Units pursuant to Section 7.2.
Therefore, despite Daimler’s reference to Section 7.2, his breach of contract claim rests entirely on a separate
alleged oral agreement.

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Daimler has not produced evidence to establish the type of Unit (Management Units or Common

Units) he was to receive, the value of the Units in relation to his financial contribution, or the

timing for issuance of the Units to Daimler. When asked about the details of the alleged oral

agreement to treat Daimler’s financial contributions as capital contributions to be reimbursed by

the issuance of Units, Daimler testified as follows:

               Q. And you don't recall sitting here today any phone call where Mr.
               Moehle agreed to treat any financial contributions as capital contributions,
               is that right?
               ...
               A. I don't recall any specific phone call.
               Q. How many units were you going to receive?
               A. I don't recall.
               Q. What kind of units were they?
               A. I don't recall.
               Q. What were the vesting terms?
               A. I don't recall.
               Q. How much money was going to be exchanged for the units? What was
               the number?
               A. I'll stand by what I wrote in the Complaint.
               Q. In the Complaint, you don't really provide a number. You say in excess
               of $200,000.
                        So how much was agreed, according to your Complaint, to be
               treated as capital contribution?
               A. I would have to go back and take a look at the totality of the
               communications and the financial records.
               Q. Was it $200,000?
               A. I don't recall.

Daimler Dep. 256:18–257:18. Consistent with the above testimony, there is no evidence that

there ever was “a discussion as to any of the essential terms of an alleged bargain.” Ecore Int’l,

343 F. Supp. 3d at 489. Accordingly, “[i]t defies reason to suggest that these parties would have

agreed to be bound by an oral agreement that omitted any mention of such material terms”.

Ecore Int’l, 343 F. Supp. 3d at 490-91.

       In addition, there is no evidence that Daimler ever requested that Coal Hill perform on


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the alleged agreement by awarding him Units; either while Daimler was in a business

relationship with Moehle or after Daimler was removed from the Companies. Finally, Fee

testified that it was not until after Daimler left the Companies that he told Fee that he had made

financial contributions to the Companies for which he felt he was “owed something.” Fee Dep.

120:18–121:2.

       The Court concludes that the alleged oral agreement between Daimler and Coal Hill is

“too indefinite for a party to reasonably believe that it could be enforceable in an action at law.”

Ecore Int’l, 343 F. Supp. 3d at 489. There being no sufficient record evidence to establish any

question of material fact as to the terms of any agreement entered into between Daimler and Coal

Hill, Daimler has not met his burden to show the existence of the alleged oral agreement.

                2.     Evidence of Damages

       Defendants also argue that, assuming the existence of an oral agreement, Daimler has

failed to provide admissible, non-speculative evidence to support his damages claim. Defendants

argue that an undated, unsubstantiated, and unreliable document of expenses produced by

Daimler during discovery cannot be considered as competent evidence of Daimler’s expenditures

on behalf of the Companies. Defendants further note that Daimler was unable to recall who

created the document, when it was created, how it was created, or how it got into his files.

Daimler Dep. 263:17-22–264:5. Furthermore, he could not explain many of the entries therein.

Daimler Dep. 263:17-22–264:5. Daimler also proffers 1,879 pages of purported “back up”

documents for expenses he incurred on behalf of the Companies. Daimler Aff. ¶ 12; Ex. O.

Said documents are not separated, categorized, identified, or organized for meaningful review

relative to Daimler’s claim for damages. There is no evidence that Daimler averred that any of

said documents were submitted to Moehle or to the Companies for reimbursement. Several

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items from the Exhibit also cut against Daimler’s assertion that such documents support his

claim for damages. Thus, there are significant evidentiary issues related to Daimler’s claim for

damages. Despite the damages issues presented by said documentary evidence, the relevancy

and admissibility of such documents are not amenable to a clear determination to support a

finding of no question of material fact. Thus, at this stage of the proceedings, there are questions

of material fact as to the element of damages.

IV.    Conclusion

       Viewing the record evidence in a light most favorable to Daimler, the Court finds that

Defendants have demonstrated that there is no genuine dispute of material fact as to Daimler’s

fraudulent inducement claims. Daimler is unable to show by clear and convincing evidence that

a representation was made, justifiable reliance, or resulting damages. Accordingly, Defendants’

Motion for Summary Judgment will be granted and judgment on Daimler’s fraudulent

inducement claims asserted in Counts One, Two, and Four, will be entered in favor of Moehle,

the Fund, and Coal Hill, and against Daimler. The Court also finds that Daimler has failed to

produce evidence to establish questions of material fact as to the existence of a contract and its

material terms. Absent such evidence, there is no question of material fact as regards any

breach. Thus, Daimler’s breach of contract claim fails. Accordingly, Defendants’ Motion for

Summary Judgment will be granted and judgment as a matter of law on Daimler’s breach of

contract claim asserted in Count Three will be entered in favor of Coal Hill and against Daimler.

       An appropriate order will be entered.



Dated: July 18, 2022                                   _____
                                                          _________
                                                                  ______
                                                                  __   ___________
                                                                       __       _______
                                                      ______________________________
                                                      Marilyn J.
                                                              J Horan
                                                      United States District Court Judge

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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC DAIMLER,                                  )
                                               )
                       Plaintiff,              )
                                               )       Civil Action No. 18-165
                v.                             )
                                               )       Hon. Nora Barry Fischer
CHRIS MOEHLE, ROBOTICS HUB                     )
FUND 1, LLC and COAL HILL                      )
VENTURES LLC                                   )
                                               )
                       Defendants.             )



                                              ORDER

       AND NOW, this 27th day of July, 2018, upon consideration of Defendants’ Motion to

Dismiss (Docket No. [16]) and all filings of record related thereto,

       IT IS HEREBY ORDERED, for the reasons stated in the accompanying Memorandum

Opinion, that said motion is GRANTED IN PART AND DENIED IN PART:

       1.       The motion is GRANTED as to Counts One, Two, Three, Four, Five, Six, Eight,

Nine, Ten, Eleven, Twelve, Fourteen, Fifteen, Sixteen, Seventeen, and Eighteen of Plaintiff’s

First Amended Complaint. Counts One, Nine, and Fourteen are dismissed with leave to re-plead

the allegations regarding GE’s potential investment.

       2.       As to Counts Seven and Thirteen, the motion is GRANTED insofar as the claims

relate to allegations regarding Moehle’s relationships with NREC and RI and the statements that

the Daimler and Moehle Awards were identical. The motion is DENIED as to Counts Seven and

Thirteen, insofar as those counts relate to Plaintiff’s alleged capital contributions.




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        3.       Plaintiff shall file a Second Amended Complaint in accordance with this Order

and the accompanying Memorandum Opinion on or before August 24, 2018. Defendants’

Response to the Second Amended Complaint shall be due on or before September 21, 2018.

                                              s/ Nora Barry Fischer
                                              Nora Barry Fischer
                                              United States District Judge

Date:   July 27, 2018

cc/ecf: All counsel of record




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ERIC DAIMLER,                                )
                                             )
                      Plaintiff,             )
                                             )       Civil Action No. 18-165
               v.                            )
                                             )       Hon. Nora Barry Fischer
CHRIS MOEHLE, ROBOTICS HUB                   )
FUND 1, LLC and COAL HILL                    )
VENTURES LLC                                 )
                                             )
                      Defendants.            )

                                   MEMORANDUM OPINION

       Plaintiff Eric Daimler (“Plaintiff” or “Daimler”) brought this action alleging that

Defendants Chris Moehle (“Moehle”), Robotics Hub Fund 1 LLC (“Robotics Hub”), and Coal Hill

Ventures LLC (“Coal Hill”) (Robotics Hub and Coal Hill, together, the “Companies”) made

intentional misrepresentations to Daimler intended to induce him into entering a business

partnership with Moehle, which included merging their existing companies and creating new ones.

(First Amended Complaint, Docket No. 4 at ¶ 1). He further alleges that the Defendants then

forced Daimler out of these companies by preventing him from satisfying conditions precedent to

a common unit vesting schedule, resulting in the forfeiture of all of his common units in the

Companies. (Id. at ¶ 2). In short, Daimler claims that Defendants wrongly forced Daimler out of

companies that he helped to create and build. Defendants now move to dismiss Daimler’s

complaint on the grounds that it fails to state a claim upon which relief may be granted.

       The Court has reviewed the Brief in Support of Defendants’ Motion to Dismiss Under

Federal Rule of Civil Procedure 12(b)(6) (Docket No. 17), the Memorandum of Law in Opposition

to Defendants’ Motion to Dismiss the First Amended Complaint (Docket No. 19), and the Reply

Brief in Support of Defendants’ Motion to Dismiss Under FRCP 12(b)(6) (Docket No. 20). For

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the reasons set forth below, Defendants’ motion to dismiss (Docket No. [16]) is GRANTED IN

PART AND DENIED IN PART.

I.     STATEMENT OF FACTS

       Sometime in 2015, Daimler and Moehle, each of whom operated his own robotics and/or

venture finance company, formed a partnership in order to invest in high-growth-potential, early-

stage robotics companies. (Docket No. 4 at ¶¶ 10-11). The two agreed to create an equal

partnership by combining Moehle’s company, Skilled Science, with Daimler’s company, Coal

Hill; they also created two new entities, Robotics Hub and Robotics Hub Fund 1 LP (the “Fund”).

(Id. at ¶¶ at 11-12). Daimler and Moehle amended and restated Coal Hill’s operating agreement

to reflect Daimler’s and Moehle’s equal partnership, began working together on marketing

strategies, and merged “expenses accrued through the funding of Skilled Science into the

fundraising expenses of Robotics Hub.” (Id. at ¶ 14).

       Before beginning the partnership, Moehle told Daimer that General Electric (“GE”) would

invest $20 million in the Fund and that he had strong relationships with the National Robotics

Engineering Center (“NREC”) and the Robotics Institute (“RI”), both of which would create

investment opportunities for their venture. (Docket No. 4 at ¶¶ 15-16). By early 2016, however,

Daimler learned that Moehle had misrepresented his relationships with NREC and RI. (Id. at ¶

18). Nevertheless, throughout 2016, Moehle continued to represent that GE would be investing

$20 million. (Id. at ¶ 19).

       In January 2016, the Obama White House appointed Daimler as a Presidential Innovation

fellow. (Docket No. 4 at ¶ 29). Daimler, with Moehle’s encouragement, accepted the year-long

fellowship. (Id. at ¶¶ 30-31). During the fellowship, Daimler advised the White House on robotics

and artificial intelligence, and the fellowship generated positive press coverage for Daimler and



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Robotics Hub. (Id. at ¶¶ 32-33). During the course of the fellowship, Daimler provided

unspecified services to the Companies but did not receive any compensation. (Id. at ¶ 34). Daimler

and Moehle agreed that Daimler would be paid at a later date. (Id.)

        During public relations and fundraising efforts, as well as joint presentations to potential

investors, the Companies and the Fund promoted Daimler and Moehle as equal partners. (Docket

No. 4 at ¶¶ 25-26). Both were also designated as “key persons” in the Fund’s Limited Partnership

Agreement.1 (Id. at ¶ 24).

        In the spring of 2016, Daimler and Moehle retained Reed Smith LLP to prepare the

formation and governing documents, including the Companies’ Amended and Restated Operating

Agreements and Common Unit Award Agreements. (Docket No. 4 at ¶ 36). Moehle was the main

point of contact for the law firm. (Id. at ¶ 37). The Companies’ Amended and Restated Operating

Agreements and Coal Hill’s and Robotics Hub’s Common Unit Award Agreements with both

Moehle and Daimler are attached to the complaint as exhibits, (Docket Nos. 4-1 through 4-6), and

the Court has considered and relied upon each in deciding this motion.2 See, e.g., Lum v. Bank of

America, 361 F.3d 217, 222 (3d Cir. 2004) (in resolving Rule 12(b)(6) motions, “courts generally

consider only the allegations in the complaint, exhibits attached to the complaint, matters of public

record, and documents that form the basis of a claim”) (citing In re Burlington Coat Factory Sec.

Litig., 114 F.3d 1410, 1426 (3d Cir. 1997)).

        Insofar as relevant here, the Amended and Restated Operating Agreements, both dated

March 23, 2016,3 noted that Daimler and Moehle were members of the Companies, and they


1
        That limited partnership agreement was not attached to the complaint.

2
          The Court has not relied upon the IRS form submitted by Defendants and therefore does not address
Defendants’ argument that the document is one that may be considered in this motion to dismiss. (Docket No. 17 at
12, n.6).
3
          As noted above, the Amended and Restated Operating Agreements are attached as exhibits to the Complaint,
and citations to each in this opinion are made to the assigned docket numbers, Docket No. 4-5 for the Robotics Hub

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appointed the two as managers and board members. (Docket Nos. 4-5 and 4-6 at ¶¶ 5.2). The

boards of each company were authorized to manage, control and operate each company and had:

                 the full and complete power, authority, and discretion for, on behalf
                 of and in the name of the Company, to take such action as it may in
                 its sole discretion deem necessary or advisable to carry out any and
                 all of the objectives and purposes of the Company, subject only to
                 [the Operating Agreement and applicable law.]

(Docket Nos. 4-5 and 4-6 at ¶ 5.1). Each Manager on the board had one vote on matters submitted

to the board, and, in the event of a tie vote, the board would refer the matter to a Deadlock

Arbitrator whose decision would be “final and binding on the Company, the board and the

Members.” (Docket Nos. 4-5 and 4-6 at ¶ 5.5(c)). Managers were not entitled to receive

compensation for their duties as a manager, nor did the Operating Agreements “confer upon any

Manager any rights with respect to continued employment by the Company.” (Docket Nos. 4-5

and 4-6 at ¶ 5.7). The Agreements specifically provided, “[N]othing herein should be construed

to have created any employment agreement with any Manager.” (Id.) Officers, however, were

entitled to compensation as determined by the board. (Id. at ¶ 6.10). The Agreements noted that

neither Moehle nor Daimler had made any capital contributions, and the Agreements provided that

neither would be required to make additional capital contributions. (Id. at ¶ 7.2 ). If additional

capital contributions were made, those contributions could be made only “with the consent of the

Board and in connection with an issuance of Units.” (Id. at ¶ 7.2). Loans by any member were

not to be considered capital contributions under the Agreements. (Id. at ¶ 7.6). The holders of a

majority of common units were authorized to determine the size of the boards and the identity of


Agreement and Docket No. 4-6 for the Coal Hill Agreement. The Amended and Restated Operating Agreements are
collectively referred to herein as the “Agreements.” Robotics Hub was created as a Delaware Limited Liability
Company, (Docket No. 4-5 at 7), and Coal Hill was formed as a Pennsylvania limited liability company (Docket No.
4-6 at 7). Robotics Hub was formed on February 17, 2016, and its original Operating Agreement was dated March 11,
2016. (Docket No. 4-5 at 7). Coal Hill was formed under Pennsylvania law on April 27, 2015, and its original
Operating Agreement was dated the same day. (Docket No. 4-6 at 7). Neither of the original Operating Agreements
are attached to the complaint or otherwise referenced in it.

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the members serving the boards. (Docket Nos. 4-5 and 4-6 at ¶¶ 5.2, 5.3). Exhibit A to the

Operating Agreements noted that both Daimler and Moehle each had 42 common units in each of

the Companies, “which may be subject to vesting, pursuant to a restricted unit award agreement.”

(Docket No. 4-5 at 39; Docket No. 4-6 at 40).

         The same day that the Operating Agreements were signed, each Company granted each of

Daimler and Moehle the 42 common units referenced above.4 (Docket Nos. 4-1, 4-2. 4-3, and 4-

4). The units vested over time. Moehle’s units vested as follows:

                   ▪20% vests on the first anniversary of the Date of the Award;

                   ▪1.6666% vests ratably on the last day of each month thereafter until the fifth
                   anniversary of the Date of the Award.

(Docket No. 4 at ¶ 38; Docket Nos. 4-1 and 4-2 at 2). In addition, Moehle’s units vested only if

Moehle was providing Full Time Services to a combination of the Companies, the Fund and the

investment manager of the Fund on the Vesting Date.5 (Docket Nos. 4-1 at 3, ¶ 2(a); 4-2 at 3, ¶

2(a)). If Moehle stopped working full time, he would forfeit any unvested units. (Docket Nos. 4-

1 and 4-2 at 4, ¶ 2(b)).

         Daimler’s units, however, vested pursuant to a different schedule. According to the

Summaries contained on the first page of the Daimler Awards, 20% of Daimler’s units would vest

on the date that he had provided twelve consecutive and uninterrupted months of Full Time



4
         The Common Unit Award Agreement awarding Moehle units in Robotics Hub is found at, and is referenced
herein as, Docket No. 4-1. The Common Unit Award Agreement awarding Moehle units in Coal Hill is referenced as
Docket No. 4-2. The Court refers to those together as the “Moehle Awards.” The Common Unit Award Agreement
awarding Daimler units in Robotics Hub is at Docket No. 4-3, and the Common Unit Award Agreement awarding
Daimler units in Coal Hill is at Docket No. 4-4. Docket Nos. 4-3 and 4-4 are collectively referred to herein as the
“Daimler Awards.” The Court refers to both the Daimler Awards and the Moehle Awards together as the “Awards.”

5
          The Awards define “Full Time Service” to mean that the grantee “was employed by or otherwise providing
greater than 95% of his professional activities, as determined in the the sole discretion of the Board . . . to a combination
of the Compan[ies], the Fund and the investment manager of the Fund . . . on the applicable Vesting Date.” (Docket
Nos. 4-1, 4-2, 4-3, and 4-4 at ¶ 2(a)).

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Services, provided that those services began within one year of the Award. (Docket Nos. 4-3 and

4-4 at 2). If Daimler met those conditions, the remaining 80% of the units would vest on a pro-

rata basis on the last day of each month thereafter until the fifth anniversary of the award. (Id.)

Like the Moehle Awards, the Daimler Awards stated that, if he stopped providing Full Time

Services, he would forfeit any unvested units. (Docket No. 4-3 at ¶ 2(b) Docket No. 4-4 at ¶ 2(b)).

         Each of the four award agreements otherwise appear to contain identical language, which

includes a paragraph addressing employment rights. Of note, paragraph 10 of each award, entitled

“No Employment Rights,” provides:

                  The grant of this Award shall not confer upon the Grantee any right
                  to be retained by or in the employ or service of the Company and
                  shall not interfere in any way with the right of the Company to
                  terminate the Grantee’s employment or service at any time. The
                  right of the Company, as applicable, to terminate at will the
                  Grantee’s employment or service at any time for any reason is
                  specifically reserved.

(Docket Nos. 4-1, 4-2, 4-3, and 4-4 at ¶ 10) (underline and bold in original).

         Over the course of the partnership, Daimler provided the Companies with financial support.

For example, he loaned $125,000 to the Companies pursuant to a promissory note, which has since

been repaid with interest. (Docket No. 4 at ¶¶ 27-28). He advanced personal funds to cover

unspecified corporate expenses – including $30,000 between May and August 2016 – and has been

reimbursed $35,000. (Id. at ¶ 27, 28, 65, and 68). He also provided $100,000 capital contributions

to Robotics Hub and Coal Hill but did not receive units in return, even though he and Moehle (the

only two members of the board) had agreed that he would.6 (Id. at ¶¶ 67, 135, 174). Moehle, on


6
         The Court does not consider the allegations made in Plaintiff’s opposition brief that, “[u]pon further review,”
he determined that he had advanced in excess of $160,000 for expenses. (Docket No. 19 at 4, n.1). Commonwealth
of Pennsylvania ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) (“It is axiomatic that the
complaint may not be amended by the briefs in opposition to a motion to dismiss’) (citations and internal quotation
marks omitted). This ‘amendment’ is, in any event, far from clear and does not specify whether the additional
advances were intended as loans or capital contributions and included in the breach of contract claims relating to ¶ 7.2
of the Agreements and discussed infra.

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the other hand, contributed only $1,000 in capital. (Id. at ¶ 27). The complaint does not state

whether Moehle received units in return for his capital contribution.

        In early to mid-2016, Daimler’s and Moehle’s relationship began to deteriorate. (Docket

No. 4 at ¶ 59). Moehle became critical of Daimler and refused to share information or consult

with him. (Id. at ¶¶ 59-69). By mid to late-2016, Moehle began taking steps “to gain sole control

of the Companies.” (Id. at ¶ 70). Moehle “thwarted” Daimler’s efforts to arrange meetings,

refused Daimler’s help with the Fund’s first closing, and “actively obstructed Daimler’s efforts to

communicate with the Fund’s investors and portfolio managers.” (Id. at ¶¶ 71-75). Moehle also

assigned work to Daimler, which Daimler performed, and then claimed that the work was not

necessary and accused Daimler of having failed to complete the work. (Id. at ¶ 73). All the while,

at least until November 2016, Moehle told investors that he and Daimler were equal partners. (Id.

at ¶ 77).

        In January 2017, Daimler and Moehle met to discuss Daimler’s full-time role with the

Companies. (Docket No. 4 at ¶ 78). However, on or about January 5, 2017, as Daimler’s

fellowship was ending, Moehle recommended to the Companies’ boards that Daimler not be

permitted to work full-time with the Companies, purportedly because the Companies could not

afford to pay Daimler. (Id. at ¶¶ 79, 80). Because Daimler and Moehle were the only two board

members, the board was deadlocked on the issue and, pursuant to the Operating Agreements, the

matter was referred to the Deadlock Arbitrator. (Id. at ¶¶ 81, 82). On March 22, 2017, the

Deadlock Arbitrator voted against Daimler. (Id. at ¶ 84). As such, Daimler did not provide full

time services to the Companies before the first anniversary of his Awards, and he forfeited the 42

unvested units he had been issued pursuant to the Daimler Awards. (Id. at ¶¶ 85-87). Moehle then




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became the majority member of the Companies and removed Daimler from the boards. (Id. at ¶¶

88).

II.    DISCUSSION

       A.      The Legal Standard

       When reviewing a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6),

the Court must “‘accept all factual allegations as true, construe the complaint in the light most

favorable to the plaintiff, and determine whether, under any reasonable reading of the complaint,

the plaintiff may be entitled to relief.’” Eid v. Thompson, 740 F.3d 118, 122 (3d Cir. 2014) (quoting

Phillips v. County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008)). To survive a Rule 12(b)(6)

challenge, a plaintiff's “‘[f]actual allegations must be enough to raise a right to relief above the

speculative level.’” Id. (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007). “Thus, ‘only

a complaint that states a plausible claim for relief survives a motion to dismiss.’” Id. (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)).

       Although the Court must accept the allegations in the complaint as true, “‘[it is] not

compelled to accept unsupported conclusions and unwarranted inferences, or a legal conclusion

couched as a factual allegation.’” Morrow v. Balaski, 719 F.3d 160, 165 (3d Cir. 2013) (quoting

Baraka v. McGreevey, 481 F.3d 187, 195 (3d Cir. 2007)). “Threadbare recitals of the elements of

a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678

(citing Twombly, 550 U.S. at 555). Instead, the plaintiff must plead facts which permit the court

to make a reasonable inference that the defendant is liable. Iqbal, 556 U.S. at 678; Twombly, 550

U.S. at 556–57.

       Consistent with these principles, the Third Circuit Court of Appeals has prescribed a three-

step analysis for purposes of determining whether a claim is plausible. First, the court should



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“outline the elements a plaintiff must plead to a state a claim for relief.” Bistrian v. Levi, 696 F.3d

352, 365 (3d Cir. 2012). Second, the court should “peel away” legal conclusions that are not

entitled to the assumption of truth. Id.; see also Iqbal, 556 U.S. at 679 (“While legal conclusions

can provide the framework of a complaint, they must be supported by factual allegations.”). Third,

the court should assume the veracity of all well-pled factual allegations and then “‘determine

whether they plausibly give rise to an entitlement to relief.’” Bistrian, 696 F.3d at 365 (quoting

Iqbal, 556 U.S. at 679). This third step of the analysis is “a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense.” Id. (quoting Iqbal, 556

U.S. at 679).

       B.       Fraud in the Inducement
                (Counts 1, 9, and 14)

       Plaintiff asserts three “fraud in the inducement claims,” one against each of Moehle,

Robotics Hub, and Coal Hill. He has also identified three representations that he alleges misled

him and induced him to enter into a business relationship with Moehle: (1) the representations

about Moehle’s relationships with NREC and RI; (2) the representations about GE’s $20 million

investment; and (3) the representations about the Moehle Awards being identical to the Daimler

Awards. Specifically, Daimler asserts that Moehle’s misrepresentations, upon which he justifiably

relied, induced him to sign both the Daimler Awards and the Agreements. (Docket No. 4 at ¶¶ 95,

146, 181). None of these theories survive Defendants’ motion to dismiss, but this Court will grant

leave to re-plead the claim arising from the alleged misrepresentations about GE’s investment.

       Under Pennsylvania law, which governs the Coal Hill Agreements, the elements of fraud

in the inducement are: (1) a representation; (2) which is material to the transaction; (3) made

falsely, with knowledge of its falsity or recklessness as to whether it is true or false; (4) with the

intent of misleading another into relying on it; (5) justifiable reliance on the misrepresentation;

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and (6) injury proximately caused by the reliance. McWreath v. Range Resources – Appalachia,

LLC, 81 F. Supp. 3d 448, 470 (W.D. Pa. 2015) (Fischer, J.), aff’d 645 Fed. App’x 190 (3d Cir.

2016). See also Batoff v. Charbonneau, 130 F. Supp. 3d 957, 969 (E.D. Pa. 2015) (“Fraud in the

inducement is found where ‘an opposing party made false representations that induced the

complaining party to agree to the contract.”). Id. Similarly, under Delaware law, which governs

the Robotic Hub Agreements, a plaintiff alleging fraud in the inducement must plead: “(1) a false

representation, usually one of fact, made by the defendant; (2) the Defendants’ knowledge or belief

that the representation was false, or was made with reckless indifference to the truth; (3) an intent

to induce the plaintiff to act or to refrain from acting; (4) the plaintiff's action or inaction taken in

justifiable reliance upon the representation; and (5) damage to the plaintiff as a result of such

reliance.”7 In re Med. Wind Down Holdings III, Inc., 332 B.R. 98, 102 (Bankr. D. Del. 2005)

(citing Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1074 (Del.1983)). Under both Delaware

and Pennsylvania law, fraud in the inducement renders a contract voidable, and a victim of this

fraud may either rescind the contract or affirm it and sue for damages. Connors v. Fawn Mining

Corp., 30 F.3d 483, 490 (3d Cir. 1994); McWreath, 81 F. Supp. 3d at 470; Lincoln Nat. Life Ins.

Co. v. Joseph Schlanger 2006 Ins. Trust, 28 A.3d 436, 441 (Del. 2011). See also Langley v. Fed.

Deposit Ins. Corp., 484 U.S. 86, 87 (1987) (noting that fraud in the inducement rendered a disputed

note “voidable but not void”); Restatement (Second) of Contracts § 164 (1981). Here, Plaintiff

has not sought rescission of the contracts at issue.

        The first set of alleged misrepresentations, those regarding Moehle’s relationships with the

NREC and RI, cannot serve as the basis of a fraudulent inducement claim because Plaintiff admits


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         Although the parties agree that the Coal Hill Agreements are governed by Delaware law and that the Robotics
Hub Agreements are governed by Pennsylvania law (Docket No. 17 at 4, n.3; Docket No. 19 at 9, n.3), Daimler asserts
that Pennsylvania law should govern his fraud claims (Docket No. 19 at 21, n.8). The Court need not address this
dispute because it does not affect the outcome of the motion to dismiss.

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that, “during 2015 and early 2016, Daimler came to learn that Moehle misrepresented and

overstated the strength of his relationships” with those entities. (Docket No. 4 at ¶ 18). Daimler

therefore cannot argue that he justifiably relied to his detriment on those statements which he knew

were false (or suspected them to be) when agreeing to form the companies and executing the

agreements at issue.8 See, e.g., Dunkin' Donuts Franchised Rests., LLC v. Claudia I, LLC, 998 F.

Supp. 2d 383, 389 (E.D. Pa. 2014) (“A person who believes that a representation is false cannot

seriously say they reasonably relied on the representation”) (citing In re Thorne's Estate, 344 Pa.

503, 25 A.2d 811, 816 (1942) (“A person . . . who acquiesces in a proposal which he believes to

be wrongful and disadvantageous deprives himself of the plea of fraud when later he finds that he

has been hurt.”)).

         The second set of alleged misrepresentations, the statements about GE’s future investment,

likewise cannot form the basis of a fraudulent inducement claim because Plaintiff has failed to

plead that claim with the particularity required under Rule 9(b) of the Federal Rules of Civil

Procedure. Rule 9(b) requires plaintiffs bringing a fraud claim to “plead the who, what, when,

where, why, and how: the first paragraph of any newspaper story.” Institutional Inv’rs Grp. v.

Avaya, Inc., 564 F. 3d 242, 253 (3d Cir. 2009). “[P]laintiffs must plead with particularity the

circumstances of the alleged fraud in order to place the defendants on notice of the precise

misconduct with which they are charged, and to safeguard defendants against spurious charges of

immoral and fraudulent behavior.” Lum v. Bank of America, 361 F.3d 217, 223-24 (3d Cir. 2004)

(citations and internal quotation marks omitted). “Plaintiffs may satisfy this [particularity]


8
         In addition, statements regarding the strength of a relationship, more akin to opinion than to fact, are not the
type of misrepresentations upon which a plaintiff may premise a fraud claim. Lookout Windpower, 714 F. Supp. 2d
at 556 (“Predictions about the future and expressions of opinion cannot support a common law fraud claim.”) (citing
Great Lakes Chem. Corp. v. Pharmacia Corp., 788 A.3d 544, 554 (Del. Ch. 2001); Metro Communication Corp. BVI
v. Advanced Mobilecomm. Techs Inc., 854 A. 2d 121, 148 (Del. Ch. 2004) (“The law is rightly reluctant to find that
mere expressions of opinion about the future can buttress a claim of fraud.”).


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requirement by pleading the date, place or time of the fraud, or through alternative means of

injecting precision and some measure of substantiation into their allegations of fraud.” Id.

         Here, Plaintiff alleges that Moehle made the representations about GE both “before their

partnership began” and “throughout 2015 and 2016.” (Docket No. 4 at ¶¶ 15, 16). He does not,

however, provide any more detail. He does not specify dates, location(s), or the manner/medium

(in person, by telephone, in writing, etc.) the representations were made. Nor does he provide any

context to the allegation: Did Moehle have conversations with representatives of GE? Had GE

responded to any outreach? Had GE ever expressed interest in the Companies or the Fund? Or

had Moehle simply lied about it all? Plaintiff must “allege facts that give rise to an inference that

[Moehle] knew or was reckless in not knowing that . . . the statements were misleading,” and “[i]t

is not enough for [Daimler] to allege generally that defendants “knew or recklessly disregarded

each of the false and misleading statements for which they were sued.” In re Burlington Coat

Factory Sec. Litig., 114 F.3d 1410, 1422 (3d Cir. 1997). Rather, Daimler “must allege facts that

could give rise to a “strong” inference of scienter.” Id. (citations and internal quotation marks

omitted). Daimler’s failure to plead any such facts forecloses his claim of fraud in the inducement

arising from these alleged misrepresentations. Although the Court will dismiss the claims of

fraudulent inducement based upon this theory, these claims are dismissed with leave to amend. In

re Burlington Coat Factory, 114 F.3d at 1435 (“Ordinarily where a complaint is dismissed on Rule

9(b) failure to plead with particularity grounds alone, leave to amend is granted.”). 9


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          Defendants also urge the Court to find that this claim fails because Plaintiff has not alleged a
misrepresentation of a past fact. (Docket No. 17 at 14.) Plaintiff’s failure to plead fraud with the requisite particularity
makes it difficult for the Court to evaluate this argument, and given that the Court has found that Plaintiff’s claim fails
to meet the requirements of Rule 9(b), the Court need not -- and does not -- resolve this issue. That said, as Defendants
argue, in order to successfully plead this claim, “Plaintiff[] must allege a misrepresentation relating to a past or existing
fact.” Lookout Windpower, 714 F. Supp. 2d at 556. See also supra n. 8. “A statement as to future plans or intentions
will not satisfy the falsity element of fraud unless the speaker knowingly misstates his true state of mind.” Dunkin
Donuts, 998 F. Supp. at 389 (citing Nat'l Data Payment Sys., Inc. v. Meridian Bank, 212 F.3d 849, 858 (3d Cir.2000)).
Here, Daimler’s claims as currently styled are hardly clear. He alleges that GE “would be investing,” which may refer

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         Finally, the claims relating to the assertion that Daimler’s and Moehle’s awards were

identical must fail because Plaintiff cannot allege that he suffered any injury as a result of that

misrepresentation. Specifically, Daimler does not allege that he was promised terms different from

what the awards actually contained. Instead, he complains that he and Moehle should have had

the same terms. (Docket No. 4 at ¶¶ 49, 93, 102, 133, 172, 179, 188). But, regardless whether the

terms of Moehle’s award mirrored that of Daimler’s, or whether Daimler’s mirrored those of

Moehle’s, Plaintiff could not have satisfied the vesting requirements because he had not provided

Full Time Services to the Companies by March 23, 2017. (Compare the Moehle Awards (Docket

Nos. 4-1 and 4-2 at 2, 3 ¶ 2(a)) with the Daimler Awards (Docket Nos. 4-3 and 4-4 at 2)).

         C.      Fraud in the Execution
                 (Counts 2, 10, and 15)

         Plaintiff also alleges that the misstatements about the terms of the Awards constitute fraud

in the execution. “Fraud in the execution arises when a party executes an agreement with neither

knowledge nor reasonable opportunity to obtain knowledge of its character or its essential terms.”

Red Online Mktg. Grp., LP v. Reviser, Ltd., No. 14-1353, 2015 U.S. Dist. LEXIS 11686, at *14

(E.D. Pa. Feb. 2, 2015). Fraud in the execution voids the contract.                 Connors v. Fawn Mining

Corp., 30 F. 3d 483, 490 (3d Cir. 1994) (fraud in the execution renders a contract “void ab initio”).

See also Lincoln Nat. Life Ins. Co. v. Joseph Schlanger 2006 Ins. Tr., 28 A.3d 436, 441 (Del.

2011).

         In addition to the fact that, as set forth above, Plaintiff cannot plausibly allege damages

stemming from this alleged misrepresentation, his claim also fails because he has not pled facts




to a future, anticipated, event. (Docket No. 4 at ¶¶ 15, 90). However, Daimler also claims that Moehle “vigorously”
represented GE’s “alleged commitment to invest,” a statement that may or may not reflect existing fact. (Docket No.
4 at ¶ 19).


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demonstrating excusable neglect. A party claiming fraud in the execution must demonstrate

“excusable ignorance of the contents of the writing signed.” Fawn Mining, 30 F.3d at 491.

Daimler, however, does not allege that the contracts’ pages were surreptitiously substituted, that

there was a significant time pressure that prevented him from reviewing the contracts, or that he

was provided only with signature pages. See Red Online Mktg., 2015 U.S. Dist. LEXIS 11686 at

*19. Nor does Daimler allege what he thought the terms of the contracts should have been, other

than to complain that he thought his awards were identical to Moehle’s. In other words, Daimler

does not allege that the contracts contained terms different from what was actually there. Rather,

and as set forth above, he complains that he thought Moehle had the same deal.

       While Daimler argues that he was repeatedly told that the awards were identical, and while

he may have thought that the contracts would reflect those discussions, these sentiments simply

“did not relieve [Daimler] of the responsibility to read the [agreements] and determine [their]

precise contents for [himself] prior to signing [them].” Red Online Mktg., 2015 U.S. Dist. LEXIS

11686, at *16. Cf. McWreath, 81 F. Supp. 3d at 471 (“contracting parties are normally bound by

their agreements, without regard to whether the terms thereof were read and fully understood.”).

Plaintiff’s citation to Axalta Coating Systems, LLC v. Midwest II, Inc., 217 F. Supp. 3d 813 (E.D.

Pa. 2016), for the proposition that the law does not require him to have read the contracts he signed

is unavailing. (Docket No. 29 at 23). In that case, the aggrieved party had been presented with

redlined documents reflecting that the language he had insisted upon was in the contracts, but the

execution copy – which omitted the critical language – had been clandestinely substituted. In other

words, that aggrieved party had read the agreement before signing it, but alleged that the

counterparty deleted a material term without informing him and re-presented the document without

mentioning this edit. Axalta, 217 F. Supp. 3d at 816-17, 821, 824. Thus, the court held that



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aggrieved party was under no obligation to read the document again and had adequately pled facts

demonstrating excusable neglect. Id. at 824. That, however, is not the case here. Daimler never

alleges that he ever read the Awards or the Agreements. In sum, Plaintiff has failed to plead any

facts that would excuse his failure to read the relevant documents or that otherwise support an

allegation of excusable neglect.

       D.      Breach of Contract and Covenant of Good Faith
               (Counts 6, 7, 8, 12, and 13)

       Plaintiff also brings several breach of contract claims. Counts Six and Twelve, against

Robotics Hub and Coal Hill respectively, allege that Robotics Hub and Coal Hill breached the

terms of the Awards by preventing Daimler from providing full time services. (Docket No. 4 at

¶¶ 125-129, 164-168). Counts Seven and Thirteen allege that Robotics Hub and Coal Hill breached

the terms of the Agreements by: (1) misrepresenting the terms of the Awards and wrongly

preventing Daimler from working full-time, thereby resulting in the forfeiture of Daimler’s

unvested units and the loss of his board positions; and (2) failing to issue units in connection with

Daimler’s capital contributions. (Id. at ¶¶ 130-136, 169-175). Count Eight is a claim against

Robotics Hub for breach of the Implied Covenant of Good Faith and Fair Dealing and arises from

the company having wrongfully prevented Daimler from working full time and thereby satisfying

the vesting requirements of his award. (Id. at ¶¶ 137-140).

       Under both Delaware and Pennsylvania law, a breach of contract claim has three elements:

(1) the existence of a contract; (2) a breach of a duty imposed by the contract; and (3) damages

resulting from that breach. Greenstar LLC v. Heller, 814 F. Supp. 2d 444, 450 (D. Del. 2011);

Rendon v. Ragans, No. 08-1665, 2009 WL 1514471, at *2 (W.D. Pa. May 29, 2009) (Fischer, J.)

(citing Novinger Group Inc. v. Hartford Insurance, Inc. 514 F. Supp. 2d 662, 670 (M.D. Pa. 2007)).

Daimler has failed to allege a breach of contract related to the Companies’ failure to hire him, but

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he has pled facts sufficient to establish a breach of ¶ 7.2 of the Operating Agreements for failure

to issue him units in connection with his capital contributions.

               1.      The Failure to Employ

       With respect to his claims that he was wrongfully prevented from working full-time,

Plaintiff has failed to allege facts reflecting a breach of a duty imposed by the contract. Although

Plaintiff asserts that the parties contemplated his working full-time for the Companies, the

contracts state otherwise. Specifically, both Agreements plainly state that they do not “confer

upon any Manager any rights with respect to continued employment by the Company.” (Docket

Nos. 4-5 and 4-6 at ¶ 5.7). Similarly, the Awards provide that Daimler had no “right to be retained

by or in the employ or service of the Company” and that the grant of the units could not “interfere

in any way with the right of the Company to terminate [Daimler’s] employment or service at any

time.” (Docket Nos. 4-3, and 4-4 at ¶ 10). They further provide that the “right of the Company,

as applicable, to terminate at will [Daimler’s] employment or service at any time for any reason is

specifically reserved.”    (Id.)   Moreover, given Moehle’s and Daimler’s disagreement, in

accordance with ¶ 5.5(c) of the Agreements, the parties called upon the Deadlock Arbitrator to

resolve the dispute. (Docket No. 4 at ¶¶ 82, 84). The arbitrator – about whom Daimler has made

no allegations of wrongful conduct – sided with Moehle. (Id. at ¶ 84). While Plaintiff may have

hoped that he would work for the Companies and that his units would therefore vest, he signed an

agreement that clearly and unambiguously provided that he had no such right. This Court cannot

enforce the contract Plaintiff wishes he signed.




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        The fact that the contracts at issue expressly authorize the complained-of conduct also

defeats any claims that Defendants breached the implied covenant of good faith and fair dealing.10

In order to pursue a claim of breach of the implied covenant, a plaintiff must allege a specific

implied contractual obligation, a breach of that obligation, and damages. Anderson v. Wachovia

Mortg. Corp., 497 F. Supp. 2d 572, 581–82 (D. Del. 2007); Kelly v. Blum, No. 4516-VCP, 2010

WL 629850 (Del. Ch. Feb. 24, 2010). Daimler argues that the contracts implied an obligation to

hire him and that the failure to do so constitutes a breach of the covenant of good faith. However,

under Delaware law, the implied covenant cannot modify or override express contractual terms.

Nemec v. Shrader, 991 A.2d 1120, 1126 (Del. 2010); Kuroda v. SPJS Holdings, LLC, 971 A.2d

872, 888 (Del. Ch. 2009). Because the Awards and the Agreements clearly contemplated that

Daimler might not work for the Companies, and because they expressly provided that he had no

right to employment, Daimler cannot claim a breach of the covenant of good faith based upon the

Companies’ refusal to employ him. Moreover, the Agreements provided for deadlock arbitration,

and the parties availed themselves of this provision. The Deadlock Arbitrator’s decision is final

and binding. Plaintiff cannot convert his disagreement with the arbitrator’s decision into a breach

of contract claim against Defendants. Although Daimler undoubtedly regrets entering into these

contracts, this Court may not “rewrite the contract to appease a party who later wishes to rewrite

a contract he now believes to have been a bad deal. Parties have a right to enter into good and bad

contracts, the law enforces both.” Nemec, 991 A.2d at 1126.




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        According to Daimler, breach of the implied covenant “is asserted only against Robotics Hub under Delaware
law (Count Eight), because Pennsylvania law does not recognize this as an independent claim.” (Docket No. 19 at 15
n. 6).


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               2.        The Failure to Issue Units in Connection with Capital Contributions

       In addition to the forfeited 42 units under the awards, Daimler claims that he is entitled to

an unspecified number of additional units in one or both of the Companies. Specifically, he states

that he made capital contributions to the Companies of an additional $100,000 for which he did

not receive units. (Docket No. 4 at ¶¶ 135, 174). Daimler does not state when this contribution or

contributions were made, nor does he specify when and where he and Moehle agreed to the terms.

In addition, the claim that Daimler is entitled to an unspecified number of additional units seems

to contradict his earlier claims that he and Moehle were equal partners, and he does not explain

why Moehle would agree to treat these advances as capital contributions (thereby making Daimler

the majority owner) as opposed to treating them as loans. See, e.g. (Docket No. 4-5 at ¶ 14)

(defining membership interest by the number of issued and outstanding units). However, Daimler

does allege that he and Moehle (the only two members of the Companies’ boards) agreed that

Daimler would provide funding to the Companies and that he would receive units in return.

Defendants counter that this does not constitute board approval is an overly technical reading of

the Agreements. (Docket No. 20 at 8). Moehle and Daimler were the only board members, and

Daimler has alleged that the two had agreed that his contributions would constitute capital

contributions. Thus, Daimler had the “consent of the board” for the issuance of units in exchange

for his $100,000. Albeit thinly pled, these facts suffice to defeat Defendants’ motion to dismiss

Plaintiff’s breach of contract claim relating to the failure to issue units in connection with his

capital contributions.




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         D.       Tortious Interference
                  (Counts 3 and 4)

         Plaintiff alleges that Moehle tortiously interfered with Daimler’s contracts with the

Companies. These claims must be dismissed because, as set forth above, Moehle’s actions were

authorized by the contracts at issue. Under Delaware law, a plaintiff claiming tortious interference

with contract must plead and prove: (1) the existence of a contract; (2) about which the defendant

knew; (3) an intentional act that was a significant factor in causing a breach of the contract; (4)

that was without justification; and (5) which caused injury. Kuhn Const. Co. v. Ocean and Coastal

Consultants, Inc., 844 F Supp. 2d 519 (D. Del. 2012). Similarly, in Pennsylvania, a plaintiff

claiming tortious interference must prove: (1) the existence of a contract; (2) purposeful action by

the defendant intended to harm the contractual relationship; (3) the absence of privilege or

justification; and (4) damages. Zurchin v. Ambridge Area School District, 300 F. Supp. 3d 681,

694 (W.D. Pa. 2018) (Fischer, J.) (citing Crivelli v. Gen. Motors Corp., 215, F.3d 386, 394 (3d

Cir. 2000). The Court has set forth above, and will not repeat here, that Moehle was under no

obligation to agree to Daimler’s full time service, and that the Companies’ refusal to employ

Daimler was expressly permitted under the terms of the Agreements. Moreover, in referring the

dispute to the Deadlock Arbitrator for resolution, Moehle and the Companies complied with the

terms of the Agreements. The claim for tortious interference therefore cannot lie.11



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          Defendants also argue that Moehle could not have tortiously interfered with the Robotics Hub and Coal Hill
agreements because, as a manager and board member of the Companies, he was an agent of both entities. (Docket No.
17 at 20). “[A] party to a contract cannot tortiously interfere with that very same contract,” and “[b]y extension, agents
of a contracting party are also unable to tortiously interfere.” Kuhn, 844 F. Supp. 2d at 531. See also Zurchin, 300 F.
Supp. 3d at 694. Plaintiff argues in response that Moehle acted in his personal capacity and not as an agent of the
Companies, but the paragraphs cited by Plaintiff do not plead that Moehle was acting in his personal capacity or
otherwise set forth facts that might suggest that Moehle was acting ultra vires. (See Docket No. 19 at 18 citing Docket
No. 4 at ¶¶ 29-34, 78-80, and 85-88). However, because questions of agency often hinge on factual determinations,
the Court does not resolve Daimler’s tortious interference claims on these grounds. See, e.g., Kuhn, 844 F. Supp. 2d
at 531 citing Jurimex Kommerz Transit G.M.B.h. v. Case Corp., 65 Fed. App’x 803, 808 (3d Cir. 2003). But see
Lubold v. Univ. Veterinary Specialists, LLC, CV-17-507, U.S. Dist. LEXIS 102281, at * 7-8 (W.D. Pa., June 30, 2017)
(in a Rule 12(b)(6) motion, dismissing tortious interference claim against officers of corporate defendant, noting that

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         F.       Unjust Enrichment
                  (Counts, 5, 11, and 16)

         Unjust enrichment, or quantum meruit, is a “quasi-contract claim that allows a party to

recover the reasonable value of his or her services if: (i) the party performed the services with the

expectation that the recipient would pay for them; and (ii) the recipient should have known that

the party expected to be paid.” Lookout Windpower Holding, Co. v. Edison Mission Energy, 714

F. Supp. 2d 547, 553 (W.D. Pa. 2010) (citations omitted). “Courts generally dismiss claims for

quantum meruit on the pleadings when it is clear from the face of the complaint that there exists

an express contract that controls.” Id. (citations and internal quotation marks omitted). Indeed,

“the doctrine of unjust enrichment is inapplicable when the relationship between the parties is

founded upon a written agreement or express contract, regardless of how harsh the provisions of

such contracts may seem in the light of subsequent happenings.” Batoff, 130 F. Supp. 3d at 972.

However, a plaintiff may “pursue alternative theories of recovery based on both breach of contract

and unjust enrichment” to the extent there “is any question as to the validity of the contract in

question.” Id. In this case, Daimler admits that he has pled the unjust enrichment claims against

the Companies in the alternative, should the Court reject his breach of contract claims. (Docket

No. 19 at 20). Because the Court finds the existence of valid contracts, and because Plaintiff does

not seek rescission of the contracts and instead claims damages pursuant to those contracts (which

the parties agree address the at-issue conduct), these claims must be dismissed.




plaintiff had failed to plead that the individual defendants acted in their individual capacities as opposed to on behalf
of the corporation).


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       G.      Accounting
               (Counts 17 and 18)

       In Pennsylvania, a legal accounting is “merely an incident” to a breach of contract claim.

McWreath, 81 F. Supp. 3d at 468. And, “[u]nder well-accepted Delaware law, an accounting is

an equitable remedy that consists of the adjustment of accounts between parties and a rendering of

a judgment for the amount ascertained to be due to either as a result. In other words, an accounting

reflects a request for a particular type of remedy, rather than an equitable claim in and of itself.”

Garza v. Citigroup Inc., 192 F. Supp. 3d 508, 511 (D. Del. 2016) (citations and internal quotation

marks omitted), reconsideration denied sub nom. Lopez Garza v. Citigroup Inc., No. CV 15-537-

SLR, 2016 WL 7197364 (D. Del. Dec. 9, 2016), and aff'd, 724 F. App'x 95 (3d Cir. 2018), cert.

denied sub nom. Lopez Garza v. Citigroup Inc., No. 17-1388, 2018 WL 1639769 (U.S. June 11,

2018). Because Daimler’s accounting claims are not stand-alone claims and relate, instead, to the

remedy sought, Counts Seventeen and Eighteen are dismissed. Plaintiff, however, may demand

an accounting as part of the relief sought in the re-pled complaint. See, e.g. McWreath, 81 F. Supp.

3d at 468 (dismissing accounting claim, noting that legal accounting was a remedy, not a stand-

alone claim, and that equitable accounting could not lie when parties had contractual relationship);

Garza, 192 F. Supp. 3d at 514 (dismissing accounting claim because it was not a stand-alone claim

and, in any event, plaintiff could not allege requisite elements).

III.   CONCLUSION

       For the foregoing reasons, Defendants’ Motion to Dismiss (Docket No. [16]) is

GRANTED IN PART AND DENIED IN PART. The motion is GRANTED as to Counts Two,

Three, Four, Five, Six, Eight, Ten, Eleven, Twelve, Fifteen, Sixteen, Seventeen, and Eighteen of

Plaintiff’s First Amended Complaint. Counts Seven and Thirteen are dismissed insofar as they

relate to allegations regarding Moehle’s relationships with NREC and RI and the statements that

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the Daimler and Moehle Awards were identical. Counts One, Nine, and Fourteen are dismissed

with leave to re-plead the allegations regarding GE’s potential investment. Defendants’ motion

(Docket No. [16]) is DENIED as to Counts Seven and Thirteen, insofar as those counts relate to

Plaintiffs alleged capital contributions.

        An appropriate order follows.



                                               s/ Nora Barry Fischer
                                               Nora Barry Fischer
                                               United States District Judge
Date:   July 27, 2018

cc/ecf: All counsel of record




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